                            No. 22-55342
__________________________________________________________________

               UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT


                   FEDERAL TRADE COMMISSION,

                                                Plaintiff-Appellee,
                                  v.

     APEX CAPITAL GROUP, LLC, a Wyoming limited liability
     company, et al.,
                                       Defendant-Appellee.
                            v.

     WELLS FARGO & COMPANY and WELLS FARGO BANK, N.A.,
     proposed Intervenors,
                                   Movants-Appellants,


                      THOMAS W. MCNAMARA,
                                       Receiver -Appellee.

              On Appeal from the United States District Court
                   for the Central District of California
                       No. 2:18-cv-09573-JFW-JPR
                      The Honorable John F. Walter


      RECEIVER’S SUPPLEMENTAL EXCERPTS OF RECORD
                       Volume 1 of 1


                      (Counsel listed on following page)

                             October 11, 2022
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Cornelia J. B. Gordon
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San Diego, CA 92101
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Attorneys for Thomas W. McNamara, as the Court-Appointed Receiver for Apex
Capital Group, LLC -Appellee




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                                      #:5890



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12   Attorneys for Plaintiff
     FEDERAL TRADE COMMISSION
13
14                      UNITED STATES DISTRICT COURT
15                     CENTRAL DISTRICT OF CALIFORNIA

16
17     FEDERAL TRADE COMMISSION, Case No. 2:18-cv-9573-JFW(JPR)
18
                              Plaintiff,
19                v.                            DECLARATION OF KRISTY
20
                                                TILLMAN PURSUANT TO
       APEX CAPITAL GROUP, LLC, et              28 U.S.C. §1746
21     al.
22                                              Date: March 7, 2022
                              Defendants.       Time: 1:30 PM
23                                              Courtroom: 7A
24                                              Judge: Hon. John F. Walter
25
26
27
28

                                                             Case No. 2:18-cv-9573-JFW(JPR)
                                    Declaration of Kristy Tillman Pursuant to 28 U.S.C. §1746


                                     R_SER_5
     Case 2:18-cv-09573-JFW-JPR Document 228-1 Filed 02/07/22 Page 2 of 3 Page ID
                                      #:5891



 1                         DECLARATION OF KRISTY TILLMAN
                             PURSUANT TO 28 U.S.C. § 1746
 2
 3   I, Kristy Tillman, declare as follows:
 4        1. I have personal knowledge of the facts stated herein and, if called to testify, I
 5           could and would competently testify to the same. I am a United States
 6           citizen over the age of 18. I am employed by the Federal Trade Commission
 7           (“FTC” or “the Commission”) as an attorney.
 8        2. During August 2021, I was one of the Commission’s attorneys in the above-
 9           captioned matter (the “Apex Matter”). During that month, Wells Fargo &
10           Company and Wells Fargo Bank N.A. (“Wells Fargo”) sought to meet and
11           confer with the FTC regarding its intention to file a motion to intervene in
12           the Apex Matter on the basis of the Supreme Court’s April 2021 decision in
13           FTC v. AMG Capital Management, LLC. I attended a telephonic meet-and-
14           confer discussion on August 23, 2021, with Wells Fargo’s counsel.
15           Jonathan Cohen, another FTC attorney who also represented the
16           Commission in the Apex Matter at that time, also attended.
17        3. At the August 23, 2021, meet-and-confer conversation, the FTC advised
18           Wells Fargo’s counsel that the FTC would oppose its proposed motion to
19           intervene. Among other things, we advised Wells Fargo’s counsel that its
20           proposed motion to intervene was already untimely as of that date. In
21           support of this position, we noted to Wells Fargo’s counsel that certain
22           defendants in the Apex Matter had already filed and fully briefed a motion
23           challenging the final judgments on the basis of AMG in the four months that
24           had elapsed since the AMG decision.
25
26   //
27
28

                                                                  Case No. 2:18-cv-9573-JFW(JPR)
                                         Declaration of Kristy Tillman Pursuant to 28 U.S.C. §1746


                                          R_SER_6
     Case 2:18-cv-09573-JFW-JPR Document 228-1 Filed 02/07/22 Page 3 of 3 Page ID
                                      #:5892



 1   I declare under penalty of perjury that the foregoing is true and correct.
 2
 3   Executed on February 7, 2022.
 4
 5
 6   ______________________________
 7   Kristy 0Tillman
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                                                                Case No. 2:18-cv-9573-JFW(JPR)
                                       Declaration of Kristy Tillman Pursuant to 28 U.S.C. §1746


                                        R_SER_7
Case 2:18-cv-09573-JFW-JPR Document 226-8 Filed 02/07/22 Page 1 of 2 Page ID
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                           EXHIBIT 6

                              R_SER_8
       Case 2:18-cv-09573-JFW-JPR Document 226-8 Filed 02/07/22 Page 2 of 2 Page ID
                                        #:5734



From:               Ware, Jonathan <jware1@ftc.gov>
Sent:               Wednesday, November 10, 2021 12:02 PM
To:                 Lally, Kevin M.
Cc:                 Logan Smith
Subject:            FTC v. Apex -- unsealing
Attachments:        15. Minute Order Granting Pl.'s Ex Parte TRO.pdf; 16. TRO.pdf


CAUTION:Thisemailoriginatedfromoutsidetheorganization.Donotclicklinksoropenattachmentsunlessyou
recognizethesenderandknowthecontentissafe.___________________________________________
Kevin,

Thank you for providing me yesterday with the docket entry numbers to which Wells Fargo seeks to unseal
(nos. 15, 146, 168) in FTC v. Apex Capital, Inc., et al., no. 2:18-cv-9573 (C.D. Cal.). I think you meant #16,
which is the sealed TRO, not #15, which is a minute order. The FTC served the TRO (#16) on Wells Fargo on
November 19, 2018 (to Fatima Ledezma, Service Manager, Warner Ranch Branch). It appears to be an
administrative oversight that the TRO remains sealed. As a courtesy, I am providing you a copy of the TRO
previously served on Wells Fargo, as well as the minute order.

In the interest of judicial economy and access to public records, the Receiver’s counsel has agreed to prepare
a stipulation to which the FTC consents to unseal #16, 146, and 148 in the Apex case.

Kind regards,
Jonathan

Jonathan W. Ware
Federal Trade Commission
Bureau of Consumer Protection | Enforcement Division
600 Pennsylvania Avenue, NW, CC-9528
Washington, DC 20580
T +1 202 326 2726
F +1 202 326 3197
jware1@ftc.gov
www.ftc.gov




                                                           1
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                           EXHIBIT 5

                              R_SER_10
         Case 2:18-cv-09573-JFW-JPR Document 226-7 Filed 02/07/22 Page 2 of 3 Page ID
                                          #:5731



From:                      Lally, Kevin M. <KLally@mcguirewoods.com>
Sent:                      Tuesday, October 26, 2021 1:42 PM
To:                        Logan Smith
Subject:                   RE: Wells Fargo Intervention Motion (Apex)


CAUTION:Thisemailoriginatedfromoutsidetheorganization.Donotclicklinksoropenattachmentsunlessyou
recognizethesenderandknowthecontentissafe.___________________________________________
Logan,

DoyouhavetimeforafollowͲupmeetandconfertomorrow.Weintendtoproceedwithamotiontointerveneand
wouldliketoaddressbriefingschedulesandwhetheryouwouldconsenttotheunsealingofanyofthefollowingsealed
materials:Court’smodifiedTROorder(Dkt.15),declarationsinsupportofextendingouttheReceivership(Dkt.146,
168).Iambookedat2Ͳ3pm,butotherwiseamavailable.

Regards,

Kevin




KevinM.Lally
McGuireWoodsLLP
T:+12134579862


From:LoganSmith<lsmith@mcnamarallp.com>
Sent:Monday,August30,20215:40PM
To:Lally,KevinM.<KLally@mcguirewoods.com>
Cc:Baiardo,AliciaA.<ABaiardo@mcguirewoods.com>;Le,AnthonyQ.<ALe@mcguirewoods.com>
Subject:Re:WellsFargoInterventionMotion

**EXTERNAL EMAIL; use caution with links and attachments**



Manythanksforlettingmeknow,Kevin.

Regards,
Logan

          OnAug30,2021,at3:56PM,Lally,KevinM.<KLally@mcguirewoods.com>wrote:

          CAUTION:Thisemailoriginatedfromoutsidetheorganization.Donotclicklinksoropenattachments
          unlessyourecognizethesenderandknowthecontentissafe.
          ___________________________________________
          Logan,




                                                                1
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                                                             R_SER_11
Case 2:18-cv-09573-JFW-JPR Document 226-7 Filed 02/07/22 Page 3 of 3 Page ID
                                 #:5732
Pleasebeadvisedthatwewillnotbefilingtodaytheinterventionmotionthatwediscussedlast
week.Inadvanceofafuturefiling,wewillgetyourupdatedposition,provideyouwithadraftofthe
jointstatementtotheCourtforyourreview,andproposepotentialhearingdatesforthemotion.

Pleasedonothesitatetocallmeshouldyouhaveanyquestions.

Regards,

KevinLally


KevinM.Lally
Partner
McGuireWoodsLLP
WellsFargoCenter
SouthTower
355S.GrandAve.,Suite4200
LosAngeles,CA90071Ͳ3103
T:+12134579862
F:+12134579882
klally@mcguirewoods.com
Bio|VCard|www.mcguirewoods.com


                                  



                                                                                                                 
ThiseͲmailfromMcGuireWoodsmaycontainconfidentialorprivilegedinformation.Ifyouarenottheintended
recipient,pleaseadvisebyreturneͲmailanddeleteimmediatelywithoutreadingorforwardingtoothers.




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                           EXHIBIT 4

                              R_SER_13
        Case 2:18-cv-09573-JFW-JPR Document 226-6 Filed 02/07/22 Page 2 of 2 Page ID
                                         #:5729



From:                  Lally, Kevin M. <KLally@mcguirewoods.com>
Sent:                  Monday, August 30, 2021 3:57 PM
To:                    Logan Smith
Cc:                    Baiardo, Alicia A.; Le, Anthony Q.
Subject:               Wells Fargo Intervention Motion


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recognizethesenderandknowthecontentissafe.___________________________________________
Logan,

Pleasebeadvisedthatwewillnotbefilingtodaytheinterventionmotionthatwediscussedlastweek.Inadvanceofa
futurefiling,wewillgetyourupdatedposition,provideyouwithadraftofthejointstatementtotheCourtforyour
review,andproposepotentialhearingdatesforthemotion.

Pleasedonothesitatetocallmeshouldyouhaveanyquestions.

Regards,

KevinLally


KevinM.Lally
Partner
McGuireWoodsLLP
WellsFargoCenter
SouthTower
355S.GrandAve.,Suite4200
LosAngeles,CA90071Ͳ3103
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klally@mcguirewoods.com
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advisebyreturneͲmailanddeleteimmediatelywithoutreadingorforwardingtoothers.




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                           EXHIBIT 3

                              R_SER_15
       Case 2:18-cv-09573-JFW-JPR Document 226-5 Filed 02/07/22 Page 2 of 3 Page ID
                                        #:5726



From:                Le, Anthony Q. <ALe@mcguirewoods.com>
Sent:                Thursday, August 19, 2021 3:17 PM
To:                  Logan Smith
Cc:                  White, Molly M.; Baiardo, Alicia A.
Subject:             FTC v. Apex Capital, No. 2:18-cv-9573-JFW (C.D. Cal.) - Wells Fargo Motion to Intervene


CAUTION:Thisemailoriginatedfromoutsidetheorganization.Donotclicklinksoropenattachmentsunlessyou
recognizethesenderandknowthecontentissafe.___________________________________________
Counsel,

Asyouareaware,McGuireWoodsLLPrepresentsWellsFargoBankinconnectionwitharecentlawsuitinvolvingyour
officebyThomasMcNamara,asthecourtͲappointedreceiverforTriangleMediaCorporationandApexCapital
Group.ThislawsuitisentitledThomasMcNamarav.WellsFargo&Companyetal.,No.3:21ͲcvͲ01245ͲLABͲLL,andis
nowpendingintheSouthernDistrictofCalifornia.

WearewritingtofollowͲuponourcallthisafternoontomeetandconferunderC.D.Cal.LocalRule7Ͳ3.Aswe
mentioned,WellsFargoplanstofileamotiontointerveneintheFTCactioninvolvingyouroffice—FTCv.Apex,No.2:18Ͳ
cvͲ9573ͲJFW(C.D.Cal.)—tochallengetheorderappointingthereceivertopursueWellsFargoandthepreviously
enteredstipulatedjudgmentbasedontherecentAMG/FTCdecisionholdingthattheFTCdoesnothaveauthorityunder
Section13(b)toobtainequitablemonetaryrelief.AMGCap.Mgmt.,LLCv.FTC,141S.Ct.1341(2021).

Pleasecallusatyourconvenience,orletusknowwhenyouareavailabletodiscuss.Ourcontactinformationis
below.Thanksinadvance.

MollyWhite
mwhite@mcguirewoods.com
(310) 956Ͳ3423

AliBaiardo
abaiardo@mcguirewoods.com
(415) 844Ͳ1973

AnthonyLe
ale@mcguirewoods.com
(415) 844Ͳ1975


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ale@mcguirewoods.com
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                                                             1
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        Case 2:18-cv-09573-JFW-JPR Document 226-5 Filed 02/07/22 Page 3 of 3 Page ID
                                         #:5727
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R_SER_25
R_SER_26
R_SER_27
R_SER_28
R_SER_29
Case 2:18-cv-09573-JFW-JPR Document 225-2 Filed 02/07/22 Page 1 of 8 Page ID
                                 #:5675




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                              R_SER_30
     Case 2:18-cv-09573-JFW-JPR Document 225-2 Filed 02/07/22 Page 2 of 8 Page ID
     FTC Exhibit B - Smith Declaration #:5676



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 2   Fax: (202) 326-3197
 3   DC Bar No. 989414; VA Bar No. 77443
     Federal Trade Commission
 4
     600 Pennsylvania Avenue NW CC-9528
 5   Washington, DC 20580
 6
     DELILAH VINZON (local counsel)
 7   Tel: (310) 824-4300; dvinzon@ftc.gov
 8   Fax: (310) 824-4380
     Cal. Bar No. 222681
 9   Federal Trade Commission
10   10990 Wilshire Boulevard, Suite 400
     Los Angeles, CA 90024
11
12   Attorneys for Plaintiff
     FEDERAL TRADE COMMISSION
13
14
15                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
16
17
       FEDERAL TRADE COMMISSION,                 Case No. 2:18-cv-9573-JFW(JPR)
18
19                            Plaintiff,         DECLARATION OF LOGAN D.
                  v.                             SMITH PURSUANT TO
20
                                                 28 U.S.C. § 1746
21     APEX CAPITAL GROUP, LLC, et al.,
22                                               Date: March 7, 2022
                              Defendants.        Time: 1:30 PM
23                                               Courtroom: 7A
24                                               Judge: Hon. John F. Walter
25
26
27
28                                                    Case No. 2:18-cv-9573-JFW(JPR)
                                              Smith Decl. ISO FTC’s Opposition to Wells
                                                             Fargo’s Motion to Intervene



                                    R_SER_31
     Case 2:18-cv-09573-JFW-JPR Document 225-2 Filed 02/07/22 Page 3 of 8 Page ID
     FTC Exhibit B - Smith Declaration #:5677



 1                       DECLARATION OF LOGAN D. SMITH
                           PURSUANT TO 28 U.S.C. § 1746
 2
 3         I have personal knowledge of the facts set forth below and am competent to
 4   testify about them. I am a United States citizen over the age of 18. If called as a
 5   witness, I could and would testify as follows:
 6         (1)    I am licensed to practice law in California.
 7         (2)    I am an attorney with McNamara Smith LLP and represent Thomas
 8   W. McNamara, the court-appointed receiver (the “Receiver”) in Federal Trade
 9   Commission v. Triangle Media, et al., No. 3:18-cv-01388-LAB-LL (S.D. Cal.) (the
10   “Triangle Case”) and in Federal Trade Commission v. Apex Capital Group LLC, et
11   al., No. 2:18-cv-09573-JFW (JPRx) (C.D. Cal.) (the “Apex Case”). I have been
12   involved with the Receiver’s investigation in those cases and in his litigation
13   related to Wells Fargo & Company and Wells Fargo Bank, N.A. (together, “Wells
14   Fargo”) in McNamara v. Wells Fargo & Company and Wells Fargo Bank, N.A.,
15   No. 3:21-cv-01245-LAB-LL (S.D. Cal.) (the “Receiver’s Suit”).
16   The Receiver’s Appointments
17         (3)    The Court in the Triangle Case appointed the Receiver as temporary
18   receiver on June 29, 2018 (Triangle Case ECF No. 11), and as permanent receiver
19   on August 24, 2018 (Triangle Case ECF No. 75).
20         (4)    The Court in the Apex Case appointed the Receiver as temporary
21   receiver on November 16, 2018 (Apex Case ECF No. 16), and as receiver on
22   December 18, 2018 (Apex Case ECF Nos. 40, 41).
23   The Receiver’s Investigations
24         (5)    Upon his appointment, the Receiver began to marshal the assets of the
25   estates in each case, as required by each appointing court. To that end, on
26   September 18, 2018, Wells Fargo issued a cashier’s check to the Receiver for
27   $1,181,479.83, which represented the sum across 40 bank accounts identified by
28   Wells Fargo and the Receiver as belonging to the Triangle Case defendants or

                                                1
                                                              Case No. 2:18-cv-9573-JFW(JPR)
                          Smith Decl. ISO FTC’s Opposition to Wells Fargo’s Motion to Intervene

                                       R_SER_32
     Case 2:18-cv-09573-JFW-JPR Document 225-2 Filed 02/07/22 Page 4 of 8 Page ID
     FTC Exhibit B - Smith Declaration #:5678



 1   otherwise subject to the Receiver’s control. Similarly, on January 24, 2019, Wells
 2   Fargo transferred to the Receiver $57,464.96, which represented the sum across 17
 3   bank accounts identified by Wells Fargo and the Receiver as belonging to the Apex
 4   Case defendants or otherwise subject to the Receiver’s control.
 5         (6)    On May 2, 2019, the Receiver served Wells Fargo Bank, N.A. a Rule
 6   45 subpoena seeking information about accounts in the Apex Case.
 7         (7)    The Receiver’s investigation in the Triangle Case and the Apex Case
 8   identified more than 150 accounts that Wells Fargo opened for the defendants in
 9   those cases through approximately 100 shell companies.
10   The Receiver’s Pursuit of Claims Against Wells Fargo
11         (8)    On October 22, 2019, the Receiver publicly sought court approval in
12   the Triangle Case to hire contingency counsel to pursue claims against Wells Fargo
13   (Triangle Case ECF No. 136), which the court granted on November 19, 2019
14   (Triangle Case ECF No. 142), the same day it closed the case.
15         (9)    On February 4, 2020, the Receiver publicly sought court approval in
16   the Apex Case to hire contingency counsel to pursue claims against Wells Fargo
17   (Apex Case ECF Nos. 144, 148), and the court granted that request on March 9,
18   2020 (Apex Case ECF No. 153). The docket in the Apex Case indicates it was
19   closed on January 15, 2020, the date the Court entered the last of the stipulated
20   permanent injunctions.
21   Wells Fargo’s Affirmative Actions Concerning the Receiver’s Suit
22         (10) On April 1, 2020, the Receiver sent Wells Fargo draft complaints
23   against it relating to Wells Fargo’s actions underlying the Triangle Case and the
24   Apex Case, along with a draft tolling agreement and proposed mediation of the
25   claims.
26         (11) On April 13, 2020, counsel for Wells Fargo (McGuire Woods LLP)
27   responded to the Receiver’s April 1, 2020 communications and spoke to the
28   Receiver’s counsel by phone the next day.
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                                                              Case No. 2:18-cv-9573-JFW(JPR)
                          Smith Decl. ISO FTC’s Opposition to Wells Fargo’s Motion to Intervene

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     FTC Exhibit B - Smith Declaration #:5679



 1         (12) On April 15, 2020, Wells Fargo executed the tolling agreement, sent it
 2   to the Receiver, and stated it would be in touch within 30 days about mediation.
 3         (13) On April 29, 2020, Wells Fargo requested that the Receiver provide
 4   the documents the bank had produced to the Receiver via the subpoena described
 5   above. The Receiver provided those to Wells Fargo a week later.
 6         (14) On May 7, 2020, Wells Fargo requested an extension until June 12,
 7   2020 to consider mediation.
 8         (15) On May 18, 2020, Wells Fargo requested the Receiver provide certain
 9   deposition transcripts and documents. The Receiver provided certain documents to
10   the bank on May 21, 2020.
11         (16) On May 27, 2020, Wells Fargo requested a summary of allegations
12   concerning a third FTC case, FTC v. Tarr, Inc., No. 3:17-cv-02024-KSC (S.D.
13   Cal.), which involved similar conduct and timing as the Triangle Case and Apex
14   Case and in which the Receiver’s law firm (Glancy Prongay & Murray LLP)
15   represented a consumer victim. Counsel provided the requested summary on June
16   9, 2020.
17         (17) On June 12, 2020, Wells Fargo agreed to mediate the Receiver’s
18   proposed suits before Judge Weinstein.
19         (18) On June 16, 2020, Wells Fargo asked the Receiver about documents
20   related to the Triangle Case, which the Receiver provided on June 19, 2020.
21         (19) On June 26, 2020, Wells Fargo sent the Receiver an amended and
22   executed tolling agreement.
23         (20) On July 28, 2020, Wells Fargo and the Receiver agreed on October
24   14, 2020 as the mediation date concerning the Receiver’s proposed suits.
25         (21) On September 10, 2020, Wells Fargo requested to move the mediation
26   to the first week of November 2020.
27
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                         Smith Decl. ISO FTC’s Opposition to Wells Fargo’s Motion to Intervene

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     FTC Exhibit B - Smith Declaration #:5680



 1         (22) On November 5, 2020, Wells Fargo and the Receiver mediated their
 2   claims before Judge Weinstein and Ambassador David Carden, but were unable to
 3   reach a resolution.
 4         (23) Following the mediation, between November 2020 and June 2021,
 5   Wells Fargo and the Receiver continued to have discussions and exchange
 6   information with each other with the involvement of Judge Weinstein and
 7   Ambassador Carden.
 8         (24) On March 3, 2021, Wells Fargo and the Receiver extended their
 9   tolling agreement through May 28, 2021.
10         (25) On April 29, 2021, Wells Fargo and the Receiver participated in a
11   second round of mediation before Judge Weinstein and Ambassador Carden.
12         (26) On May 25, 2021, Wells Fargo and the Receiver extended their tolling
13   agreement through June 23, 2021, while the parties continued to have follow-up
14   discussions through the mediators.
15         (27) On June 23, 2021, Wells Fargo and the Receiver extended their tolling
16   agreement through July 7, 2021.
17         (28) On July 8, 2021, the Receiver filed his complaint in the Receiver Suit.
18         (29) On July 28, 2021, Wells Fargo and the Receiver jointly moved the
19   court in the Receiver’s suit for an extension of time to respond to the Receiver’s
20   complaint (Receiver’s Suit ECF No. 9), which the court granted on June 30, 2021
21   (Receiver’s Suit ECF No. 12).
22         (30) On August 19, 2021, counsel for Wells Fargo called and emailed the
23   Receiver’s counsel, stating Wells Fargo wanted to meet and confer with the
24   Receiver regarding Wells Fargo’s “plans to file a motion to intervene in the FTC
25   action involving [the Receiver’s] office—FTC v. Apex, No. 2:18-cv-9573-JFW
26   (C.D. Cal.)—to challenge the order appointing the receiver to pursue Wells Fargo
27   and the previously entered stipulated judgment based on the recent AMG/FTC
28   decision holding that the FTC does not have authority under Section 13(b) to
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                                                               Case No. 2:18-cv-9573-JFW(JPR)
                           Smith Decl. ISO FTC’s Opposition to Wells Fargo’s Motion to Intervene

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     FTC Exhibit B - Smith Declaration #:5681



 1   obtain equitable monetary relief. AMG Cap. Mgmt., LLC v. FTC, 141 S. Ct. 1341
 2   (2021).”
 3         (31) On August 23, 2021, counsel for Wells Fargo and the Receiver held a
 4   meet and confer, where Wells Fargo indicated its intent to file a motion to
 5   intervene in the Apex Case on August 30, 2021.
 6         (32) On August 25, 2021, Wells Fargo filed a motion to dismiss the
 7   Receiver’s suit, along with a memorandum in support and other related documents
 8   (ECF No. 14). The Receiver filed his opposition on October 8, 2021 (ECF Nos.
 9   15, 16), and Wells Fargo filed its reply on October 25, 2021 (ECF Nos. 17, 18).
10         (33) On August 30, 2021, counsel for Wells Fargo emailed counsel for the
11   Receiver, stating that Wells Fargo would not be filing its motion to intervene and
12   would reach back out in advance of any future filing.
13         (34) On October 26, 2021, counsel for Wells Fargo emailed the Receiver’s
14   counsel, indicating Wells Fargo intended to move to intervene in the Apex Case
15   and wanted to schedule a meet and confer. In subsequent discussions, Wells
16   Fargo’s counsel informed the Receiver’s counsel that Wells Fargo intended to
17   move to intervene in the Triangle Case in the Southern District of California where
18   there is no obligation to meet and confer before filing.
19         (35) Wells Fargo filed its motion to intervene in the Triangle Case on
20   November 10, 2021. The FTC and Receiver both filed oppositions to that motion
21   on December 20, 2021. Wells Fargo filed its reply in support of its motion on
22   January 10, 2022. Wells Fargo’s motion to intervene in the Triangle Case is
23   pending.
24         (36) Wells Fargo first filed its motion to intervene on January 10, 2022,
25   and then re-filed the pending motion to intervene on January 18, 2022, after its
26   initial motion was stricken for failure to comply with Section 5(b) of the Court’s
27   Standing Order.
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FTC Exhibit B - Smith Declaration #:5682




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FTC Exhibit A - Lasky Declaration #:5672



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Attorneys for Plaintiff
FEDERAL TRADE COMMISSION

                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA


 FEDERAL TRADE COMMISSION,                 Case No. 2:18-cv-9573-JFW(JPR)

                         Plaintiff,        DECLARATION OF
             v.                            BRIAN N. LASKY
                                           PURSUANT TO
 APEX CAPITAL GROUP, LLC, et al.           28 U.S.C. § 1746

                         Defendants.       Date: March 7, 2022
                                           Time: 1:30 P.M.
                                           Courtroom: 7A
                                           Judge: Hon. John F. Walter




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FTC Exhibit A - Lasky Declaration #:5673



                    DECLARATION OF BRIAN N. LASKY
                      PURSUANT TO 28 U.S.C. § 1746

I, Brian N. Lasky, declare under penalty of perjury that the foregoing is true and
correct:
   1. I have personal knowledge of the facts stated herein and, if called to testify, I
      could and would competently testify to the same. I am a United States
      citizen over the age of 18. I am employed by the Federal Trade Commission
      (“FTC”) as an attorney.
   2. I am counsel for the FTC in the above-captioned matter, admitted pro hac
      vice to this Court, and licensed to practice in the State of New York.
   3. I participated during the investigation phase of this matter and in litigating it.
   4. On November 19, 2018, a Wells Fargo service manager at the Warner Ranch
      Branch in Woodland Hills, California, Fatima Ledezma, was personally
      served a copy of the Court’s November 16, 2018 Ex Parte Temporary
      Restraining Order With Asset Freeze, Appointment Of A Temporary
      Receiver, And Other Equitable Relief, And Order To Show Cause Why A
      Preliminary Injunction Should Not Issue (Docket No. 16) by an FTC Staff
      member under my direction.
   5. In a subsequent letter dated November 19, 2018, Wells Fargo’s Legal Order
      Processing Operations Manager, Joe Medina, confirmed in writing to the
      FTC that, “As you requested in the Temporary Restraining Order served on
      Wells Fargo on November 19, 2018, we have restricted customer
      withdrawals from the accounts below,” followed by a list of 23 accounts
      related to this case.
   6. On November 10, 2021, the FTC provided counsel for Wells Fargo, Kevin
      Lally, with a courtesy copy of the Temporary Restraining Order (Docket No.
      16) that had been served on Wells Fargo on November 19, 2018.




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FTC Exhibit A - Lasky Declaration #:5674



   7. On February 2, 2022, the FTC provided counsel for Wells Fargo, Kevin
      Lally, with a courtesy copy of Wells Fargo’s November 19, 2018 letter
      (described above).

Executed on February 2, 2022 in New York, NY.




                                     Brian N. Laskyy




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      5HIHUHQFHVWRWKHQXPEHUVRI$SH[DQG7ULDQJOHUHODWHGEDQNDFFRXQWVLGHQWLILHG
  KHUHLQDUHHVWLPDWHVEDVHGRQFDOFXODWLRQVPDGHE\WKH5HFHLYHUXVLQJRQO\RQ
    LQIRUPDWLRQSUHVHQWO\DYDLODEOHWRKLP7KHQXPEHULVOLNHO\WRJURZZKHQ
  LQIRUPDWLRQRQ:HOOV)DUJRLVUHFHLYHGLQGLVFRYHU\
                                                                         &DVH1RBBBBBBBBBBB
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   VFDPV
                :HOOV )DUJR EDQNHUV ZHUH DZDUH RI WKH (QWHUSULVHV¶ ULVNIUHH WULDO
   VFKHPHVXQGHUVWRRGWKHSHRSOHOLVWHGDV³RZQHUV´RIWKH:HOOV)DUJRDFFRXQWVGLG
   QRWDFWXDOO\RZQRUFRQWUROWKHPDQGNQHZWKH(QWHUSULVHVZHUHHQJDJHGLQFUHGLW
   FDUG ODXQGHULQJ  'HVSLWH WKLV NQRZOHGJH :HOO )DUJR JODGO\ RSHQHG more than
   150 bank accounts for the shell companies and straw ownerssometimes opening
   as many as 6 bank accounts in one day  :HOOV )DUJR WKHQ DOORZHG PLOOLRQV RI
   GROODUVWREHGHSRVLWHGLQWKHDFFRXQWVNQRZLQJWKDWWKHVHIXQGVZHUHXQODZIXOO\
   REWDLQHG LQ WKH ULVNIUHH WULDO VFKHPHV DQG DIWHUZDUGV DOORZLQJ WKH (QWHUSULVHV¶
  RSHUDWRUV WR WUDQVIHU WKHLU LOOJRWWHQ JDLQV IURP WKH VKHOO DFFRXQWV WR WKLUGSDUW\
  EDQNDFFRXQWVLQFOXGLQJDFFRXQWVORFDWHGRXWVLGHRIWKH8QLWHG6WDWHV
               7KH SULQFLSDOV RI WKH $SH[ DQG 7ULDQJOH (QWHUSULVHV FDPH WR UHO\
  KHDYLO\XSRQ:HOOV)DUJRWRDLGWKHLUIUDXGVE\SURYLGLQJWKHPZLWKODZRYHUVLJKW
  DQG DW\SLFDO EDQNLQJ VHUYLFHV ZLGHO\ GHYLDWLQJ IURP DFFHSWHG EDQNLQJ VWDQGDUGV
  DQGYLRODWLQJDSSOLFDEOHEDQNLQJODZVDQGUHJXODWLRQV$VRQHWHOOLQJH[DPSOHRI
  WKLVIURPYHU\HDUO\LQWKH7ULDQJOHVFKHPHRZQHU%ULDQ3KLOOLSVUHFUXLWHGDVRQ
  DQG KLV PRWKHU WR VHUYH DV VWUDZ RZQHUV RI WZR RI WKH VKHOO FRPSDQLHV 3KLOOLSV
  DFWXDOO\ RZQHG :HOOV )DUJR SURPSWO\ RSHQHG WKH EDQN DFFRXQWV IRU WKH VKHOO
  FRPSDQLHVOLVWLQJWKHVWUDZRZQHUVDV³RZQHUV´RIWKHDFFRXQWVDQGJDYH3KLOOLSV
  FRPSOHWH FRQWURO RYHU WKH VKHOO DFFRXQWV WR 3KLOOLSV :KHQ WKH VRQ H[SUHVVHG
  FRQFHUQVWKDW:HOOV)DUJRPLJKWFDOOKLVXQDZDUHPRWKHUWRFRQGXFWGXHGLOLJHQFH
  LQWR WKH UHODWLRQVKLS 3KLOOLSV SODLQO\ H[SODLQHG WKDW LW ZDV :HOOV )DUJR DQG WKDW
  ZRXOGQRWEHKDSSHQLQJHPDLOLQJKLP
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   3KLOOLSVZDVULJKW:HOOV)DUJRGLGQ¶WFDOOKHU
               $QG GXULQJ WKH SHULRG LQ ZKLFK WKH $SH[ DQG 7ULDQJOH (QWHUSULVHV¶
   ULVNIUHH WULDO VFDPV ZHUH RSHUDWLQJ :HOOV )DUJR ZDV LQGHHG ³WRWDOO\ GLIIHUHQW´
   IURP LWV EDQNLQJ SHHUV  $V :HOOV )DUJR KDV VLQFH admitted :HOOV )DUJR¶V
   HVWDEOLVKHG FRUSRUDWH SROLFLHV DQG VDOHV LQFHQWLYHV ZHUH IXHOLQJ D KLJKSUHVVXUH
   VDOHVFXOWXUHWKDWUHTXLUHGLWVEDQNHUVWRRSHQDVPDQ\DFFRXQWVDVSRVVLEOH$VD
   GLUHFWUHVXOWRIWKDWSHUQLFLRXVVDOHVFXOWXUHDQGZLWKWKHRQJRLQJNQRZOHGJHDQG
   DXWKRUL]DWLRQRI:HOOV)DUJRDQDUUD\RI:HOOV)DUJREDQNHUVLQPXOWLSOHEUDQFK
   RIILFHVLQ&DOLIRUQLD DQGLQDIHZFDVHV7H[DV GHOLEHUDWHO\DVVLVWHGWKHRSHUDWRUV
  RIWKH$SH[DQG7ULDQJOHULVNIUHHWULDOVFDPVIRUDQDVWRQLVKLQJO\ORQJSHULRGRI
  WLPHIURPDWOHDVWWRIRUWKH7ULDQJOHIUDXGDQGIURPDWOHDVWWR
  IRUWKH$SH[IUDXG ³WKH5HOHYDQW3HULRG´ XQWLOWKHILOLQJRIWKH)7&DFWLRQV
  ILQDOO\VKXWWKHPGRZQ
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  JRDOV GURYH :HOOV )DUJR EDQNHUV WR RSHQ DFFRXQWV UHJDUGOHVV RI WKH ULVN WR WKH
  %DQNRURWKHUVLIWKHHPSOR\HHVIDLOHGWRGHOLYHUWKHFRQVHTXHQFHVZHUHVHYHUH
  ³>L@WZDVFRPPRQNQRZOHGJHZLWKLQWKH%DQNWKDWHPSOR\HHVZKRFRXOGQRWPHHW
  VDOHV JRDOV FRXOG DQG ZRXOG EH WHUPLQDWHG´ DQG ³>H@PSOR\HHV¶ LQFHQWLYH
  FRPSHQVDWLRQDQGSURPRWLRQDORSSRUWXQLWLHVGHSHQGHGRQWKHLUDELOLW\WRPHHWWKH
                              
  XQUHDVRQDEOHVDOHVJRDOV´ $VGLVFXVVHGLQJUHDWHUGHWDLOEHORZWKLVGULYHIRUQHZ
  DFFRXQWVDOLJQHGSHUIHFWO\ZLWKWKH(QWHUSULVHV¶FRQVWDQWQHHGIRUVKHOODFFRXQWV
             ,Q WKH DIWHUPDWK RI :HOOV )DUJR¶V PXFKSXEOLFL]HG XQDXWKRUL]HG
  DFFRXQWVVFDQGDOFDXVHGE\WKLVVDOHVFXOWXUH:HOOV)DUJR¶VQHZO\LQVWDOOHG&(2
  GHVFULEHG WKH EDQN¶V FRUSRUDWH SROLFLHV DV H[FHVVLYHO\ ³IRFXV>HG@ RQ JURZLQJ WKH
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  )RU 2UGHUV 2I 3URKLELWLRQ $QG 2UGHUV 7R &HDVH $QG 'HVLVW $QG 1RWLFH 2I
    $VVHVVPHQWV 2I $ &LYLO 0RQH\ 3HQDOW\ $$(& HW DO -DQ   
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   QXPEHU RI DFFRXQWV´ DGPLWWLQJ WKDW :HOOV )DUJR¶V DFWLRQV ZHUH ³MXVW VWXSLG´
   8QIRUWXQDWHO\ IRU :HOOV )DUJR DQG WKH YLFWLPV KHUH WKLV ³VWXSLG´ FRQGXFW KDG
   GHYDVWDWLQJFRQVHTXHQFHVDVWKHVHSROLFLHVHQFRXUDJHGDQGUHZDUGHG:HOOV)DUJR
   EDQNHUV IRU DLGLQJ DQG DEHWWLQJ IUDXG LQ RUGHU WR VDWLVI\ WKH SUHVVXUL]HG VDOHV
   FXOWXUH DQG KLW VDOHV TXRWDV  7KH 5HFHLYHU¶V LQYHVWLJDWLRQ UHYHDOHG WKDW :HOOV
   )DUJRNQRZLQJO\IDFLOLWDWHGWKHRSHQLQJRIDFFRXQWVE\WKH(QWHUSULVHV¶SULQFLSDOV
   IRU XVH LQ WKHLU IUDXG DOO ZKLOH PDNLQJ D FRQVFLRXV GHFLVLRQ WR OHW WKH IUDXG JR
   XQUHSRUWHG
               :HOOV )DUJR¶V PLVFRQGXFW FHQWHUHG DURXQG WKH &RPPXQLW\ %DQN
  ZKLFKZDVWKHODUJHVWRI:HOOV)DUJR¶VWKUHHEXVLQHVVXQLWVDQGFRQWULEXWHGPRUH
  WKDQKDOI DQGLQVRPH\HDUVPRUHWKDQWKUHHTXDUWHUV RIWKH%DQN¶VUHYHQXH7KH
  &RPPXQLW\ %DQN ZDV UHVSRQVLEOH IRU WKH HYHU\GD\ EDQNLQJ SURGXFWV VROG WR
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              &RPPHQWLQJ RQ WKH ZLGHVSUHDG QDWXUH RI :HOOV )DUJR¶V PLVFRQGXFW
  LQ WKH &RPPXQLW\ %DQN WKH 2IILFH RI WKH &RPSWUROOHU RI WKH &XUUHQF\ WKH
  ³2&&´ WKHIHGHUDOEDQNUHJXODWRUZKLFKHQVXUHVVDIHDQGVRXQGEDQNLQJIRXQG
  WKDW³7RWKHH[WHQW>:HOOV)DUJR@GLGLPSOHPHQWFRQWUROVWKH%DQNLQWHQWLRQDOO\
  GHVLJQHGDQGPDLQWDLQHGFRQWUROVWRFDWFKRQO\WKHPRVWHJUHJLRXVLQVWDQFHVRIWKH
  LOOHJDOFRQGXFWWKDWZDVSHUYDVLYHWKURXJKRXWWKH&RPPXQLW\%DQN´2&&1RWLFH
  RI&KDUJHV&RQVLVWHQWZLWKWKLVILQGLQJWKH5HFHLYHU¶VLQYHVWLJDWLRQKDVOHG
  KLP WR FRQFOXGH WKDW :HOOV )DUJR LQWHQWLRQDOO\ GHVLJQHG DQG PDLQWDLQHG FRQWUROV
  ZKLFK VHUYHG WR FRQFHDO²UDWKHU WKDQ XQPDVN²LWV FXVWRPHUV¶ LOOHJDO DFWLYLWLHV
  ZKLFK:HOOV)DUJRZDVDFWLYHO\IDFLOLWDWLQJ
              :HOOV )DUJR NQRZLQJO\ DVVLVWHG WKH RSHUDWRUV RI WKH $SH[ DQG
  7ULDQJOH(QWHUSULVHVLQFOXGLQJE\DPRQJRWKHUWKLQJV L DXWKRUL]LQJRUDOORZLQJ
  WKHXVHRIDW\SLFDOEDQNLQJSURFHGXUHVWRDVVLVWWKH(QWHUSULVHVLQWKHLUIUDXGV LL 
  FRXQVHOLQJ WKH (QWHUSULVHV RQ KRZ WR VHW XS GHFHSWLYH EDQN DFFRXQWV ZLWK VWUDZ
  RZQHUV ZKLFK HQDEOHG WKHP WR KLGH WKH IUDXG LLL  DFFHSWLQJ GHSRVLWV REWDLQHG
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   WKURXJK WKH IUDXG DQG LY  DXWKRUL]LQJ VXVSLFLRXV LQWHUFRPSDQ\ WUDQVIHUV WKDW
   HQDEOHG WKH ZURQJGRHUV WR VHFUHWH WKH SURFHHGV RI WKHLU IUDXG LQFOXGLQJ LQ
   DFFRXQWVORFDWHGRXWVLGHRIWKH8QLWHG6WDWHV
              :HOOV)DUJRKDVDGPLWWHGZURQJGRLQJDQGSDLGVXEVWDQWLDOILQHVDQG
   UHVWLWXWLRQIRURQHFRQVHTXHQFHRILWVLOOHJDOVDOHVFXOWXUHQDPHO\WKHFUHDWLRQRI
   IUDXGXOHQW DFFRXQWV LQ FXVWRPHUV¶ QDPHV RSHQHG ZLWKRXW WKHLU FRQVHQW %XW WKH
   5HFHLYHU¶V LQYHVWLJDWLRQ UHYHDOHG WKDW WKHUH ZHUH RWKHU SUHYLRXVO\ XQLGHQWLILHG
   FRQVHTXHQFHVRI:HOOV)DUJR¶VVDOHVFXOWXUHDQGLWVDFWLRQVKHUHLQWKLVFDVHWKH
   FRQVHTXHQFHVZHUHKXQGUHGVRIPLOOLRQVRIGROODUVLQKDUPGRQHWRWKHWKRXVDQGV
  RI FRQVXPHUV ZKR VLJQHG XS IRU $SH[¶V DQG 7ULDQJOH¶V ULVNIUHH WULDOV DQG WKH
  UHVXOWLQJ OLDELOLW\ RI WKH 5HFHLYHUVKLS (QWLWLHV WR PDNH WKH GHIUDXGHG FRQVXPHUV
  ZKROH7RGDWH:HOOV)DUJRKDVQHYHUFRPSHQVDWHGWKLVQHZO\LGHQWLILHGFDWHJRU\
  RIYLFWLPVLQFOXGLQJWKH5HFHLYHUVKLS(QWLWLHVWKDWZHUHKDUPHGE\:HOOV)DUJR¶V
  VDOHVFXOWXUHDQGWKHUHVXOWLQJFRQGXFWWKDWDLGHGWKHVHIUDXGXOHQWEXVLQHVVHV
             7KH 5HFHLYHU LV WKHUHIRUH VHHNLQJ WR UHFRYHU GDPDJHV IRU WKH KDUP
  SUR[LPDWHO\ FDXVHG WR WKH $SH[ DQG 7ULDQJOH 5HFHLYHUVKLS (QWLWLHV E\ :HOOV
  )DUJRLQFOXGLQJEXWQRWOLPLWHGWR L WKH5HFHLYHUVKLS(QWLWLHV¶OHJDOREOLJDWLRQV
  WRVDWLVI\WKH)7&MXGJPHQWVZKLFKZHUHSUHPLVHGRQPLVFRQGXFWWKDWFRXOGQRW
  KDYH RFFXUUHG EXW IRU :HOOV )DUJR¶V DVVLVWDQFH LL  WKH IHHV FKDUJHG E\ :HOOV
  )DUJRLQFRQQHFWLRQZLWKWKHLUDFFRXQWVHUYLFHV LLL WKHDFFRXQWIXQGVZKLFKZHUH
  LPSURSHUO\WUDQVIHUUHGRXWRIWKH5HFHLYHUVKLS(QWLWLHV¶DFFRXQWVE\:HOOV)DUJRDW
  WKH GLUHFWLRQ RI WKH (QWHUSULVHV¶ SULQFLSDOV DQG LY  WKH FRVWV RI GHIHQGLQJ WKH
  DFWLRQVE\WKH)7& LQFOXGLQJWKHUHVXOWLQJ5HFHLYHUVKLSV 
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  LQ WKH 6RXWKHUQ DQG &HQWUDO 'LVWULFWV RI &DOLIRUQLD DJDLQVW 7ULDQJOH 0HGLD
  &RUSRUDWLRQ DQG $SH[ &DSLWDO *URXS //& DQG WKHLU UHODWHG HQWLWLHV WKH
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   ³Triangle´ DQG ³Apex” DFWLRQV  UHVSHFWLYHO\ HDFK RI ZKLFK ZDV RSHUDWLQJ
   GHFHSWLYH RQOLQH ULVNIUHH WULDO RIIHU VFKHPHV LQ YLRODWLRQ RI FRQVXPHU SURWHFWLRQ
   VWDWXWHV  7KH )7& VXHG WR REWDLQ WHPSRUDU\ SUHOLPLQDU\ DQG SHUPDQHQW
   LQMXQFWLYH UHOLHI UHVFLVVLRQ RU UHIRUPDWLRQ RI FRQWUDFWV UHVWLWXWLRQ WKH UHIXQG RI
   PRQLHVSDLGGLVJRUJHPHQWRILOOJRWWHQJDLQVDQGRWKHUHTXLWDEOHUHOLHI7KH)7&
   ILOHG DPHQGHG FRPSODLQWV LQ 'HFHPEHU  DQG 0D\  LQ WKH 7ULDQJOH DQG
   $SH[DFWLRQVUHVSHFWLYHO\
            $    7KHApex$FWLRQ
               3ODLQWLIILVWKH&RXUWDSSRLQWHG5HFHLYHU LQWKHApexDFWLRQ Federal
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  (&)1RV 3HLNRV DQG %DUQHWW GLUHFWWKH5HFHLYHUWRSUHVHUYHWKHYDOXHRI
  WKHDVVHWVRIWKH5HFHLYHUVKLS(VWDWHDQGDXWKRUL]HWKH5HFHLYHUWRLQVWLWXWHDFWLRQV
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  WR LQFOXGH WKH IROORZLQJ WKH &RUSRUDWH 'HIHQGDQWV  WKH :\RPLQJ 5HODWHG
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  &RPSDQLHV DQGWKH8.5HODWHG&RPSDQLHV $SH[3,VDW'HILQLWLRQ.,Q
  DGGLWLRQ WKH WHUP ³5HFHLYHUVKLS (QWLWLHV´ LV GHILQHG WR LQFOXGH ³DQ\ RWKHU HQWLW\
  WKDW KDV FRQGXFWHG DQ\ EXVLQHVV UHODWHG WR 'HIHQGDQWV¶ PDUNHWLQJ RU VDOH RI
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      7KH&RUSRUDWH'HIHQGDQWVLQFOXGH$SH[&DSLWDO*URXS//&&DSVWRQH&DSLWDO
   6ROXWLRQV/LPLWHG&OLN7UL[/LPLWHG(PSLUH3DUWQHUV/LPLWHG,QWHU]RRP&DSLWDO
     /LPLWHG/HDG%ODVW/LPLWHG0RXQWDLQ9HQWXUH6ROXWLRQV/LPLWHG1XWUD*OREDO
  /LPLWHG2PQL*URXS/LPLWHG5HQGH]YRXV,7/LPLWHG6N\%OXH0HGLD/LPLWHG
     DQG7DFWLF6ROXWLRQV/LPLWHGDQGHDFKRIWKHLUVXEVLGLDULHVDIILOLDWHVVXFFHVVRUV
  DQGDVVLJQV$SH[3,VDW'HILQLWLRQ&
     
  7KH:\RPLQJ5HODWHG&RPSDQLHVLQFOXGHHQWLWLHVIRUPHGLQ:\RPLQJE\
     'HIHQGDQWVLQWKHQDPHVRIQRPLQHHVIRUWKHVROHSXUSRVHRIIURQWLQJPHUFKDQW
  DFFRXQWV7KH\DUHLGHQWLILHGLQ([KLELW$WRWKH ApexDFWLRQ&RPSODLQW
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    DQ\ DFWLYLW\ WKDW LV WKH VXEMHFW RI WKH &RPSODLQW LQ WKLV PDWWHU DQG WKDW WKH
    5HFHLYHUGHWHUPLQHVLVFRQWUROOHGRURZQHGE\DQ\'HIHQGDQW´Id7RGDWHWKH
    5HFHLYHU KDV GHWHUPLQHG WKDW PXOWLSOH DGGLWLRQDO HQWLWLHV TXDOLI\ DV 5HFHLYHUVKLS
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    (QWLWLHVXQGHUWKLVGHILQLWLRQ 7KHVHHQWLWLHVDUHFROOHFWLYHO\UHIHUUHGWRKHUHLQDV
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    RQHWLPH SDUWQHU 'DYLG %DUQHWW ³%DUQHWW  DQG WKHLU DJHQWV UDQ DQ RQOLQH ³IUHH
    WULDO´ VXEVFULSWLRQ VFDP WKURXJK WKH $SH[ (QWHUSULVH  3HLNRV ZDV WKH &KLHI
   ([HFXWLYH2IILFHUDQGFRRZQHURI$SH[$WDOOWLPHVPDWHULDOWRWKLV&RPSODLQW
   DFWLQJDORQHRULQFRQFHUWZLWKRWKHUVKHIRUPXODWHGGLUHFWHGFRQWUROOHGKDGWKH
   DXWKRULW\WRFRQWURORUSDUWLFLSDWHGLQWKHDFWVDQGSUDFWLFHVRIWKH$SH[(QWHUSULVH
               %DUQHWWZDVWKH&KLHI2SHUDWLQJ2IILFHURIWKH$SH[(QWHUSULVH+H
   ZDVDFRRZQHURIWKH$SH[(QWHUSULVHXQWLODWOHDVWODWHZKHQKHWUDQVIHUUHG
   KLVVKDUHVWR3HLNRV$WWLPHVPDWHULDOWRWKLV&RPSODLQWDFWLQJDORQHRULQFRQFHUW
   ZLWK RWKHUV KH IRUPXODWHG GLUHFWHG FRQWUROOHG KDG WKH DXWKRULW\ WR FRQWURO RU
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   WR WKH HQWU\ RI 2UGHUV IRU 3HUPDQHQW ,QMXQFWLRQV EDUULQJ WKHP IURP WKHLU LOOHJDO
   FRQGXFW DQG0RQHWDU\-XGJPHQWVUHVROYLQJDOOPDWWHUVLQGLVSXWHEHWZHHQWKHP
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          ³7ULDQJOH´  +DUGZLUH ,QWHUDFWLYH ,QF ³+DUGZLUH´  DQG -DVSHU 5DLQ 0DUNHWLQJ
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    //& ³-DVSHU5DLQ´ DQGWKHLUUHVSHFWLYHGEDV 7ULDQJOH2UGHUDW'HILQLWLRQ
   1  5HFHLYHUVKLS (QWLWLHV DOVR LQFOXGH ³DQ\ RWKHU HQWLW\ WKDW KDV FRQGXFWHG DQ\
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   UHFHLSWRI$VVHWVGHULYHGIURPDQ\DFWLYLW\WKDWLVWKHVXEMHFWRIWKH&RPSODLQWLQ
   WKLV PDWWHU DQG WKDW WKH 5HFHLYHU GHWHUPLQHV LV FRQWUROOHG RU RZQHG E\ DQ\
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   'HIHQGDQW´  7KHVH (QWLWLHV DUH FROOHFWLYHO\ UHIHUUHG WR KHUHLQ DV WKH ³7ULDQJOH
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   ³IUHHWULDO´VXEVFULSWLRQVFDP'XULQJWKHUHOHYDQWSHULRG3KLOOLSVZDVDQRZQHU
   DQG RIILFHU RI WKH 7ULDQJOH (QWHUSULVH  $W DOO WLPHV PDWHULDO WR WKLV &RPSODLQW
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     DQG7UXWKDQG(&LJV-DVSHU5DLQ0DUNHWLQJ//&DOVRGRLQJEXVLQHVVDVDQG
   HDFKRIWKHLUVXEVLGLDULHVDIILOLDWHVVXFFHVVRUVDQGDVVLJQV7KH,QGLYLGXDO
     'HIHQGDQWLV%ULDQ3KLOOLSV
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        7KHVHGEDVLQFOXGH&UDQLXP3RZHU3KHQRP+HDOWK%HDXW\DQG7UXWKDQG(
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    7KH5HFHLYHUKDVGHWHUPLQHGWKDWDGGLWLRQDOHQWLWLHVIDOOZLWKLQWKLVGHILQLWLRQRI
     7ULDQJOHUHODWHG5HFHLYHUVKLS(QWLWLHV  *OREDO1RUWKHUQ7UDGLQJ/WG ³*OREDO
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    DQG RIILFHU RI WKH 7ULDQJOH (QWHUSULVH  $W DOO WLPHV PDWHULDO WR WKLV &RPSODLQW
    DFWLQJDORQHRULQFRQFHUWZLWKRWKHUVKHIRUPXODWHGGLUHFWHGFRQWUROOHGKDGWKH
    DXWKRULW\ WR FRQWURO RU SDUWLFLSDWHG LQ WKH DFWV DQG SUDFWLFHV RI WKH 7ULDQJOH
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    WKH HQWU\ RI 2UGHUV IRU 3HUPDQHQW ,QMXQFWLRQV EDUULQJ WKHP IURP WKHLU LOOHJDO
   FRQGXFW DQG0RQHWDU\-XGJPHQWVUHVROYLQJDOOPDWWHUVLQGLVSXWHEHWZHHQWKHP
            &    7KH 5HFHLYHU¶V ,QYHVWLJDWLRQ RI :HOOV )DUJR DQG 'LVFRYHU\ RI
                   :HOOV)DUJR¶V:URQJIXO&RQGXFW
               $IWHU FRQGXFWLQJ KLV LQLWLDO LQYHVWLJDWLRQV WKH 5HFHLYHU ILOHG
   SUHOLPLQDU\ UHSRUWV DV WR KLV FRQFOXVLRQV LQ HDFK RI WKH 7ULDQJOH DQG $SH[ )7&
   DFWLRQV  ,Q ERWK FDVHV WKH 5HFHLYHU GHWHUPLQHG WKDW WKH EXVLQHVVHV FRXOG QRW
   FRQWLQXHWREHRSHUDWHGODZIXOO\DQGSURILWDEO\
               %DVHGRQLQLWLDODQGVXEVHTXHQWUHYLHZVRILQWHUQDO$SH[DQG7ULDQJOH
   HPDLOV DQG EDQN UHFRUGV WKH 5HFHLYHU¶V LQYHVWLJDWLRQ UHYHDOHG WKDW :HOOV )DUJR
   ZDV DLGLQJ DQG DEHWWLQJ ERWK (QWHUSULVHV E\ SURYLGLQJ VLPLODU DW\SLFDO EDQNLQJ
   VHUYLFHVDVGHWDLOHGKHUHLQLQIXUWKHUDQFHRIWKHIUDXGV
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   )DUJR UHJDUGLQJ WKHLU UHODWLRQVKLSV ZLWK WKH $SH[ DQG 7ULDQJOH (QWHUSULVHV    ,Q
   UHVSRQVH :HOOV )DUJR PDGH LQFRPSOHWH SURGXFWLRQV  2Q LQIRUPDWLRQ DQG EHOLHI
   QXPHURXV LQWHUQDO EDQN UHFRUGV LQFOXGLQJ HOHFWURQLF GRFXPHQWV DQG LQWHUQDO
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   )DUJR ZDV REOLJDWHG XQGHU DSSOLFDEOH EDQNLQJ UHJXODWLRQV DQG ODZV WR PDLQWDLQ
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    (QWLWLHV  ,Q WKH Triangle DFWLRQ RQ 1RYHPEHU   -XGJH %XUQV UXOHG WKDW
    ³WKH&RXUWILQGVJRRGFDXVHH[LVWVWRJUDQWWKH5HFHLYHU¶VPRWLRQWR  H[WHQGWKH
    UHFHLYHUVKLS IRU WKH VROH SXUSRVH RI SXUVXLQJ OLWLJDWLRQ DJDLQVW :HOOV )DUJR  
    SHUPLW WKH 5HFHLYHU WR UHWDLQ FRQWLQJHQF\ FRXQVHO DQG   DGPLQLVWUDWLYHO\ FORVH
    WKH FDVH ZKLOH WKDW OLWLJDWLRQ LV SXUVXHG´  ,Q WKHApex DFWLRQ RQ 0DUFK  
    -XGJH :DOWHU VLPLODUO\ SHUPLWWHG WKH 5HFHLYHU WR UHWDLQ FRQWLQJHQF\ FRXQVHO WR
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   &ROXPELD 6WUHHW 6DQ 'LHJR &DOLIRUQLD  XQWLO 0D\   ZKHQ LW ILOHG
   SDSHUZRUN ZLWK WKH &DOLIRUQLD 6HFUHWDU\ RI 6WDWH FKDQJLQJ LWV SULQFLSDO SODFH RI
   EXVLQHVV WR 7DPSD )ORULGD WKRXJK WKH FHQWHU RI RSHUDWLRQV UHPDLQHG LQ 6DQ
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   DGGUHVVHVLQ:HVWODNH9LOODJH&DOLIRUQLD-DFNVRQ:\RPLQJ%HYHUO\+LOOV&$
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   RSHUDWHGRXWRI&DOLIRUQLDGXULQJWKH5HOHYDQW3HULRG
               'HIHQGDQW :HOOV )DUJR        &RPSDQ\ LV D QDWLRQZLGH GLYHUVLILHG
   ILQDQFLDO VHUYLFHV FRPSDQ\  8SRQ LQIRUPDWLRQ DQG EHOLHI LWV FRUSRUDWH
   KHDGTXDUWHUV DUH ORFDWHG LQ 6DQ)UDQFLVFR &DOLIRUQLD  'HIHQGDQW :HOOV )DUJR 
   &RPSDQ\LVWKHSDUHQWFRPSDQ\RI:HOOV)DUJR%DQN1$
               'HIHQGDQW:HOOV)DUJR%DQN1$LVRUJDQL]HGDVDQDWLRQDOEDQNLQJ
   DVVRFLDWLRQXQGHUWKHODZVRIWKH8QLWHG6WDWHV8SRQLQIRUPDWLRQDQGEHOLHILWV
   FRUSRUDWHKHDGTXDUWHUVDUHORFDWHGLQ6RXWK'DNRWD,WPDLQWDLQVPXOWLSOHRIILFHV
   LQWKH6WDWHRI&DOLIRUQLDDQGWKH6RXWKHUQ'LVWULFWRI&DOLIRUQLDIRUWKHSXUSRVHVRI
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                7KH'HIHQGDQWVDUHFROOHFWLYHO\UHIHUUHGWRKHUHLQDV³:HOOV)DUJR´
    WKH³%DQN´RU³'HIHQGDQWV´
    ,9 -85,6',&7,21$1'9(18(
                7KLV&RXUWKDVMXULVGLFWLRQRYHUWKLVPDWWHUXQGHU86&
    86&   DQG  86&   D  DQG WKH GRFWULQHV RI VXSSOHPHQWDO DQG
    DQFLOODU\ MXULVGLFWLRQ  See S.E.C. v. Bilzerian  )G   '& &LU
      ³>7@KHUHFHLYHU¶VFRPSODLQWZDVEURXJKWWRDFFRPSOLVKWKHREMHFWLYHVRIWKH
    5HFHLYHUVKLS2UGHUDQGZDVWKXVDQFLOODU\WRWKHFRXUW¶VH[FOXVLYHMXULVGLFWLRQRYHU
   WKHUHFHLYHUVKLSHVWDWH´ 
               9HQXHLQWKH6RXWKHUQ'LVWULFWRI&DOLIRUQLDLVSURSHUSXUVXDQWWR
   86&EHFDXVHWKHTriangle &RXUWUHWDLQHGMXULVGLFWLRQRIWKLVPDWWHUIRU
   DOO SXUSRVHV DQG DSSRLQWHG WKH 3HUPDQHQW 5HFHLYHU LQ WKH 6RXWKHUQ 'LVWULFW RI
   &DOLIRUQLD RQ $XJXVW    DQG EHFDXVH WKLV SURFHHGLQJ LV VXSSOHPHQWDO WR
   FTC v. Triangle. See Haile v. Henderson Nat’l Bank)GQ WK
   &LU  ³>:@KHUHMXULVGLFWLRQLVDQFLOODU\WKHSRVWMXULVGLFWLRQDOFRQVLGHUDWLRQ
   RIYHQXHLVDQFLOODU\DVZHOO´ DQGEHFDXVHWKHTriangleDFWLRQZDVLQLWLDWHGSULRU
   WRWKHILOLQJRIWKHApexDFWLRQLQWKH&HQWUDO'LVWULFWRI&DOLIRUQLD
               7KH &RXUW PD\ H[HUFLVH SHUVRQDO MXULVGLFWLRQ RYHU WKH 'HIHQGDQWV
   SXUVXDQWWR86&EHFDXVHWKHIXQGVVRXJKWWREHUHFRYHUHGDUHDVVHWV
   RI WKH 5HFHLYHUVKLS (QWLWLHV XQGHU WKH &RXUW¶V 2UGHUV LVVXHG LQ WKH Triangle DQG
   Apex DFWLRQV
               7KLV &RXUW DOVR KDV SHUVRQDO MXULVGLFWLRQ RYHU 'HIHQGDQWV QDPHG LQ
   WKLV &RPSODLQW EHFDXVH :HOOV )DUJR FRQGXFWHG EXVLQHVV LQ &DOLIRUQLD DQG LW
   SDUWLFLSDWHG LQ &DOLIRUQLDEDVHG IUDXGXOHQW VFKHPHV WKDW LQMXUHG &DOLIRUQLDQV
   9HQXH LV DOVR SURSHU LQ WKLV 'LVWULFW EHFDXVH WKH FRQGXFW DW LVVXH WRRN SODFH DQG
   KDG DQ HIIHFW LQ WKLV 'LVWULFW DQG :HOOV )DUJR UHJXODUO\ FRQGXFWHG DQG VWLOO
   UHJXODUO\FRQGXFWVVXEVWDQWLDOEDQNLQJEXVLQHVVLQWKLV'LVWULFW'HIHQGDQWVKDYH
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    VXIILFLHQWPLQLPXPFRQWDFWVZLWKWKH6RXWKHUQ'LVWULFWRI&DOLIRUQLDDULVLQJIURP
    WKHVSHFLILFFRQGXFWFRPPLWWHGLQRUGLUHFWHGWRWKH6RXWKHUQ'LVWULFWRI&DOLIRUQLD
    9      :(//6)$5*2¶681$77$,1$%/(6$/(6*2$/6$1'+,*+
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                'XULQJ WKH 5HOHYDQW 3HULRG :HOOV )DUJR HQJDJHG LQ UDPSDQW VDOHV
    PLVFRQGXFW IURP WKH WRS GRZQ  7KDW PLVFRQGXFW KDV EHHQ UHSHDWHGO\ FRQILUPHG
    E\ PXOWLSOH UHJXODWRUV KHDULQJV DQG ODZVXLWV  ,Q 6HSWHPEHU  WKH
    &)3%LPSRVHGDILQHRIPLOOLRQDJDLQVW:HOOV)DUJRIRURSHQLQJPRUHWKDQ
   WZR PLOOLRQ QHZ DFFRXQWV QRW UHTXHVWHG E\ FXVWRPHUV LQ RUGHU WR JHQHUDWH LOOLFLW
   IHHV7KHFRPSDQ\DOVRSDLGPLOOLRQWRWKH2IILFHRIWKH&RPSWUROOHURIWKH
   &XUUHQF\DQGPLOOLRQWRWKH&LW\DQG&RXQW\RI/RV$QJHOHV
               'HVSLWH VLJQLQJ FRQVHQW RUGHUV ZLWK WKH &)3% DQG 2&& LQ 
   WKRVHVDPHWZRDJHQFLHVILQHG:HOOV)DUJRDJDLQ WKLVWLPHIRUonebillionGROODUV 
   IRUVHOOLQJXQQHFHVVDU\SURGXFWVWRFXVWRPHUVDQGIRUHQJDJLQJLQRWKHULPSURSHU
   SUDFWLFHV/DWHULQ)HEUXDU\:HOOV)DUJRDJUHHGWRSD\three billionGROODUV
   WR UHVROYH IHGHUDO FLYLO DQG FULPLQDO LQYHVWLJDWLRQV LQWR WKH FRQVXPHU DFFRXQW
   VFDQGDOWKHVHWWOHPHQWRIWKRVHPDWWHUVLQFOXGHGDGHIHUUHGSURVHFXWLRQDJUHHPHQW
               :HOOV )DUJR¶V VDOHV PLVFRQGXFW EHJDQ DW OHDVW DV HDUO\ DV   $W
   WKDW WLPH WKH %DQN¶V LQWHUQDO LQYHVWLJDWLRQV XQLW QRWLFHG DQ LQFUHDVH LQ ³VDOHV
   LQWHJULW\´ FDVHV  $FFRUGLQJ WR :HOOV )DUJR¶V HPSOR\HHV VDOHV JRDOV ZHUH
   LPSRVVLEOH WR PHHW DQG LQFHQWLYHV IRU FRPSHQVDWLRQ DQG RQJRLQJ HPSOR\PHQW
   QHFHVVLWDWHG³JDPLQJ´WKHV\VWHP*UDGXDOO\³JDPLQJ´ZKLFKZDVGHILQHGLQWKH
   :HOOV)DUJR&RGHRI(WKLFVDV³WKHPDQLSXODWLRQDQGRUPLVUHSUHVHQWDWLRQRIVDOHV
   RU UHIHUUDOV    LQ DQ DWWHPSW WR UHFHLYH FRPSHQVDWLRQ RU WR PHHW VDOHV JRDOV´
   EHFDPHFRPPRQSODFH
               7RPHHWFRPSDQ\VDOHVTXRWDVHPSOR\HHVRSHQHGDFFRXQWVDQGFUHGLW
   OLQHV RUGHUHG FUHGLW FDUGV ZLWKRXW WKHLU FXVWRPHUV¶ SHUPLVVLRQ DQG IRUJHG FOLHQW
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    VLJQDWXUHV RQSDSHUZRUN  6RPH HPSOR\HHV XUJHG IDPLO\ PHPEHUV WR RSHQJKRVW
    DFFRXQWV
                  %HWZHHQ  DQG  :HOOV )DUJR HPSOR\HHV RSHQHG PRUH WKDQ
    PLOOLRQGHSRVLWDFFRXQWVDQGPRUHWKDQFUHGLWFDUGDFFRXQWVWKDWPD\
    QRW KDYH EHHQ DXWKRUL]HG  2Q D SHUHPSOR\HH EDVLV WKH UHSRUWV RI VDOHVUHODWHG
    PLVFRQGXFWWULSOHGIURPWKHVHFRQGTXDUWHURIWKURXJKWKHIRXUWKTXDUWHURI
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    WKH2&&&)3%DQGWKH&LW\DQG&RXQW\RI/RV$QJHOHVLQWRVHWWOHFKDUJHV
   UHODWHGWRFRQVXPHUDFFRXQWIUDXGWKHQH[W\HDULQDQ$XJXVWTXDUWHUO\
   4 ILOLQJ :HOOV )DUJR VDLG LW KDG H[SDQGHG WKH SHULRG WDUJHWHG IRU UHYLHZ
         SUHYLRXVO\  WKURXJK   WR  WKURXJK  DQG GLVFORVHG WKDW WKH
   H[SDQVLRQ RI WKH UHYLHZ SHULRG FRXOG UHYHDO D ³VLJQLILFDQW LQFUHDVH´ LQ
   XQDXWKRUL]HGDFFRXQWV
                 2Q -DQXDU\   WKH 2&& EURXJKW DGGLWLRQDO FKDUJHV DJDLQVW
   VHYHUDO :HOOV )DUJR H[HFXWLYHV IRU DOORZLQJ ORQJWHUP VDOHV PLVFRQGXFW  $V WKH
   2&&SXWLW
              7KH %DQN WROHUDWHG SHUYDVLYH VDOHV SUDFWLFHV PLVFRQGXFW DV DQ
                DFFHSWDEOH VLGH HIIHFW RI WKH &RPPXQLW\ %DQN¶V SURILWDEOH VDOHV
              PRGHODQGGHFOLQHGWRLPSOHPHQWHIIHFWLYHFRQWUROVWRFDWFKV\VWHPLF
                PLVFRQGXFW  ,QVWHDG WR DYRLG XSVHWWLQJ D ILQDQFLDOO\ SURILWDEOH
              EXVLQHVV PRGHO VHQLRU H[HFXWLYHV«WXUQHG D EOLQG H\H WR LOOHJDO DQG
                LPSURSHUFRQGXFWDFURVVWKHHQWLUH&RPPXQLW\%DQN«7RWKHH[WHQW
              WKH%DQNGLGLPSOHPHQWFRQWUROVWKH%DQNLQWHQWLRQDOO\GHVLJQHG
                DQG PDLQWDLQHG FRQWUROV WR FDWFK RQO\ WKH PRVW HJUHJLRXV
              LQVWDQFHVRIWKHLOOHJDOFRQGXFWWKDWZDVSHUYDVLYHWKURXJKRXWWKH
                &RPPXQLW\%DQN ,QVKRUW%DQNVHQLRUH[HFXWLYHVIDYRUHGSURILWV
              DQG RWKHU PDUNHW UHZDUGV RYHU WDNLQJ DFWLRQ WR VWRS WKH V\VWHPLF
                LVVXDQFHRIXQDXWKRUL]HGSURGXFWVDQGVHUYLFHVWRFXVWRPHUV
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       $JUHHPHQW ³'3$´  ZLWK WKH 8QLWHG 6WDWHV $WWRUQH\¶V 2IILFHV IRU WKH &HQWUDO
  
       'LVWULFW RI &DOLIRUQLD DQG WKH :HVWHUQ 'LVWULFW RI 1RUWK &DUROLQD WKDW LQFOXGHG D
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    ³6WDWHPHQWRI)DFWV´LQZKLFK:HOOV)DUJR³DGPLWWHGDFFHSWHGDFNQRZOHGJHGDV
    WUXH´ DPRQJ RWKHU WKLQJV  WKDW ³>G@HVSLWH >KDYLQJ@ NQRZOHGJH RI WKH ZLGHVSUHDG
    VDOHV SUDFWLFHV SUREOHPV´ DV HDUO\ DV  DQG WKURXJK  ³&RPPXQLW\ %DQN
    VHQLRU OHDGHUVKLS IDLOHG WR WDNH VXIILFLHQW DFWLRQ WR SUHYHQW DQG UHGXFH WKH
    LQFLGHQFHRIXQODZIXODQGXQHWKLFDOVDOHVSUDFWLFHV´$FFRUGLQJWRWKH'3$:HOOV
    )DUJR ZDV DOHUWHG WR WKH IUDXGE\ ³:HOOV )DUJR¶V LQWHUQDO LQYHVWLJDWLRQV XQLW WKH
    &RPPXQLW\%DQN¶VRZQLQWHUQDOVDOHVTXDOLW\RYHUVLJKWXQLWDQGPDQDJHUVOHDGLQJ
    WKH &RPPXQLW\ %DQN¶V JHRJUDSKLF UHJLRQV DV ZHOO DV UHJXODU FRPSODLQWV E\
    ORZHUOHYHOHPSOR\HHVDQG:HOOV)DUJRFXVWRPHUVUHSRUWLQJVHULRXVVDOHVSUDFWLFHV
   YLRODWLRQV´
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   EDQNUHJXODWRUVWKH2&&DQG WKH)HGHUDO5HVHUYHLQLWLDWHGD PXOWLSKDVH³6DOHV
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   3UDFWLFHV DQG ,QFHQWLYH &RPSHQVDWLRQ +RUL]RQWDO 5HYLHZ´  ZLWK WKH JRDOV
   LQFOXGLQJWRGHWHUPLQHZKHWKHUother EDQNVGRLQJWKHYHU\VDPHWKLQJVWKDW:HOOV
   )DUJR GLG  $IWHU FRQGXFWLQJ LWV LQYHVWLJDWLRQ WKH UHJXODWRUV 2&& FRQFOXGHG LQ
    WKDW :HOOV )DUJR ZDV XQLTXH LQ WHUPV RI LWV VDOHV FXOWXUH ZKLFK SURPSWHG
   HPSOR\HHV WR RSHQ XQDXWKRUL]HG DQG HYHQ IUDXGXOHQW DFFRXQWV LQ RUGHU WR PHHW
   GDLO\ QHZ DFFRXQW JRDOV DQG NHHS WKHLU MREV  7KH EDQNLQJ UHJXODWRUV¶ UHYLHZ
   FRQILUPHG WKDW :HOOV )DUJR¶V EDQNLQJ SHHUV XQOLNH :HOOV )DUJR KDG WDNHQ
   VHULRXVO\ WKH VLJQLILFDQW FRPSOLDQFH ULVNV FDXVHG E\ DQ RYHUO\ DJJUHVVLYH VDOHV
   FXOWXUHDQGOD[RYHUVLJKWRIEUDQFKHV
              ,QRWKHUZRUGV:HOOV)DUJR¶VPLVFRQGXFWZDVQRWWKHQRUPZLWKLQWKH
   LQGXVWU\DQGZDVWHWKHUHGWR:HOOV)DUJR¶VXQLTXHO\WR[LFVDOHVFXOWXUH7KDWVDPH
   FXOWXUHLVDWLVVXHKHUHEXWLQDQHQWLUHO\GLIIHUHQWFRQWH[WDQGRQHWKDWZDVRQO\
   GLVFRYHUHGDIWHUWKH5HFHLYHUZDVDSSRLQWHG+HUH:HOOV)DUJR¶VFRUSRUDWHIRFXV
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    RQWKHRSHQLQJRIQHZDFFRXQWVDWDQ\FRVWUHVXOWHGLQWKH%DQNRSHQLQJroughly
    one hundred and fifty bank accounts for shell companies across the Apex and
    Triangle frauds²DFFRXQWV ZKLFK $SH[ DQG 7ULDQJOH¶V SULQFLSDOV UHTXLUHG WR
    VHFXUH PHUFKDQW SD\PHQW SURFHVVLQJ VHUYLFHV OHDQLQJ RQ :HOOV )DUJR¶V
    LPSULPDWXU DQG UHIHUHQFH OHWWHUV WR FRQYLQFH WKH SURFHVVRUV RI WKH DFFRXQWV¶
    OHJLWLPDF\ DQGWKHQXVHGWRODXQGHUWKHSURFHHGVIURPWKHLUFRQVXPHUIUDXGV
    9, :(//6)$5*2¶6&5($7,21$1'0$,17(1$1&(2)%$1.
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               7KH $SH[ DQG 7ULDQJOH IUDXGV ZHUH VLPSOH LQ FRQFHSW EDLW
   FRQVXPHUVZLWKGHFHSWLYHLQWHUQHWDGVRIIHULQJ³ULVNIUHH´WULDOVIRURQO\WKHFRVWRI
   VKLSSLQJDQGWKHQXVHWKHFRQVXPHUV¶ELOOLQJLQIRUPDWLRQWRFKDUJHIRUWKHSURGXFW
   DQG LPSRVH D PRQWKO\ FRQWLQXLW\ FKDUJH  0DNH LW LPSRVVLEOH WR FDQFHO  7KHVH
   VFKHPHVGHIUDXGHGFRQVXPHUVRIKXQGUHGVRIPLOOLRQVRIGROODUV
               6LPSOHDVLWZDVWKHFRQZDVHIIHFWLYH&RQVXPHUVZRXOGEHRIIHUHG
   D IXOO PRQWK¶V VXSSO\ RI D IHDWXUHG SURGXFW DQG DW WKH WLPH RI WKH LQLWLDO RUGHU
   ZRXOGRQO\SD\WKHQRPLQDOFRVWIRUWKHVKLSSLQJDQGKDQGOLQJRIWKHSURGXFW%XW
   LI WKH FRQVXPHU GLG QRW FDQFHO WKH RUGHU DQG UHWXUQ WKH XQXVHG SRUWLRQ RI WKH
   SURGXFWZLWKLQDVKRUWSHULRGRIWLPH RIWHQIRXUWHHQFDOHQGDUGD\V WKH7ULDQJOH
   DQG$SH[(QWHUSULVHVZRXOGDXWRPDWLFDOO\FKDUJHWKHFRQVXPHU¶VFDUGIRUWKHIXOO
   SULFH RI WKH SURGXFW XVXDOO\ DURXQG  RU    7KH FRQVXPHU ZRXOG DOVR EH
   HQUROOHGLQDQDXWRVKLSSURJUDPZKHQVLJQLQJXSIRUWKH³ULVNIUHH´WULDORIIHU²
   PHDQLQJWKDWXQOHVVWKHVXEVFULSWLRQZDVDIILUPDWLYHO\FDQFHOHGWKHFRQVXPHUZDV
   DXWRPDWLFDOO\FKDUJHGPRQWKO\IRUDGGLWLRQDOSURGXFW
               %RWK WKH $SH[ DQG 7ULDQJOH VFKHPHV UHTXLUHG DFFHVV WR D VWHDG\
   VWUHDP RI QHZ EDQN DFFRXQWV WR IXQFWLRQ  $V VXFK :HOOV )DUJR DQG WKH
   (QWHUSULVHV¶REMHFWLYHVZHUHDOLJQHGWKH(QWHUSULVHVQHHGHGQHZEDQNDFFRXQWVRQ
   DUHJXODUEDVLVDQG:HOOV)DUJRZDVFRQVWDQWO\SUHVVXULQJLWVVDOHVHPSOR\HHVWR
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    RSHQ PRUH EDQN DFFRXQWV  $V D UHVXOW WKH (QWHUSULVHV WKH LQGLYLGXDOV EHKLQG
    WKHP DQG WKH EDQN GHYHORSHG D V\PELRWLF UHODWLRQVKLS  :LWKRXW :HOOV )DUJR¶V
    DVVLVWDQFHWKH(QWHUSULVHV¶IUDXGVFRXOGQRWKDYHVXUYLYHG OHWDORQHWKULYHG IRUDV
    ORQJDVWKH\GLG
               $    7KH3D\PHQW3URFHVVLQJ6\VWHPDQG&UHGLW&DUG/DXQGHULQJ
                  ,QRUGHUWRFKDUJHFRQVXPHUV¶FUHGLWRUGHELWFDUGVWKH7ULDQJOHDQG
    $SH[(QWHUSULVHV WKH³PHUFKDQWV´ QHHGHGWRHVWDEOLVKDQDFFRXQWZLWKDPHUFKDQW
    SURFHVVRU  0HUFKDQW SURFHVVRUV KDYH DFFHVV WR FUHGLW FDUG DVVRFLDWLRQV ³FDUG
    QHWZRUNV´  OLNH 0DVWHU&DUG DQG 9,6$ DQG WKHUHE\ HQDEOH PHUFKDQWV WR FKDUJH
   FRQVXPHUV¶FUHGLWFDUGV
                 &DUGQHWZRUNVUHTXLUHDOOSDUWLFLSDQWVZLWKLQWKHLUQHWZRUNVWRFRPSO\
   ZLWK GHWDLOHG UXOHV LQFOXGLQJ VFUHHQLQJ SURFHVVHV DQG XQGHUZULWLQJ VWDQGDUGV IRU
   PHUFKDQWV  7KHVH UXOHV DUH SXW LQ SODFH   WR HQVXUH WKDW WKH PHUFKDQWV ZKRVH
   SXUFKDVHV DUH EHLQJ SURFHVVHG DUH OHJLWLPDWH ERQD ILGH EXVLQHVVHV DQG   WR
   VFUHHQ RXW PHUFKDQWV HQJDJHG LQ SRWHQWLDOO\ IUDXGXOHQW RU LOOHJDO SUDFWLFHV  7KH
   UXOHV DOVR SURKLELW ³FUHGLW FDUG ODXQGHULQJ´ ZKLFK HQFRPSDVVHV WKH SUDFWLFH RI
   SURFHVVLQJ FDUG FKDUJHV WKURXJK WKH PHUFKDQW DFFRXQWV RI VKHOO FRPSDQLHV OLNH
   WKRVHXVHGE\WKH(QWHUSULVHV
                 0HUFKDQWVZKRSRVHDKHLJKWHQHGULVNRIIUDXGWRWKHFDUGQHWZRUNV
   DUH VXEMHFW WR FORVHU VFUXWLQ\ E\ WKHLU PHUFKDQW SURFHVVRUV DQG PD\ KDYH WKHLU
   DFFHVVWRWKHFDUGQHWZRUNVFDSSHGRUWHUPLQDWHGDOWRJHWKHU
                 2QHVLJQRISRWHQWLDOLOOLFLWDFWLYLW\E\DPHUFKDQWLVWKHJHQHUDWLRQRI
   DQ H[FHVVLYH QXPEHU RI WUDQVDFWLRQV ZKLFK KDYH WR EH UHIXQGHG WR FRQVXPHUV
         ³FKDUJHEDFNV´ 
                 &RQVXPHUV LQLWLDWH ³FKDUJHEDFNV´ ZKHQ WKH\ GLVSXWH FDUG FKDUJHV
         PRVW RIWHQ EHFDXVH RI IUDXG RU XQDXWKRUL]HG XVH  E\ FRQWDFWLQJ WKHLU ³LVVXLQJ
   EDQN´ ZKLFK LV WKH EDQN WKDW LVVXHG WKH FUHGLW FDUG WR WKH FRQVXPHU  :KHQ D
   FRQVXPHUVXFFHVVIXOO\GLVSXWHVWKHFKDUJHWKHFRQVXPHU¶VLVVXLQJEDQNFUHGLWVWKH
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    FRQVXPHU¶V FDUG IRU WKH GLVSXWHG DPRXQW DQG WKHQ UHFRYHUV WKH FKDUJHEDFN
    DPRXQWIURPWKHPHUFKDQWSURFHVVRU7KHPHUFKDQWSURFHVVRULQWXUQFROOHFWVWKH
    FKDUJHEDFN DPRXQW IURP WKH EDQN DFFRXQW RI LWV PHUFKDQW FOLHQW  ,Q WKLV FDVH
    PHUFKDQW SURFHVVRUV ZRXOG VHHN WR FROOHFW FKDUJHEDFNV IURP WKH (QWHUSULVHV¶
    :HOOV)DUJRDFFRXQWV
                ,Q RUGHU WR GHWHFW DQG SUHYHQW LOOHJDO IUDXGXOHQW RU XQDXWKRUL]HG
    PHUFKDQW DFWLYLW\ WKH FDUG QHWZRUNV RSHUDWH YDULRXV FKDUJHEDFN PRQLWRULQJ DQG
    IUDXGPRQLWRULQJSURJUDPV7KHVHFKDUJHEDFNPRQLWRULQJSURJUDPVDUHGHVLJQHG
    WRIODJPHUFKDQWDFFRXQWVZLWKH[FHVVLYHFKDUJHEDFNUDWLRVRUDQH[FHVVLYHQXPEHU
   RI FKDUJHEDFNV  )RU H[DPSOH LI D PHUFKDQW DFFRXQW KDV FKDUJHEDFN OHYHOV WKDW
   H[FHHGWKHWKUHVKROGVVHWE\9,6$¶VFKDUJHEDFNPRQLWRULQJSURJUDPWKHPHUFKDQW
   LVVXEMHFWWRDGGLWLRQDOPRQLWRULQJUHTXLUHPHQWVDQGLQVRPHFDVHVSHQDOWLHVDQG
   WHUPLQDWLRQ
               &UHGLW FDUG ODXQGHULQJ LV FRPPRQO\ XVHG E\ PHUFKDQWV ZKR FDQQRW
   PHHWDPHUFKDQWSURFHVVRU¶VXQGHUZULWLQJFULWHULDRUZKRFDQQRWREWDLQPHUFKDQW
   DFFRXQWVXQGHUWKHLURZQQDPHV ZKHWKHUEHFDXVHRIDSULRUKLVWRU\RIH[FHVVLYH
   FKDUJHEDFNVFRPSODLQWVXVHRIVDOHVRULQGXVWU\SUDFWLFHVSURKLELWHGE\PHUFKDQW
   SURFHVVRUVRURWKHUVLJQVRILOOHJDODFWLYLW\ 7RFRQFHDOWKHLULGHQWLWLHVPHUFKDQWV
   ZKLFKDUHHQJDJHGLQIUDXGZLOORIWHQFUHDWHVKHOOFRPSDQLHVWRDFWDVIURQWVDQG
   DSSO\IRUPHUFKDQWDFFRXQWVXQGHUWKHQDPHVRIWKHVHVKHOOFRPSDQLHV2QFHWKH
   VKHOOPHUFKDQWDFFRXQWVDUHDSSURYHGWKHIUDXGXOHQWPHUFKDQWVWKHQODXQGHUWKHLU
   RZQWUDQVDFWLRQVWKURXJKWKHVKHOOFRPSDQLHV¶PHUFKDQWDFFRXQWV7KLVDOORZVWKH
   PHUFKDQWV WR FLUFXPYHQW FDUG DVVRFLDWLRQV¶ RQERDUGLQJ DQG PRQLWRULQJ SURJUDPV
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               :KHQ D PHUFKDQW LV WHUPLQDWHG RU LI LW KDV D KLJKULVN DFFRXQW RU
   H[FHVVLYH FKDUJHEDFNV LWV QDPH DQG WKDW RI WKH PHUFKDQW¶V RZQHU  LV SXW RQ D
   EODFNOLVW ZKLFK LV RIWHQ UHIHUUHG WR DV WKH ³0$7&+´ OLVW ³0HUFKDQW $OHUW 7R
   &RQWURO +LJK5LVN´  DV D WHUPLQDWHG PHUFKDQW ILOH ³70)´   2WKHU UHDVRQV IRU
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    EHLQJ OLVWHG DV D WHUPLQDWHG PHUFKDQW ILOH LQFOXGH PHUFKDQW FROOXVLRQ IUDXG DQG
    PRQH\ ODXQGHULQJ  0HUFKDQW SURFHVVRUV XVH WKH 0$7&+ OLVW WR VFUHHQ SRWHQWLDO
    PHUFKDQW FOLHQWV DQG PHUFKDQWV RQ WKH OLVW DUH RIWHQ XQDEOH WR RSHQ DQ DFFRXQW
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                )RU FUHGLW FDUG ODXQGHULQJ WR EH HIIHFWLYH ORQJWHUP DQG RQ D ODUJH
    VFDOH WKHQ D PHUFKDQW QHHGV DFFHVV WR D UHDG\ VXSSO\ RI PHUFKDQW SURFHVVLQJ
    DFFRXQWV VR WKDW WKH PHUFKDQWV FDQ PRYH VDOHV IURP RQH VKHOO FRPSDQ\ WR D
    QHZO\FUHDWHGVKHOOFRPSDQ\RQFHWKHSURILWVKDYHEHHQUHDSHGDQGWKHFKDUJHEDFN
    UDWHV RU RWKHU ³UHG IODJV´ KDYH DWWUDFWHG DWWHQWLRQ  $Q DEVROXWH SUHUHTXLVLWH WR D
   PHUFKDQW SURFHVVLQJ DFFRXQW LV D EDQN DFFRXQW LQ D VKHOO FRPSDQ\¶V QDPH
   /XFNLO\ IRU $SH[ DQG 7ULDQJOH DQG XQOXFNLO\ IRU FRQVXPHUV  :HOOV )DUJR ZDV
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               (QWLWLHVDVVRFLDWHGZLWKWKH7ULDQJOHDQG$SH[(QWHUSULVHVVKRZHGXS
   DJDLQDQGDJDLQRQWKH0$7&+OLVWGXULQJWKH5HOHYDQW3HULRGEHFDXVHWKH\ZHUH
   IODJJHGDVKLJKULVNDQGRUURXWLQHO\KDGKLJKFDUGFKDUJHEDFNV
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   7KH 7ULDQJOH DQG $SH[ (QWLWLHV¶ FKDUJHEDFN UDWHV ZHUH DVWURQRPLFDO ZLWK ERWK
   DQGDYHUDJLQJRYHURQDPRQWKO\EDVLVZLWKVRPHPRQWKVKDYLQJFKDUJHEDFN
   UDWHVRIRUKLJKHU7KHPHUFKDQWSURFHVVRUVZRXOGW\SLFDOO\FDQFHODFFRXQWV
   ZKHQFKDUJHEDFNVH[FHHGHGRIVDOHV²DUHJXODURFFXUUHQFHIRUWKH $SH[DQG
   7ULDQJOH(QWLWLHV
               0HUFKDQW SURFHVVRUV ZRXOG QRW GHDO ZLWK UHSHDW RIIHQGHUV OLNH WKH
   $SH[DQG7ULDQJOHSULQFLSDOV7RJHWDURXQGWKHPHUFKDQWSURFHVVRUV¶UHVWULFWLRQV
   $SH[DQG7ULDQJOH¶VRZQHUVKLGWKHLUFRQQHFWLRQWRWKHIUDXGXOHQWEXVLQHVVHV DQG
   WKHKLJKFKDUJHEDFNUDWHVWKDWWKH\JHQHUDWHG E\FUHDWLQJSKRQ\VKHOOFRPSDQLHV
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          ZKLFKWKH\VRPHWLPHVUHIHUUHGWRDV³IURQWV´RU³QRPLQHHV´RU³VLJQRUV´ WRDFWDV
    WKH ³RZQHUV´ RI WKH VKHOO FRPSDQLHV  7KHVH VWUDZ RZQHUV ZHUH LQGLYLGXDOV ZKR
    ZRXOGDFWDVWKH³IURQW´IRUDVKHOOFRPSDQ\RIWHQLQH[FKDQJHIRUDSD\PHQWRI
    DERXWSHUPRQWKW\SLFDOO\7KH(QWHUSULVHVZRXOGRUFKHVWUDWHWKHIRUPDWLRQ
    RI WKH VKHOO FRPSDQLHV WKH RSHQLQJ RI WKH QHFHVVDU\ :HOOV )DUJR EDQN DFFRXQWV
    DQGWKHFRPSOHWLRQRIDSSOLFDWLRQVIRUPHUFKDQWSURFHVVLQJLQWKHVKHOOFRPSDQLHV¶
    QDPHV:KHQWKHPHUFKDQWSURFHVVRULQHYLWDEO\WHUPLQDWHGSURFHVVLQJIRUDVKHOO
    FRPSDQ\ W\SLFDOO\ GXH WR H[FHVVLYH FKDUJHEDFNV  WKH $SH[ DQG 7ULDQJOH
   (QWHUSULVHV ZRXOG XVH D QHZ QRPLQHH WR IRUP DQRWKHU VKHOO FRPSDQ\ DQG UHVWDUW
   WKHZKROHSURFHVV5LQVHDQGUHSHDW
                 )RU WKH VFKHPH WR ZRUN WKH VKHOO FRPSDQLHV QHHGHG WR EH DEOH WR
   HVWDEOLVK GHSRVLWRU\ DFFRXQWV ZLWK DQ DFWXDO EDQN  :LWKRXW EDQN DFFRXQWV
   PHUFKDQW SURFHVVLQJ FRXOG QRW EH DFTXLUHG DQG ZLWKRXW EDQN DFFRXQWV WKH VKHOO
   FRPSDQLHVZRXOGKDYHQRZKHUHWRWUDQVIHUWKHIXQGVWKH\WRRNIURPFRQVXPHUV
                 (QWHU :HOOV )DUJR  :HOOV )DUJR¶V HPSOR\HHV JODGO\ KHOSHG WKH
   (QWHUSULVHVVHWXSEDQNDFFRXQWVIRUWKHVKHOOFRPSDQLHVDQGUHDGLO\SURYLGHGWKHP
   ZLWK EDQN UHIHUHQFH OHWWHUV ZKLFK WKH VKHOO FRPSDQLHV RIWHQ QHHGHG WR VHFXUH
   PHUFKDQW SURFHVVLQJ VHUYLFHV  0HUFKDQW SURFHVVRUV ZRXOG QHYHU KDYH SURYLGHG
   PHUFKDQW SURFHVVLQJ IRU WKH VKHOO FRPSDQLHV KDG WKH\ NQRZQ WKH LGHQWLW\ RI WKH
   HQWLWLHV¶WUXHRZQHUV $SH[DQG7ULDQJOH¶VSULQFLSDOV 
                 :KHQ PHUFKDQW SURFHVVRUV FKDUJHG FRQVXPHUV¶ FDUGV IRU $SH[ RU
   7ULDQJOHSURGXFWVWKHWUDQVDFWLRQVZHUHSURFHVVHGWKURXJKDFFRXQWVVHFXUHGLQWKH
   QDPHV RI WKH VKHOO FRPSDQLHV  7KH FRQVXPHU SD\PHQWV ZRXOG WKHQ EH VHQW WR
   DFFRXQWV DW :HOOV )DUJR ZKLFK QRPLQDOO\ EHORQJHG WR WKH VKHOO FRPSDQLHV EXW
   ZKLFK ZHUH DFWXDOO\ FRQWUROOHG E\ WKH RZQHUV RI WKH $SH[ DQG 7ULDQJOH
   (QWHUSULVHV  $V GLVFXVVHG EHORZ :HOOV )DUJR ZDV ZHOO DZDUH RI WKH VKHOO
   FRPSDQLHV¶WUXHRZQHUVKLS\HWFRQWLQXHGWRDVVLVWWKH(QWHUSULVHVLQWKHLUFUHDWLRQ
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                )URP DW OHDVW  WKURXJK  IRU WKH $SH[ (QWHUSULVH DQG 
    WKURXJKIRUWKH7ULDQJOH(QWHUSULVH:HOOV)DUJRSURYLGHGYLWDODFFHVVWRWKH
    HQDEOH WKH (QWHUSULVHV WR RSHQ DSSUR[LPDWHO\  $SH[ DQG 7ULDQJOH VKHOO EDQN
    DFFRXQWV WR DFFHSW IUDXGXOHQWO\REWDLQHG SD\PHQWV IURP FRQVXPHUV  $V GHWDLOHG
    KHUHLQ :HOOV )DUJR NQHZ RI WKLV VFKHPH FRXQVHOHG WKH (QWHUSULVHV¶ SULQFLSDOV
    DQGKHOSHGWKHPKLGHWKHWUXHRZQHUVKLSRIWKHDFFRXQWV
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               :HOOV )DUJR EDQNHUV LQ &DOLIRUQLD UHJXODUO\ DQG UHSHDWHGO\ KHOSHG
   $SH[H[HFXWLYHVDGYDQFHWKHLUFUHGLWFDUGODXQGHULQJVFKHPHLQDQXPEHURIZD\V
   :HOOV )DUJR EDQNHUV OLNH 'RPLQLF 7HVWD :HVWODNH 9LOODJH %UDQFK  GHYHORSHG
   ORQJWHUP EXVLQHVV UHODWLRQVKLSV ZLWK $SH[¶V SULQFLSDOV 3HLNRV &R2ZQHU 
   %DUQHWW &R2ZQHU  DQG 5DXO &DPDFKR ³&DPDFKR´ $SH[ &KLHI )LQDQFLDO
   2IILFHU 7HVWDDQGRWKHU:HOOV)DUJREDQNHUVZHUHDEOHWRNHHS²DQGJURZ²WKH
   %DQN¶V EXVLQHVV ZLWK $SH[ EHFDXVH :HOOV )DUJR ZDV ZLOOLQJ WR ZDGH LQWR WKH
   PXFNLQZD\VWKDWRWKHUEDQNVZRXOGQRW
               $VHDUO\DV:HOOV)DUJRZDVKHOSLQJ$SH[H[HFXWLYHVWRRSHQ
   DQG DOVR FORVH DFFRXQWV IRU GR]HQV DQG GR]HQV RI VKHOO FRPSDQLHV RZQHG DQG
   FRQWUROOHG E\ $SH[ RZQHUV 3HLNRV DQG %DUQHWW  :HOOV )DUJR DQG LQ SDUWLFXODU
   EDQNHU 7HVWD NQHZ WKDW 3HLNRV DQG %DUQHWW ZHUH XVLQJ WKHVH VKHOO FRPSDQLHV WR
   UXQ KLJKULVN LQWHUQHW VDOHV RSHUDWLRQV WKDW ELONHG FRQVXPHUV RXW RI PLOOLRQV RI
   GROODUV  $W WKH VDPH WLPH :HOOV )DUJR KDG YLVLELOLW\ LQWR WKH KLJK QXPEHU RI
   FKDUJHEDFN UHIXQGV WKDW ZHUH EHLQJ ZLWKGUDZQ IURP WKH VKHOO FRPSDQLHV¶ :HOOV
   )DUJRDFFRXQWVWRUHSD\WKHDODUPLQJO\KLJKSURSRUWLRQRIFRQVXPHUVZKRGLVSXWHG
   WKHFKDUJHV
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   FRQWDFW SRLQW  &DPDFKR ZDV DOVR RIWHQ OLVWHG DV WKH ³RZQHU´ RI WKH :HOOV )DUJR
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    DFFRXQWV7HVWDRSHQHGIRUWKHVKHOOFRPSDQLHVDOWKRXJK7HVWDZDVDFXWHO\DZDUH
    WKDW3HLNRVDQG%DUQHWWZHUHWKHWUXHRZQHUVRI$SH[DQGWKHVKHOOFRPSDQ\EDQN
    DFFRXQWV±DQG&DPDFKRWRRNGLUHFWLRQVIURPWKHP7HVWDDQGRWKHU:HOOV)DUJR
    EDQNHUV DOVR UHDGLO\ SURYLGHG SUL]HG DQRQ\PRXV EDQN UHIHUHQFH OHWWHUV IRU WKH
    VKHOO FRPSDQ\ DFFRXQWV ZKLFK $SH[ WKHQ XVHG WR VXSSRUW PHUFKDQW SURFHVVLQJ
    DSSOLFDWLRQV E\ WKH VKHOO FRPSDQLHV  :LWKRXW :HOOV )DUJR¶V LPSULPDWXU WKHVH
    VKHOO FRPSDQLHV ZRXOG QRW KDYH EHHQ DEOH WR VHFXUH WKH HVVHQWLDO PHUFKDQW
    SURFHVVLQJ DFFRXQWV  )XUWKHU ZLWKRXW :HOOV )DUJR¶V FRQWLQXDOO\ SURYLGLQJ
    DW\SLFDO EDQN VHUYLFHV IRU $SH[UHODWHG VKHOO FRPSDQLHV LQ D KRVW RI ZD\V WKH
   $SH[IUDXGXOHQWHQWHUSULVHZRXOGQRWKDYHEHHQDEOHWRH[LVW
               7KH $SH[ (QWHUSULVH JHQHUDWHG PLOOLRQV RI GROODUV LQ UHYHQXHV²
   PRQH\WKDWOHIWWKHVKHOOFRPSDQLHV¶DFFRXQWVDOPRVWDVVRRQDVLWKLWWKHP7KRVH
   IXQGV ZHQW VWUDLJKW LQWR WKH ODXQGHULQJ FKXWH ZKHUH 3HLNRV DQG %DUQHWW XVHG WKH
   :HOOV )DUJR DFFRXQWV WR FOHDQ WKH PRQH\ WUDQVIHUULQJ WKH IXQGV LQWR H[WHUQDO
   SHUVRQDODQGWKLUGSDUW\DFFRXQWVWRZKLFKWKH\KDGDFFHVV
               7KHVXFFHVVRI$SH[¶VIUDXGXOHQWVFKHPHZDVE\QRPHDQVLQHYLWDEOH
   :HOOV )DUJR LQ SDUWLFXODU ZDV LQ D UDUH SRVLWLRQ WR VWRS WKH IUDXG YHU\ HDUO\ RQ
   0RUHRYHULWKDGDQREOLJDWLRQWRGRVRSXUVXDQWWRDKRVWRIEDQNLQJUHJXODWLRQV
   DQGODZV%XWLWQHYHUGLG
               ,QVWHDG :HOOV )DUJR DFWLYHO\ DVVLVWHG WKH $SH[ (QWHUSULVH E\
   HVWDEOLVKLQJ GR]HQV XSRQ GR]HQV  RI EDQN DFFRXQWV IRU WKH (QWHUSULVHV¶ VKHOO
   FRPSDQLHV SURYLGLQJ WKH FRUUHVSRQGLQJ EDQN UHIHUHQFH OHWWHUV IRU WKRVH VKHOO
   FRPSDQLHVDOORZLQJ$SH[¶VSULQFLSDOVWR³ZDVK´WKHGLUW\SURFHHGVRIWKHLUIUDXG
   E\ WUDQVIHUULQJ IXQGV WKURXJK WKHLU :HOOV )DUJR DFFRXQWV DQG RWKHUZLVH
   SHUIRUPLQJ DW\SLFDO EDQNLQJ VHUYLFHV IRU WKHVH IUDXGXOHQW (QWHUSULVHV  7KURXJK
   WKLVDQGRWKHUFRQGXFWFRXSOHGZLWKWKHLULQWHQWLRQDOO\OD[RYHUVLJKW:HOOV)DUJR
   IORXWHG VWDQGDUG EDQNLQJ SUDFWLFHV DQG LQ WKH SURFHVV YLRODWHG WKH %DQN 6HFUHF\
   $FW DQWLPRQH\ ODXQGHULQJ ³$0/´  ODZV DQG WKH %DQN¶V RZQ LQWHUQDO SROLFLHV
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    DQG SURFHGXUHV DV WKH\ ZHUH ZULWWHQ DV D UHVXOW :HOOV )DUJR¶V FRQGXFW FDXVHG
    KXQGUHGV RI PLOOLRQV RI GROODUV LQ KDUP WR FRQVXPHUV DQG WR WKH 5HFHLYHUVKLS
    (QWLWLHV
               'XULQJWKH5HOHYDQW3HULRGWKH$SH[SULQFLSDOVGHDOWSULPDULO\ZLWK
    :HOOV)DUJREDQNHUVDWD6DQ'LHJREUDQFKDQGDWWKH:HVWODNH9LOODJH%UDQFKLQ
    WKH/RV$QJHOHVDUHDWKRXJKRWKHUEUDQFKHVDQGEDQNHUVDVVLVWHGWKHIUDXG)RU
    LQVWDQFH:HOOV)DUJR¶V:RRGODQG+LOOVRIILFHRSHQHGDWOHDVWVHYHQDFFRXQWVIRU
    DQRQ\PRXV:\RPLQJ//&VWKDWZHUHSDUWRIWKH$SH[(QWHUSULVHDQGFORVHGIRXU
    RIWKRVHDFFRXQWVRQFHWKHDVVRFLDWHGVKHOOFRPSDQLHVORVWWKHLUDFFHVVWRPHUFKDQW
   SURFHVVLQJVHUYLFHV i.e.WKHDELOLW\WRFKDUJHFRQVXPHUV¶FUHGLWFDUGV 
              2QLQIRUPDWLRQDQGEHOLHIWKH:HOOV)DUJREDQNHUVDWWKH6DQ'LHJR
   %UDQFK WKH :HVWODNH 9LOODJH %UDQFK DQG WKH :RRGODQG +LOOV %UDQFK MXVW OLNH
   QXPHURXV RWKHU :HOOV )DUJR &RPPXQLW\ %DQN EUDQFKHV GXULQJ WKH 5HOHYDQW
   3HULRG ZHUH RSHUDWLQJ XQGHU LQWHQWLRQDOO\ GHILFLHQW EDQN SUDFWLFHV DQG SROLFLHV
   HIIHFWHG E\ WKH PRVW VHQLRU H[HFXWLYHV DW :HOOV )DUJR  7KRVH SUDFWLFHV DQG
   SROLFLHV IHDWXUHG D UHFNOHVV TXRWD V\VWHP WKDW LPSURSHUO\ SUHVVXUHG DQG
   LQFHQWLYL]HG:HOOV)DUJRHPSOR\HHVWRSURYLGHDW\SLFDOEDQNLQJVHUYLFHVEHQGWKH
   UXOHV DQG HYHQ FRPPLW IUDXG ZKHQ SHUIRUPLQJ ZKDW VKRXOG KDYH EHHQ URXWLQH
   EXVLQHVVWDVNV
                         L    7KH6DQ'LHJR%UDQFK
              ,Q WKH :HOOV )DUJR EUDQFK ORFDWHG DW )LUVW DQG 0DUNHW 6WUHHW LQ
   GRZQWRZQ 6DQ 'LHJR WKH ³6DQ 'LHJR %UDQFK´  VHYHUDO EDQNHUV RIWHQ
   FROODERUDWLQJ ZLWK RQH DQRWKHU DV ZHOO DV ZLWK $SH[ SULQFLSDOV NQRZLQJO\
   IDFLOLWDWHG$SH[¶VIUDXGIRUWKHLURZQ²DQG:HOOV)DUJR¶V²ILQDQFLDOJDLQ
              $SH[¶V UHODWLRQVKLS ZLWK WKH 6DQ 'LHJR %UDQFK EHJDQ LQ -DQXDU\
    ZKHQ RQ WZR VHSDUDWH GD\V %DUQHWW ZDONHG LQWR WKH EUDQFK ZLWK IRUPDWLRQ
   GRFXPHQWV IRU HLJKW :\RPLQJ //&V DQG DVNHG WR RSHQ EDQN DFFRXQWV LQ HDFK
   //&¶VQDPH%DUQHWWKDGQRKLVWRU\ZLWKWKHEDQNKHZDVDZDONLQRIIWKHVWUHHW
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    7KH //& GRFXPHQWV WKDW %DUQHWW SUHVHQWHG WR WKH EUDQFK ZHUH DOVR VXVSHFW ZLWK
    QXPHURXVLQGLFLDRIIUDXGWKH\ZHUHQHDUO\LGHQWLFDOZLWKHDFKRIWKH//&VEDVHG
    LQ:\RPLQJ ZKLFKDOORZVIRUWKHFUHDWLRQRI//&VZLWKRXWLGHQWLILFDWLRQRIWKH
    SULQFLSDOV HIIHFWLYHO\ DQRQ\PL]LQJ WKH HQWLWLHV  HDFK KDYLQJ WKH VDPH :\RPLQJ
    PDLO GURSDV LWV EXVLQHVV DGGUHVV DQG HDFK KDYLQJEHHQ IRUPHGRQ WKHVDPH GD\
    IRXUPRQWKVHDUOLHU
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    GXULQJ WKH 5HOHYDQW 3HULRG WDXJKW KRZ DQG ZK\ DQRQ\PRXV //& DFFRXQWV ZLWK
    VKDUHGDGGUHVVHV HVSHFLDOO\DVKDUHG:\RPLQJPDLOGURS DUHXVHGWRFDPRXIODJH
   RZQHUVKLSDQGIXUWKHUIUDXGV6XFKEDVLF$0/WUDLQLQJDOHUWHGEDQNHUVWRORRNIRU
   WUDQVDFWLRQV ZLWK RWKHU LQWHUQDO DFFRXQWV LQ RUGHU WR LGHQWLI\ XQGLVFORVHG
   UHODWLRQVKLSV  7KH FLUFXPVWDQFHV UHTXLUHG WKDW DOO RI WKH $SH[ DFFRXQWV EH
   HYDOXDWHGWRJHWKHUZLWKEDQNHUVORRNLQJIRUVLPLODULWLHVDQGSDWWHUQVRIDFWLYLW\WKDW
   LQGLFDWHIUDXG
              8QGHU PDQ\ EDQNV¶ SROLFLHV D FXVWRPHU ZKR SURYLGHG WKH VDPH
   :\RPLQJ PDLO GURS DGGUHVV IRU PXOWLSOH DSSOLFDWLRQV ZRXOG KDYH KDG WKRVH
   DSSOLFDWLRQVIXUWKHUUHYLHZHGDQGWKHQUHMHFWHGIRUIDLOLQJWRVDWLVI\EDQNFXVWRPHU
   LGHQWLILFDWLRQ UHTXLUHPHQWV  $W D PLQLPXP DQG SHU LQGXVWU\ SUDFWLFH DGGLWLRQDO
   IROORZXS E\ :HOOV )DUJR ZDV UHTXLUHG  $ EDQN IROORZLQJ WKH UHTXLVLWH GXH
   GLOLJHQFH FRQVLVWHQW ZLWK LQGXVWU\ SUDFWLFH ZRXOG QRW KDYH SHUPLWWHG WKHVH
   DFFRXQWVWREHRSHQHG
              %XWWKH:HOOV)DUJREDQNHUGLGQ¶WDVNTXHVWLRQV,QVWHDGWKHEDQNHU
   SURPSWO\ FRPSOHWHG HLJKW LGHQWLFDO²JHQHULF²DSSOLFDWLRQV IRU :HOOV )DUJR
   DFFRXQWVIRUWKHVKHOOFRPSDQLHV(DFKRIWKHDFFRXQWVZHUHIXQGHGZLWKPLQLPDO
   RSHQLQJGHSRVLWV JHQHUDOO\ZKLFKZDVWKHPLQLPXP DPRXQWQHFHVVDU\IRU
   WKH EDQNHU WR JHW VDOHV TXRWD FUHGLW IRU RSHQLQJ WKH DFFRXQW  DQG HDFK RI WKH
   DFFRXQWDSSOLFDWLRQVSURMHFWHGDQQXDOJURVVVDOHVRI
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    EDQNHU DQG :HOOV )DUJR  :KLOH PRVW EDQNV ZRXOG KDYH UHIXVHG WR RSHQ WKH
    DFFRXQWV RU DW OHDVW FRQGXFWHG PRUH GLOLJHQFH :HOOV )DUJR MXVW RSHQHG WKH
    DFFRXQWV$QGQRWMXVWHLJKWDFFRXQWV7KHEDQNHURSHQHGVL[WHHQDFFRXQWVZKHQ
    XQSURPSWHGVKHRSHQHGDVDYLQJVDFFRXQWIRUHDFKRIWKHHLJKWFKHFNLQJDFFRXQWV
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    SHUVSHFWLYHEXWWKH\ZHUHQHYHUWKHOHVVYDOXDEOHWR:HOOV)DUJR¶VEDQNHUVEHFDXVH
    WKH\ FRXQWHG WRZDUGV WKH H[WUHPH VDOHV TXRWDV WKDW :HOOV )DUJR SXW LQ SODFH
   0XFKODWHUXSRQDUHTXHVWWRFORVHVRPHDFFRXQWVE\3HLNRV7HVWDFRQILUPHGWKDW
   WKH³>VDYLQJV@DFFRXQWVUHDOO\KDYHQRSXUSRVHDQGFDQEHVKXWGRZQ«´
               $IWHUKLVLQLWLDOVXFFHVVLQHVWDEOLVKLQJWKHVKHOOFRPSDQ\DFFRXQWVDW
   :HOOV)DUJR%DUQHWWUHWXUQHGWRWKHVDPHEUDQFKWKUHH PRUHWLPHVRYHUWKHQH[W
   VHYHQ PRQWKV 0DUFK $XJXVW DQG 6HSWHPEHU  RSHQLQJ  PRUH EXVLQHVV EDQN
   DFFRXQWVIRUPRUHDQRQ\PRXV:\RPLQJ//&V(DFKRIWKHVHVKHOOFRPSDQ\
   EDQNDFFRXQWDSSOLFDWLRQVKDGWKHVDPHLQGLFLDRIIUDXGDVWKHILUVWEDWFKLQFOXGLQJ
   DQRQ\PRXV SULQFLSDOV VLPLODU GHSRVLW DQG DQWLFLSDWHG UHYHQXHV LQIRUPDWLRQ DQG
   WKH VDPH :\RPLQJ PDLO GURS DGGUHVV  (DFK WLPH :HOOV )DUJR FRQGXFWHG QR
   LQYHVWLJDWLRQLQVWHDGUXEEHUVWDPSLQJWKHQHZDFFRXQWV:KHQQHFHVVDU\:HOOV
   )DUJR DOVR FORVHG DFFRXQWV WKDW $SH[ KDG EXUQHG GXH WR HJUHJLRXVO\ KLJK
   FKDUJHEDFNUDWHV
               )RUWKHVHODWHUDSSOLFDWLRQV:HOOV)DUJRKDGWKHEHQHILWRIEHLQJDEOH
   WR UHYLHZ WKH DFWLYLW\ LQ WKH SULRU $SH[ VKHOO FRPSDQLHV¶ EDQN DFFRXQWV  $FURVV
   WKH DFFRXQWV WKH VDPH SDWWHUQ RI DFWLYLW\ UHDSSHDUHG DIWHU PLOOLRQV RI GROODUV LQ
   FRQVXPHUFKDUJHVZHUHGHSRVLWHGLQWRWKHDFFRXQWV ZKLFKKDGSURMHFWHGVDOHVRI
    RQ WKHLU DSSOLFDWLRQV  H[WUDRUGLQDULO\ KLJK FKDUJHEDFNV ZRXOG IROORZ  ,Q
   VRPH PRQWKO\ :HOOV )DUJR DFFRXQW VWDWHPHQWV WKH FKDUJHEDFN UDWHV IRU WKHVH
   FRPSDQLHVH[FHHGHGDQG
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    FRPSDQLHVGXHWRWKHVHKLJKFKDUJHEDFNUDWHVZKLFKFDXVHGPHUFKDQWSURFHVVRUV
    WR FHDVH GRLQJ EXVLQHVV ZLWK WKH VKHOOV EHFDXVH 3HLNRV DQG %DUQHWW ZHUH DOVR
    UHJXODUO\DVNLQJ:HOOV)DUJRWRFORVHROGDFFRXQWVIRUVKHOOFRPSDQLHVWKDWFRXOG
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    ZDUQHGWKDWWKHVHHQWLWLHVDUHRQHRIWKHPRVWZLGHO\XVHGYHKLFOHVLQODXQGHULQJRI
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    RZQHUVRI//&VEHIRUHDOORZLQJWKHPDFFHVVWREDQNDFFRXQWV²DQGZHUHIXUWKHU
    UHTXLUHG WR GRFXPHQW WKH UHVXOWV RI WKDW GLOLJHQFH FRUUHFWO\ LQ WKH EDQN¶V ILOHV LQ
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   VSHFLILFUHTXHVWWRUHLVVXHJHQHULFQRQDPHOHWWHUVWRUHODWHGDQRQ\PRXV//&V
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   FRXOG HDVLO\ FRQFHDO WKH LGHQWLWLHV RI LWV EODFNOLVWHG RZQHUV IURP PHUFKDQW
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    )DUJR ZHUH DPRQJ WKH PDQ\ $SH[ FXVWRPHUV UHTXHVWLQJ VXFK FKDUJHEDFNV RQ
    WKHLUFUHGLWFDUGV:HOOV)DUJR¶VRZQFXVWRPHUVHYHQPDGHFRQVXPHUFRPSODLQWV
    DERXWWKH³ULVNIUHH´WULDOVFKHPHVWRWKH%HWWHU%XVLQHVV%XUHDX
             :HOOV )DUJR GHOLEHUDWHO\ RYHUORRNHG WKLV HDUO\ DQG REYLRXV
    DEHUUDWLRQDO DFWLYLW\ LQ WKH $SH[ VKHOO FRPSDQ\ DFFRXQWV  +DG HYHQ PLQLPDO
    LQYHVWLJDWLRQ XQGHU VWDQGDUG EDQNLQJ SURFHGXUHV EHHQ FRQGXFWHG ZLWK VXFK
    REYLRXVUHGIODJV±DV:HOOV)DUJRZDVUHTXLUHGWRGR±WKHFRQVXPHUORVVHVFRXOG
   KDYH EHHQ VWDXQFKHG DOPRVW LPPHGLDWHO\ :HOOV )DUJR WRRN D GLIIHUHQW SDWK
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   KDGHVWDEOLVKHGLQKDGEHHQRSHQIRUILIWHHQPRQWKVPRVWZHUHLQDFWLYHDIWHU
   KDYLQJUHFHLYHG DQGWKHQKDYLQJWUDQVIHUUHGRXW PLOOLRQVRIGROODUVRIFRQVXPHU
   IXQGVHYHQDFFRXQWLQJIRUVWDJJHULQJFRQVXPHUFKDUJHEDFNV7KHVHFKDUJHEDFNV
   ZKLFKUDQWKURXJKWKH:HOOV)DUJRDFFRXQWVKDGUHVXOWHGLQQHDUO\DOORIWKHVKHOO
   FRPSDQLHV EHLQJ WHUPLQDWHG E\ WKHLU PHUFKDQW SURFHVVRUV  ,Q VSLWH RI DOO WKLV
   :HOOV)DUJRZDVVWLOODQ[LRXVWRH[SDQGLWVEXVLQHVVZLWK$SH[
            %HJLQQLQJ LQ HDUO\  $SH[ EHJDQ WR XVH /RV $QJHOHV &RXQW\
   :HOOV )DUJR EUDQFKHV DQG LWV SULQFLSDOV GHYHORSHG UHODWLRQVKLSV ZLWK WKH :HOOV
   )DUJR EDQNHUV DW D /RV $QJHOHV &RXQW\ RIILFH ORFDWHG LQ :HVWODNH 9LOODJH WKH
   ³:HVWODNH9LOODJH%UDQFK´ /LNHWKHEDQNHUVDWWKH6DQ'LHJR%UDQFKWKH:HOOV
   )DUJR EDQNHUV DW WKH :HVWODNH 9LOODJH %UDQFK ZHUH KDSS\ WR IDFLOLWDWH $SH[¶V
   RQJRLQJFRQVXPHUIUDXGDQGFDUGODXQGHULQJDFWLYLWLHVLQH[FKDQJHIRUDUHYHQXH
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    ERRVWDQGDVVLVWDQFHKLWWLQJVDOHVTXRWDV²HYHQLIWKDWPHDQWDVVLVWLQJDIUDXGDQG
    GHOLEHUDWHO\WXUQLQJDEOLQGH\HWRFRQGXFWWKDWDQ\EDQNHUZRXOGKDYHUHFRJQL]HG
    DVEHDULQJQXPHURXVLQGLFLDRIIUDXG
             'DYLG +DQQLJ ³+DQQLJ´  ZDV DQ $VVLVWDQW 9LFH 3UHVLGHQW DQG 6U
    %XVLQHVV 6DOHV &RQVXOWDQW IRU :HOOV )DUJR 0HUFKDQW 6HUYLFHV  2Q LQIRUPDWLRQ
    DQG EHOLHI +DQQLJ ZDV EDVHG RXW RI WKH /RV $QJHOHV DUHD EXW ZRUNHG UHJXODUO\
    ZLWKDQXPEHURIEUDQFKHVLQFOXGLQJWKH:HVWODNH9LOODJH%UDQFKZKHUHKHKHOG
    PHHWLQJVZLWK$SH[SHUVRQQHODQG:HOOV)DUJRFXVWRPHUV
             'RPLQLF7HVWD ³7HVWD´ ZDVD%XVLQHVV%DQNLQJ6SHFLDOLVWIRU:HOOV
   )DUJR DW WKH :HVWODNH 9LOODJH %UDQFK  2Q LQIRUPDWLRQ DQG EHOLHI +DQQLJ DQG
   7HVWD KDG D FORVH ZRUNLQJ UHODWLRQVKLS ZLWK HDFK RWKHU DQG FRPPXQLFDWHG
   IUHTXHQWO\DERXWKRZWKH\FRXOGH[SDQG:HOOV)DUJR¶VEXVLQHVVZLWKDQGVHOOQHZ
   EDQNSURGXFWVWRWKH$SH[(QWHUSULVH
            7KH :HVWODNH 9LOODJH %UDQFK ZDV ORFDWHG QHDUE\ $SH[¶V RIILFH LQ
   :RRGODQG +LOOV &DOLIRUQLD  :HOOV )DUJR EDQNHU 7HVWD ZKR ZDV SDUW RI :HOOV
   )DUJR¶V &RPPXQLW\ %DQN GLYLVLRQ ZDV DEOH WR GHYHORS DQG VXVWDLQ D ORQJWHUP
   DQGRQJRLQJEXVLQHVVUHODWLRQVKLSZLWKWKH$SH[(QWHUSULVH+HZDVSDUWLFXODUO\
   IULHQGO\ ZLWK $SH[¶V HPSOR\HH DQG &)2 &DPDFKR ZKR RIWHQ UHIHUUHG WR 7HVWD
   ZLWKQLFNQDPHVOLNH³EXG´$V7HVWDNQHZ&DPDFKRZDVVLPSO\DQHPSOR\HHRI
   $SH[DQGZDVQRWWKHWUXH³RZQHU´RIDQ\DFFRXQWLQKLVQDPH7HVWDNQHZWKDW
   &DPDFKRZDVWDNLQJKLVLQVWUXFWLRQVGLUHFWO\IURP3HLNRVZKRZDVWKHWUXHRZQHU
   DQG FRQWUROOHU RI $SH[  7HVWD DOVR NQHZ WKDW &DPDFKR ZDV RQO\DQ ³RZQHU´ RQ
   SDSHURIWKHDFFRXQWVDQGVKHOOFRPSDQLHVKHOGLQKLVQDPH
            7HVWD¶V LQWHUDFWLRQV ZLWK 3HLNRV DQG &DPDFKR PDGH LW FOHDU IURP
   HDUO\RQWKDW3HLNRVZDVWKHERVV$VMXVWRQHH[DPSOHRQ$SULO7HVWD
   HPDLOHG3HLNRVDERXWRSHQLQJ³QHZDFFRXQWVIRU\RX´7HVWDQRWHG³,¶PDVVXPLQJ
   \RX¶OOEHXVLQJ:\RPLQJOLNH\RXURWKHU//&V´DQGUHTXHVWHGWKHGRFXPHQWDWLRQ
   DQGLGHQWLILFDWLRQRIWKH³RZQHU´3HLNRVUHVSRQGHGWKDW&DPDFKRDQGQRW3HLNRV
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    ZRXOG EH WKH ³RZQHU´ RI WKH //&V DQG WKH EDQN DFFRXQWV WKDW 3HLNRV ZDV
    LQVWUXFWLQJ7HVWDWRVHWXS³6RZHDUHFOHDU>&DPDFKR@ZLOOEHWKHRZQHU
    RQWKHVHDFFRXQWVDQG,ZLOOKDYHDFFHVVOLNHWKHFXUUHQWRQHVZHUHVHWXS´7KH
    ³FXUUHQWRQHV´3HLNRVZDVUHIHUULQJWRZHUHWKHURXJKO\VKHOOFRPSDQ\DFFRXQWV
    WKDW%DUQHWWKDGRSHQHGLQ6DQ'LHJRZKLFKZHUHO\LQJPRVWO\XQXVHGDWWKDWSRLQW
    EHFDXVH WKH\ KDG ORVW DFFHVV WR PHUFKDQW SURFHVVLQJ VHUYLFHV DV D UHVXOW RI WKHLU
    H[WUDRUGLQDULO\KLJKFRQVXPHU FKDUJHEDFNUDWHV7HVWDWROG3HLNRVWKDWKHZRXOG
    SXWDIHHZDLYHURQWKHDFFRXQWVIRUWKHQH[WWKUHHPRQWKVDQGUHFRPPHQGHGWKDW
    3HLNRV³>N@HHSLQFRQWDFWZLWKPHRQZKHQWKH\VKRXOGEHFORVHGDQG,FDQGRLW
   RYHUWKHSKRQH´
             'XULQJ WKLV VDPH WLPH +DQQLJ LQ FRRUGLQDWLRQ ZLWK 7HVWD
   HQFRXUDJHG WKH $SH[ (QWHUSULVH WR DSSO\ IRU PHUFKDQW SURFHVVLQJ ZLWK :HOOV
   )DUJR$SH[HPSOR\HH&KULV&DUUPHWZLWK+DQQLJDQGLGHQWLILHGVKHOOFRPSDQLHV
   DQGSURGXFWVIRUZKLFK$SH[ZDQWHGWRREWDLQPHUFKDQWSURFHVVLQJVHUYLFHV
             :HOOV )DUJR UHTXLUHV PHUFKDQW DFFRXQW DSSOLFDQWV WR XQGHUJR DQ
   XQGHUZULWLQJ SURFHVV LQWHQGHG WR HQVXUH WKH DSSOLFDQW LV D OHJLWLPDWH DQG
   FUHGLWZRUWK\ EXVLQHVV DQG WR ZHHG RXW PHUFKDQWV HQJDJHG LQ LOOHJDO FRQGXFW DQG
   UHTXLUHG WKH OHJLWLPDF\ RI WKH EXVLQHVV EH YHULILHGYDOLGDWHG $Q\ PDWHULDO
   GLVFUHSDQFLHVPXVWEHGRFXPHQWHGLQYHVWLJDWHGDQGUHVROYHGDQGWKHVRXUFHRIWKH
   YHULILFDWLRQ VKRXOG EH LQ WKH PHUFKDQW ILOH  7KH %DQN IRUELG WKH VROLFLWDWLRQ RI
   PHUFKDQWV HQJDJHG LQ FHUWDLQ XQDFFHSWDEOH EXVLQHVV SUDFWLFHV EHFDXVH WKH\ ZHUH
   SUHVXPSWLYHO\ LOOHJDO YLRODWHG FDUG DVVRFLDWLRQ UXOHV RU FUHDWHG H[FHVVLYH ULVN
   H[SRVXUHIRUWKH%DQN
             6HYHUDO GD\V DIWHU WKHLU LQSHUVRQ PHHWLQJ RQ $SULO   &DUU
   IROORZHG XS ZLWK DQ HPDLO WR +DQQLJ FRQWDLQLQJ LQIRUPDWLRQ IRU WZR VKHOO
   FRPSDQLHV  7KLV RSHQHG D VWULQJ RI HPDLOV EHWZHHQ WKH WZR LQ UDSLG VXFFHVVLRQ
   ZLWKHPDLOVEHLQJH[FKDQJHGRIWHQOLWHUDOPLQXWHVDSDUW&DUUZURWH³+HUHLVVRPH
   LQIRUPDWLRQRQWKHFRUSVDQG85/VWKDWZHZDQWHGWROHDGRIIZLWK3OHDVHOHW
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    XVNQRZLI\RXUHTXLUHDGGLWLRQDOLQIRUPDWLRQWR3UHILOOWKHVHDSSVIRUXV:HDUH
    HDJHUWRJHWVWDUWHG VRDVVRRQDV\RXFDQVHQGXVWKHSDSHUZRUNZH ZLOOWXUQLW
    DURXQGZLWKDQ\DGGLWLRQDOGRFXPHQWDWLRQ\RXUHTXLUH7KDQNV´&DUULGHQWLILHG
    $UWXUR 2OLYHURV DQG -XOLD %XHQURVWUR DV WKH ³RZQHUV´ RI VKHOO FRPSDQLHV $OSKD
    *URXS //& DQG &UHVW &DSLWDO //& UHVSHFWLYHO\ ERWK RI ZKLFK KDG WKH VDPH
    :\RPLQJ PDLO GURS OLVWHG DV WKHLU EXVLQHVV DGGUHVV  &DUU OLVWHG WKH VKHOO
    FRPSDQLHV¶ EXVLQHVVHV DV ³VXSSOHPHQW>V@´ DQG ³KHDOWK SOXV´ UHVSHFWLYHO\ DQG
    LQFOXGHG OLQNV WR WKH FRPSDQLHV¶ ZHEVLWHV ZZZYLULOLW\PXVFOHFRP DQG
    ZZZHYHUPD[ERG\FRP
            +DQQLJ UHYLHZHG WKH PDWHULDO DQG OLQNHG ZHEVLWHV DQG TXLFNO\
   UHVSRQGHG LGHQWLI\LQJ FUXFLDO DQG IXQGDPHQWDO GLVFUHSDQFLHV LQ WKH LQIRUPDWLRQ
   $SH[SURYLGHG
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                 7KHERWWRPRIWKHZHEVLWHVVKRZGLIIHUHQW//&¶VWKHQZKDWLV
                   OLVWHG EHORZ 7KDW ZLOO QHHG WR EH FKDQJHG WR WKH EHORZ OLVWHG
                 //&¶VRQWKHZHEVLWHVEHIRUH,FDQHYHQVWDUWWKHSURFHVVThe
                   people you listed below are not owners on the Wells Fargo
                 bank account that you gave us. They must be owners of the
                   business in order to use their name on the merchant accounts.
                 The address also does not match up to what is on the website.
                   (YHU\WKLQJ QHHGV WR EH PDWFKHG XS RQ WKH DFFRXQWV RU WKH
                 DSSOLFDWLRQVZRQ¶WQRWSDVVWKHVXEPLVVLRQSURFHVV
                 7KDQN\RX
                 'DYLG+DQQLJ
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            &DUUTXLFNO\UHSOLHGFODLPLQJWRKDYHFRUUHFWHGWKHLVVXHV
                 'DYLG
                 7KDQNVIRU\RXUUHSO\7KHFRPSDQ\QDPHVDQGDGGUHVVHVKDYH
                   EHHQXSGDWHGRQWKHZHEVLWHV
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                   7KH :HEVLWHV MXVW KDG WKH SURGXFW QDPH LQ WKH IRRWHU DV D
                 SODFHKROGHUXQWLOZHJRWDOORIWKHGRFVLQRUGHU
                 Arturo Oliveros and Julia Buenrostro are owners of the
                   entities listed
  
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                     KHQDPHVFFKDQJHGVRRWKDWZLOOZ
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                              wners. Coordinate w   with Domin  nic [Testaa] on how  w to get
              this uppdated. Heere is whatt we have llisted on th
                                                                he bank acccounts:
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              %XVLQHHVV6DOHV&
                              &RQVXOWDQW
            :HOOV)DUJR0HUUFKDQW6HUY YLFHV
              
              (PSK
                   KDVLV$GGHHG 
             7KHLUUHJX
                             XODULWLHV+DDQQLJLGHQQWLILHGZHUHHWURXEOLQJJSDUWLFXODDUO\VLQFH
   DV +DQQLJ NQHZ
                 N      $SHH[ KDG DOUHHDG\ RSHQQHG DQG LLQ DOPRVW HYHU\ FDVHH EXUQHG
   WKUURXJK  URX
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                                                   ZLWK :HOOOV )DUJR LQQ ZKLFK P
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   GROODUV KDG IORZHG
                   I       WKUURXJK  $S
                                         SH[¶V H[FXXVHV DQG VVFUDPEOH WRR DOWHU ZHHEVLWH DQG
   SUR
       RGXFW LQIRUPDWLRQ RQ
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                                         R     UHLQIRRUFHG ZKDDW +DQQLJ DOUHDG\ NQQHZ WR EH
   WUX
       XHWKDWWKH ³RZQHUV´RIWKHVKHOOFRPSDQLLHVZHUHRZ
                                                           ZQHUVLQQDDPHRQO\
             %XW PRVW WURXEOLQJ ZHUH WKH GLVFUHSDQFFLHV LQ LQIIRUPDWLRQ UHJDUGLQJ
   WKHH NH\ LVVXH RI WKH EHQHILFLDO
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    DFFRXQWVRSHQHGE\$SH[SULQFLSDO%DUQHWWD\HDUHDUOLHULQ6DQ'LHJR:KHQKH
    RSHQHG WKH DFFRXQWV %DUQHWW FODLPHG WR EH WKH VROH RZQHU RI WKH FRPSDQLHV DQG
    SUHVHQWHG DQRQ\PRXV :\RPLQJ //& GRFXPHQWV DQG WKH VDPH PDLOGURS DGGUHVV
    IRUWKHVHVKHOOFRPSDQLHV
             %\$SULORIZKHQ+DQQLJIODJJHGWKHLVVXHVWKHDFFRXQWVKDG
    EHHQRSHQIRUPRQWKVDQGKDGWDNHQLQPRUHWKDQDTXDUWHURIDPLOOLRQGROODUV
    LQ FRQVXPHU SD\PHQWV IURP PHUFKDQW SURFHVVRU GHSRVLWV  %XW +DQQLJ ZDV QRZ
    EHLQJWROGWKDWWKHDFFRXQWKROGHU%DUQHWWGLGQRWLQIDFWRZQWKHVKHOOFRPSDQLHV
   ±DQGWZRSHRSOH 2OLYHURVDQG%XHQURVWUR ZKRZHUHQRWOLVWHGRQWKRVH:HOOV
   )DUJREDQNDFFRXQWVRULGHQWLILHGLQDQ\:HOOV)DUJREDQNUHFRUGVGLG
            6XFKLQIRUPDWLRQZDVDQREYLRXVLQGLFDWLRQWKDW$SH[ZDVHQJDJHGLQ
   FUHGLW FDUG ODXQGHULQJ E\ OLVWLQJ RZQHUV RQ PHUFKDQW DFFRXQW DSSOLFDWLRQV IRU DQ
   DQRQ\PRXV//&WKXVREVFXULQJWKHLGHQWLW\RIWKHWUXHRZQHUV
            $SH[¶V QH[W UHVSRQVH VHQW MXVW  PLQXWHV ODWHU VKRXOG KDYH EHHQ
   HYHQPRUHDODUPLQJWR+DQQLJDQG7HVWD5DWKHUWKDQ³XSGDWLQJ´WKHLQIRUPDWLRQ
   $SH[LQVWHDGFKDQJHGFRXUVHDQGWROG:HOOV)DUJRWKH\KDGGHFLGHGWRXVHLQVWHDG
   QHZDQRQ\PRXV:\RPLQJ//&VVXSSRVHGO\QRZ³RZQHG´E\&DPDFKRWRDSSO\
   IRUWKHPHUFKDQWDFFRXQWV7KHQHZVKHOOFRPSDQLHVVKDUHG DVGLGHYHU\RQHRI
   WKH$SH[VKHOOFRPSDQLHV WKHVDPH:\RPLQJPDLOGURSDGGUHVV
           )URP&KULV&DUU>PDLOWRFKULV#DSH[FDSLWDOJUSFRP@
             6HQW7XHVGD\$SULO30
           7R+DQQLJ'DYLG
             &F5DXO$3KLOOLS3HLNRV7HVWD'RPLQLF-
           6XEMHFW5H,QIRUPDWLRQIRU1HZ0,'V
           ,VHH\RXDUHFRUUHFW7KRVHDFFRXQWVDUHLQGHHGLQ'DYLG%DUQHWW V
             QDPH2QUHYLHZZHGHFLGHGWKDWZHZRXOGOLNHWRUXQWKRVHWZR
           ZHEVLWHV WKURXJK WKHVH QHZ FRUSV WKDW ZH MXVW VHW XS  7KH\ DUH
             RZQHGE\RXU&)25DXO&DPDFKR>@
  
           5DXOZLOOFRPHLQWRPRUURZDQGRSHQEDQNDFFRXQWVDW\RXUEUDQFK
             (,1 QXPEHUV DUH IRUWKFRPLQJ  :HEVLWHV KDYH EHHQ XSGDWHG  6RUU\
           IRU DOO WKH FKDQJHV  :LOO \RX EH LQ WRPRUURZ WR KHOS XV VHW XS WKH
                                                                       &DVH1RBBBBBBBBBBB
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             DFFRXQWV"
             7KDQNV&KULV
              (PSKDVLV$GGHG 
              7KH UHVSRQVH RI +DQQLJ ZKR ZDV VSHFLILFDOO\ VHHNLQJ WR SURYLGH
    merchant banking IRU $SH[ ZDV SUREOHPDWLF  +H VLPSO\ VXJJHVWHG $SH[
    FRRUGLQDWHZLWKWKHEDQNWRJHWWKHRZQHUVKLS³XSGDWHG´1RWDEO\+DQQLJGLGQRW
    FRS\WKHDFWXDODFFRXQWKROGHU%DUQHWWRQDQ\RIWKLVFRUUHVSRQGHQFH
           +DQQLJ¶V FXUVRU\ UHYLHZ KDG LPPHGLDWHO\ LGHQWLILHG IXQGDPHQWDOO\
    LQFRQVLVWHQW LQIRUPDWLRQ DERXW WKH //&V¶ RZQHUVKLS WKH RZQHUVKLS RI WKH EDQN
   DFFRXQWV DQG GLVFUHSDQFLHV EHWZHHQ WKH ZHEVLWHV DQG WKH SURGXFWV ZKLFK $SH[
   ZDV KRSLQJ WR VHOO RQ WKHP  +H KDG SRLQWHG RXW WKDW WKH LUUHJXODULWLHV DQG
   GLVFUHSDQFLHV ZRXOG FDXVH WKH PHUFKDQW DSSOLFDWLRQV KH ZDQWHG WR SUHVHQW RQ
   $SH[¶V EHKDOI WR EH UHMHFWHG  $V D PHUFKDQW EDQNHU +DQQLJ NQHZ WKDW WKH
   GLVFUHSDQFLHVLQWKHRZQHUVFRXSOHGZLWKWKHXVHRIDQRQ\PRXV:\RPLQJ//&V
   DQG WKH SDWWHUQ RI EXUQLQJ WKURXJK WKH //&V¶ EDQN DFFRXQWV ZHUH LQGLFDWLYH RI
   IUDXG
             ,QVWHDG RI GRLQJ ZKDW KH VKRXOG KDYH GRQH XQGHU VWDQGDUG EDQNLQJ
   SURFHGXUHV ± e.g. UHIXVH WR VXEPLW WKH VKHOO DFFRXQW¶V PHUFKDQW SURFHVVLQJ
   DSSOLFDWLRQV DVN TXHVWLRQV DQG GHPDQG DQVZHUV DERXW WKH WURXEOLQJ DQG
   LQFRQVLVWHQWLQIRUPDWLRQEHLQJUHYHDOHGDQGFRPPXQLFDWHKLVFRQFHUQVDQGUHSRUW
   VXVSLFLRXV DFWLYLW\ WKURXJK :HOOV )DUJR¶V HVWDEOLVKHG FKDQQHOV² +DQQLJVLPSO\
   GLUHFWHG $SH[ RQ KRZ WR FKDQJH LWV SDSHUZRUN VR WKH DSSOLFDWLRQV ZRXOG QRW EH
   IODJJHG DOORZLQJ KLP WR SRWHQWLDOO\ SDG KLV VDOHV QXPEHUV DQG WKH EDQN LWVHOI WR
   H[SDQGLWVEDQNLQJUHODWLRQVKLSZLWKWKHIUDXGXOHQW$SH[(QWHUSULVH
         'XULQJ WKH \HDUV ZKHQ WKH $SH[ IUDXG ZDV LQ IXOO EORRP RQ
   LQIRUPDWLRQ DQG EHOLHI VXFK DJJUHVVLYH VDOHV WDFWLFV ZHUH UHZDUGHG ZLWKLQ :HOOV
   )DUJR¶V PLVDOLJQHG FRPSHQVDWLRQ V\VWHP  +DQQLJ KLPVHOI ZDV UHFRJQL]HG DV D
   :HOOV )DUJR ³6DOHV 6WDU´ ZLQQLQJ WKDW DZDUG LQ     DQG
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    HPSOR\HHVLQDQG
             +DQQLJ ZDV QRW WKH RQO\ :HOOV )DUJR EDQNHU WR DGYDQFH $SH[¶V
    RQJRLQJ IUDXG KRZHYHU  ,Q OLJKW RI :HOOV )DUJR¶V SHUQLFLRXV VDOHV FXOWXUH DQG
    PLVDOLJQHGFRPSHQVDWLRQV\VWHPWKLVW\SHRIHPSOR\HHPLVFRQGXFWUHSHDWHGLWVHOI
    DJDLQDQGDJDLQDFURVV:HOOV)DUJREDQNHUVDQGEUDQFKHV,QGHHGDVUHFHQWO\DV
    -DQXDU\   WKH 2&& UHFRJQL]HG ³>W@KH %DQN WROHUDWHG SHUYDVLYH VDOHV
    SUDFWLFHV PLVFRQGXFW DV DQ DFFHSWDEOH VLGH HIIHFW RI WKH &RPPXQLW\ %DQN¶V
    SURILWDEOH VDOHV PRGHO DQG GHFOLQHG WR LPSOHPHQW HIIHFWLYH FRQWUROV WR FDWFK
   V\VWHPLFPLVFRQGXFW,QVWHDGWRDYRLGXSVHWWLQJDILQDQFLDOO\SURILWDEOHEXVLQHVV
   PRGHO VHQLRU H[HFXWLYHV«WXUQHG D EOLQG H\H WR LOOHJDO DQG LPSURSHU conduct
   across the entire Community Bank´ (PSKDVLVDGGHG 
            $SH[¶V ODVWPLQXWH SLYRW WR WKH WZR QHZ FRUSRUDWLRQV WKH\ KDG ³MXVW
   VHW XS´ IRU PHUFKDQW SURFHVVLQJ DQG ZKLFK ZHUH QRZ VXSSRVHGO\ ³RZQHG´ E\
   $SH[ HPSOR\HH &DPDFKR QHFHVVLWDWHG JHWWLQJ QHZ :HOOV )DUJR EDQN DFFRXQWV
   RSHQHG EHIRUH WKH PHUFKDQW DFFRXQW DSSOLFDWLRQ FRXOG EH FRPSOHWHG  7HVWD ZDV
   PRUHWKDQKDSS\WRREOLJH:KHQ&DPDFKRVHQW7HVWDGRFXPHQWVIRURQHRIWKH
   QHZ//&V ZLWKD:\RPLQJRSHUDWLQJDJUHHPHQWVLJQHGWKDWVDPHGD\$SULO
     7HVWD UHSOLHG WKDW WKH GRFXPHQWV ZHUH ³SHUIHFW´ DQG WKH DFFRXQWV ZHUH
   SURPSWO\RSHQHG
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   PHUFKDQW SURFHVVLQJ DSSOLFDWLRQ WR +DQQLJ OLVWLQJ &DPDFKR DV WKH ³RZQHU´ DQG
   OLVWLQJ WKH :\RPLQJ PDLO GURS DV WKH DGGUHVV  %XW RQ $SULO   +DQQLJ
   LQIRUPHG$SH[WKDWKLJKHUXSVDW:HOOV)DUJRKDGUHMHFWHGWKHDSSOLFDWLRQDVKH
   KDG UHFHLYHG D ³GHFOLQH HPDLO GXH WR DQ XQTXDOLILHG EXVLQHVV PRGHO IRU :HOOV
   )DUJR:HWULHGWKDQN\RXIRUFRQVLGHULQJXV´
            ,QUHVSRQVHWRTXHVWLRQVIURP$SH[+DQQLJVDLGWKHDSSOLFDWLRQZDV
   UHMHFWHGEHFDXVHWKHFRPSDQLHVZHUHVHOOLQJVXSSOHPHQWV,QRWKHUZRUGVGHVSLWH
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    FDWHJRUL]HG WKH VKHOO FRPSDQLHV DV KLJKULVN EXVLQHVVHV ZLWK ZKLFK WKH\ GLG QRW
    ZDQW D UHODWLRQVKLS  7KH %DQN¶V PHUFKDQW GLYLVLRQ ZDV XQZLOOLQJ WR WDNH RQ WKH
    ULVNRISURFHVVLQJIRUWKHVH FRPSDQLHVUHFRJQL]LQJWKDWWKH\ZHUHLQ DQLQGXVWU\
    ULIHZLWKFRQVXPHUGHFHSWLRQDQGWKHUHZDVWKHSRWHQWLDOIRUKLJKFKDUJHEDFNVDQG
    ORVVHVfor Wells FargoFDXVHGE\IUDXGXOHQWDFWLYLW\
             2I FRXUVH :HOOV )DUJR ZDV VWLOO SHUIHFWO\ ZLOOLQJ WR FRQWLQXH
    VHUYLFLQJ WKH IUDXGXOHQW //&V DW WKH EUDQFK OHYHO DQG RSHQLQJ EDQN DFFRXQWV IRU
   DGGLWLRQDOVKHOOFRPSDQLHVZKLOHOHWWLQJother PHUFKDQWSURFHVVRUV ZKRKDGOHVV
   LQVLJKW LQWR $SH[¶V LOOHJLWLPDF\ DQG QR LQVLJKW LQWR LWV REIXVFDWHG SHUIRUPDQFH
   KLVWRU\ DQG RZQHUVKLS OHJHUGHPDLQ DQG ZKR ZRXOG EH UHDVVXUHG E\ WKH IDFW WKDW
   :HOOV)DUJRKDGDSSURYHGWKHPIRUEDQNDFFRXQWV WDNHRQWKDWULVN±DQGZKLOH
   DOORZLQJ $SH[ WR GHFHLYH PRUH XQVXVSHFWLQJ FRQVXPHUV LQFOXGLQJ HYHQ :HOOV
   )DUJR¶VRZQFUHGLWFDUGKROGHUV ZLWKWKHOXUHRI³IUHHWULDO´SURGXFWV
            .QRZLQJ ZKDW LW GLG :HOOV )DUJR ZDV OHJDOO\ UHTXLUHG WR WDNH D
   QXPEHU RI VWHSV LQFOXGLQJ FRQGXFWLQJ D IXUWKHU LQYHVWLJDWLRQ LQWR WKH $SH[
   (QWHUSULVH HYDOXDWLQJ SDWWHUQV RI PLVFRQGXFW DQG VXVSLFLRXV DFWLYLW\ DFURVV WKH
   HQWLUH $SH[ UHODWLRQVKLS WHUPLQDWLQJ WKH %DQN¶V UHODWLRQVKLS ZLWK $SH[ LWV
   SULQFLSDOV DQG LWV DVVRFLDWHG VKHOO FRPSDQLHV DQGRU IROORZLQJ WKH :HOOV )DUJR
   HVWDEOLVKHG SURFHGXUHV IRU UHSRUWLQJ WKH VXVSLFLRXV DFWLYLW\ ERWK LQWHUQDOO\ DQG
   H[WHUQDOO\
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   DQG ORRNLQJ IRU JURZWK RSSRUWXQLWLHV ZLWK $SH[  7KURXJK 7HVWD :HOOV )DUJR
   FRQWLQXHGWRRSHQQXPHURXVVKHOOFRPSDQ\DFFRXQWVIRU$SH[6LPLODUO\+DQQLJ
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    DFWLYH DQG SHQGLQJ ³0,'¶V´ PHUFKDQW SURFHVVLQJ DFFRXQWV  WR +DQQLJ 7KH
    VSUHDGVKHHW OLVWHG PRUH WKDQ  //&V ZLWK EDQN DFFRXQWV DW :HOOV )DUJR DORQJ
    ZLWKWKHLUFRUUHVSRQGLQJDFFRXQWVDWYDULRXVPHUFKDQWSURFHVVRUV$VZDVWKHFDVH
    ZKHQ +DQQLJ KDG LGHQWLILHG DQG IODJJHG WKH FHQWUDO LVVXH PRQWKV HDUOLHU the
    purported owners of the LLCs were not the Wells Fargo account holders.  7KH
    VSUHDGVKHHW PDGH LW DEVROXWHO\ FOHDU WKDW DW D PLQLPXP $SH[ ZDV HQJDJHG LQ
    ODUJHVFDOHFUHGLWFDUGODXQGHULQJDQGZDVXVLQJVKHOOFRPSDQLHVDQGVWUDZRZQHUV
    WR VHFXUH PHUFKDQW SURFHVVLQJ VHUYLFHV²VRPHWKLQJ DQ\ EDQNHU LQ +DQQLJ¶V
    SRVLWLRQZRXOGKDYHLPPHGLDWHO\UHFRJQL]HGSDUWLFXODUO\EHFDXVHRIWKHLQFLGHQW
   VRPHPRQWKVHDUOLHU
            :LWKLQ PLQXWHV &DPDFKR UHFRJQL]HG WKDW KH GLG QRW ZDQW WKDW
   VSUHDGVKHHWLQWKH%DQN¶VILOHV+HZURWHWR+DQQLJDVNLQJKLPWR³>S@OHDVHGHOHWH
   $6$3´ DQG DGGLQJ WKDW KH ³ZRXOG JUHDWO\ DSSUHFLDWH LI \RX FDQ NHHS WKH
   LQIRUPDWLRQ FRQILGHQWLDO´  &DPDFKR FRQFOXGHG WKH HPDLO E\ DVNLQJ +DQQLJ WR
   FRQILUPZLWKKLPRQFHWKHHPDLOKDGEHHQGHOHWHG
            +DQQLJ SURPSWO\ UHSOLHG ³'HOHWHG´  2Q LQIRUPDWLRQ DQG EHOLHI
   +DQQLJ¶VSURPSWGHOHWLRQRIWKLVHPDLODQGDWWDFKPHQWIURP:HOOV)DUJRUHFRUGV
   YLRODWHG ERWK %DQN SROLF\ DQG WKH ODZ  $V DQ H[HFXWLYH DW :HOOV )DUJR +DQQLJ
   KDG D GXW\ XQGHU D QXPEHU RI IHGHUDO ODZV WR LQYHVWLJDWH DQG UHSRUW $SH[¶V
   VXVSLFLRXVDFWLYLWLHV7KRVHREOLJDWLRQVGLGQRWGLVDSSHDUMXVWEHFDXVHDFXVWRPHU
   DVNHGWKDW+DQQLJGHOHWHDQHPDLO
            7KH VSUHDGVKHHW ZDV QRW VHQW WR +DQQLJ LQ D YDFXXP  %RWK KH DQG
   7HVWDNQHZH[DFWO\ZKRWKLVYHU\KLJKULVNFXVWRPHUZDV7KH\ZHUHDOOWRRDZDUH
   RI$SH[¶VKLVWRU\RIKLGLQJWKHWUXHRZQHUVRIWKHDQRQ\PRXVVKHOOFRPSDQLHVWKH\
   FUHDWHG±DQGWKH\KDGHYHQKHOSHG$SH[WRPDVNWKHVHEHQHILFLDORZQHUVKLSLVVXHV
   DQGVDQLWL]HLWVPHUFKDQWSURFHVVLQJDSSOLFDWLRQDW:HOOV)DUJR+DQQLJDQG7HVWD
   DOVR NQHZ WKDW :HOOV )DUJR KDG DQDO\]HG $SH[¶V KLJKULVN EXVLQHVV HDUOLHU WKDW
   \HDUDQGKDGGHFOLQHGWRSURYLGHPHUFKDQWSURFHVVLQJVHUYLFHVWRLW,QOLJKWRIWKH
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    DERYH RQ LQIRUPDWLRQ DQG EHOLHI WKH GHOHWLRQ RI &DPDFKR¶V HPDLO DQG IDLOXUH WR
    WDNH VWHSV WR UHSRUW WKH VXVSLFLRXV DFWLRQV ZHUH GHOLEHUDWH HIIRUWV WR DLG DQG DEHW
    $SH[¶VIUDXG
              1RWZLWKVWDQGLQJLWVNQRZOHGJHRIREYLRXVIUDXG:HOOV)DUJRDQGWKH
    :HVWODNH 9LOODJH %UDQFK FRQWLQXHG WR RSHQ EDQN DFFRXQWV IRU $SH[ VKHOO
    FRPSDQLHVWKURXJKRXWDQGWKHQHZDFFRXQWVRQO\VWRSSHG
    ZKHQWKH)7&ILOHGLWVODZVXLWDJDLQVW$SH[,Q&DPDFKRRSHQHGPRUH
    :HOOV )DUJR DFFRXQWV IRU  DQRQ\PRXV VKHOO FRPSDQLHV  ,Q  &DPDFKR
    RSHQHG VL[ DFFRXQWV IRU VL[ VKHOO FRPSDQLHV LQ   DFFRXQWV IRU  VKHOO
   FRPSDQLHVDQGLQDFFRXQWVIRUVKHOOFRPSDQLHV,QWRWDO:HOOV)DUJR
   RSHQHGat leastEDQNDFFRXQWVIRUPRUHWKDQVKHOOFRPSDQLHVRYHUWKHFRXUVH
   RIMXVWIRXU\HDUV
             :KHQ RSHQLQJ DQG VHUYLFLQJ WKH DFFRXQWV :HOOV )DUJR EDQNHUV
   FRQWLQXHG WR SURYLGH DW\SLFDO EDQNLQJ VHUYLFHV DVNLQJ QR TXHVWLRQV DQG
   GHOLEHUDWHO\ LJQRULQJ $SH[¶V REYLRXV HIIRUWV WR ODXQGHU PRQH\ LW REWDLQHG
   RSHUDWLQJ LWV KLJKULVN IUDXGXOHQW EXVLQHVV WKURXJK DQRQ\PRXV VKHOO FRPSDQLHV
   IURQWHGE\VWUDZRZQHUV
             7KH SDWWHUQ ZDV FOHDU ± DQG RQO\ EHFDPH FOHDUHU ZLWK WLPH $SH[
   SULPDULO\ WKURXJK &DPDFKR ZRXOG SHULRGLFDOO\ UHTXHVW WKDW :HOOV )DUJR FORVH
   H[LVWLQJ VKHOO FRPSDQLHV¶ EDQN DFFRXQWV DIWHU WKRVH VKHOO FRPSDQLHV KDG EHHQ
   EODFNOLVWHG DQG ORVW WKHLU PHUFKDQW SURFHVVLQJ EHFDXVH RI WKH PDVVLYH OHYHOV RI
   FKDUJHEDFNV$WWKHVDPHWLPH&DPDFKRZRXOGUHTXHVW:HOOV)DUJRRSHQQHZ
   VKHOO FRPSDQ\ EDQN DFFRXQWV²RIWHQ VL[ QHZ EDQN DFFRXQWV DW D WLPH²RI ZKLFK
   &DPDFKRZRXOGEHWKH³RZQHU´,QWKLVZD\:HOOV)DUJR¶VFRQGXFWHQDEOHG$SH[
   WR F\FOH WKURXJK WKH EXUQHG VKHOO FRPSDQLHV DQG WKHLU DVVRFLDWHG EDQN DFFRXQWV
   EHIRUH FUHDWLQJ QHZ ³XQUHODWHG´ DQG DQRQ\PRXV //&V WR XVH WR GHIUDXG
   FRQVXPHUV
             $V ZDV WKH FDVH ZLWK WKH 6DQ 'LHJR %UDQFK WKH :HVWODNH 9LOODJH
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    %UDQFK YLD 7HVWD ZDV PRUH WKDQ ZLOOLQJ WR VXSSO\ QRQDPH UHIHUHQFH OHWWHUV IRU
    WKH VKHOO FRPSDQLHV  7HVWD SURYLGHG ODUJH WUDQFKHV RI UHIHUHQFH OHWWHUV URXWLQHO\
    LVVXLQJOHWWHUVDQGRQRQHRFFDVLRQOHWWHUVDWDWLPH+HZDVDOVRZLOOLQJWR
    YDU\ WKH IRUPDW DQG LQIRUPDWLRQ FRQWDLQHG LQ WKH UHIHUHQFH OHWWHUV EDVHG RQ
    UHTXHVWVPDGH&DPDFKR
             $FURVV PXOWLSOH EUDQFKHV DQG PXOWLSOH EDQNHUV EHWZHHQ  DQG
    :HOOV)DUJRDVVLVWHGWKH$SH[(QWHUSULVHE\RSHQLQJDFFRXQWDIWHUDFFRXQW
    DIWHU DFFRXQW IRU D KRVW RI VKHOO FRPSDQLHV  7KHVH VKHOO FRPSDQLHV ZHUH
    ³DQRQ\PRXV´ //&V EDVHG RXW RI :\RPLQJ WKRXJK WUXH WKHLU RZQHUV ZHUH QRW
   DQRQ\PRXV WR :HOOV )DUJR²:HOOV )DUJR ZDV ZHOO DZDUH WKDW DOO RI WKHVH
   FRPSDQLHV DQG DFFRXQWV ZHUH SDUW RI WKH $SH[ (QWHUSULVH RZQHG DQG FRQWUROOHG
   E\%DUQHWWDQG3HLNRV7KDWZDVFOHDUQRWRQO\EDVHGRQWKHIDFWWKDWFRUH$SH[
   SHUVRQQHOZHUHDOZD\VWKHRQHVRSHQLQJWKHDFFRXQWVDQGDOVRIURPWKHHPDLOWKDW
   &DPDFKR PLVWDNHQO\ VHQW WR +DQQLJ ZKLFK VSHOOHG RXW H[DFWO\ ZKDW $SH[ ZDV
   GRLQJ  <HW :HOOV )DUJR ZDV PRUH WKDQ KDSS\ WR NHHS DQG HYHQ SXUVXH $SH[¶V
   EXVLQHVVE\IDFLOLWDWLQJ$SH[¶VRQJRLQJIUDXG
           %    :HOOV)DUJR¶V6XSSRUWRIWKH7ULDQJOH(QWHUSULVH
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   WKH $SH[ (QWHUSULVH LW ZDV DOVR SURYLGLQJ WKRVH VDPH VHUYLFHV WR WKH 7ULDQJOH
   (QWHUSULVH ZKLFK ZDV DOVR UXQQLQJ ³IUHH WULDO´ VFDPV RXW RI 6RXWKHUQ &DOLIRUQLD
   DQGZKLFKZDVRSHUDWLQJXVLQJDEXVLQHVVPRGHOVWULNLQJO\VLPLODUWR$SH[¶V
            ,Q WKH FDVH RI 7ULDQJOH DV ZLWK $SH[ PXOWLSOH :HOOV )DUJR EDQNHUV
   DFURVVPXOWLSOHEUDQFKHVGHYHORSHGORQJWHUP DQGRQJRLQJEXVLQHVVUHODWLRQVKLSV
   ZLWK 7ULDQJOH¶V RZQHU DQG FRQWUROOHU %ULDQ 3KLOOLSV DV ZLWK $SH[ WKHVH :HOOV
   )DUJR EDQNHUV HDJHUO\ RSHQHG EDQN DFFRXQWV IRU D KRVW RI FRPSDQLHV WKDW WKH\
   NQHZZHUHVKHOOVEHLQJXVHGE\3KLOOLSV$QGDVZLWK$SH[:HOOV)DUJR¶VFOHDU
   H\HGVXSSRUWRIWKH7ULDQJOH(QWHUSULVHUHVXOWHGLQPLOOLRQVRIGROODUVLQFRQVXPHU
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                :HOOV )DUJR EHJDQ SURYLGLQJ VHUYLFHV WR 3KLOOLSV DQG 7ULDQJOH LQ DW
    OHDVW   ,Q DGGLWLRQ WR RSHQLQJ DQG FORVLQJ DFFRXQWV DQG H[HFXWLQJ UHIHUHQFH
    OHWWHUV IRU 3KLOOLSV DQG KLV VKHOO FRPSDQLHV :HOOV )DUJR DOVR SURYLGHG D KRVW RI
    RWKHU VHUYLFHV LQFOXGLQJ SD\UROO VHUYLFHV DQG WD[ UHWXUQ SUHSDUDWLRQ  ,Q HDFK
    LQVWDQFH :HOOV )DUJR WRRN LQVWUXFWLRQV IURP 3KLOOLSV DQG SURYLGHG LQIRUPDWLRQ
    GLUHFWO\WRKLPXQGHUVWDQGLQJWKDWKHZDVWKHRZQHUDQGFRQWUROOHURIDOO7ULDQJOH
    UHODWHGDFFRXQWVHYHQWKRXJKQXPHURXVRWKHUVZHUHOLVWHGDVWKH³RZQHUV´RIWKH
    DFFRXQWV  :HOOV )DUJR SURYLGHG WKHVH VHUYLFHV WR 3KLOOLSV DQG 7ULDQJOH HYHQ
   WKRXJK LW NQHZ WKDW WKRVH VHUYLFHV ZHUH D SUHUHTXLVLWH IRU PRQH\ ODXQGHULQJ DQG
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   ZLWK VWUDZ RZQHUV ZKLFK 7ULDQJOH JHQHUDOO\ UHIHUUHG WR DV ³QRPLQHHV´ WR NHHS
   WKHLU IUDXGXOHQW EXVLQHVVHV UXQQLQJ  3KLOOLSV UHFUXLWHG QRPLQHHV WR EH WKH
   ³RZQHUV´RIWKHVKHOOFRPSDQLHVE\RIIHULQJWKHPDPRQWKO\IHHVXFKDVSHU
   PRQWK IRU DOORZLQJ 3KLOOLSV WR XVH WKHLU QDPHV DQG LGHQWLWLHV WR HVWDEOLVK VKHOO
   FRPSDQLHV DQG DFFRPSDQ\LQJ EDQN DFFRXQWV DW :HOOV )DUJR  3KLOOLSV¶ RQO\
   UHTXLUHPHQWWRTXDOLI\ZDVWKDWWKHQRPLQHHVQRWEHEODFNOLVWHGRQWKH0$7&+OLVW
   DVDSUHYLRXVO\WHUPLQDWHGPHUFKDQW
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   QRPLQHHLQRUGHUWRVHFXUHWKH:HOOV)DUJREDQNDFFRXQWVQHHGHGWRFDUU\RXWWKH
   7ULDQJOH IUDXG  (DFK WLPH :HOOV )DUJR UXEEHUVWDPSHG WKH DSSOLFDWLRQV  )URP
   WKHUH3KLOOLSVXVHGWKHFRUSRUDWHGRFXPHQWVDQG:HOOV)DUJRDFFRXQWLQIRUPDWLRQ
         DORQJ ZLWK WKH HVVHQWLDO :HOOV )DUJR UHIHUHQFH OHWWHUV  WR REWDLQ PHUFKDQW
   SURFHVVLQJVHUYLFHVLQWKHQRPLQHH¶VQDPHZKLFKDOORZHGWKH7ULDQJOH(QWHUSULVH
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               1RQH RI WKLV ZRXOG KDYH EHHQ SRVVLEOH ZLWKRXW :HOOV )DUJR  (DFK
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    LPPHGLDWHDFFHVVDQGIXOOFRQWURODVD³FRVLJQHU´RIWKH:HOOV)DUJREDQNDFFRXQW
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    FRPSDQ\²LWV VXSSRVHG ³'DWD 6SHFLDOLVW´ ²D WUDQVSDUHQW HIIRUW XQGHUVWRRG E\
    :HOOV)DUJRWRPDVN3KLOOLSV¶WUXHRZQHUVKLSRIDOORIWKHVKHOOFRPSDQLHV:HOOV
    )DUJRDOZD\VDFFRPPRGDWHG³HPSOR\HH´3KLOOLSV¶UHTXHVWVZKLFKZDVQRWLQOLQH
    ZLWK EDQNLQJ SUDFWLFHV  $V D UHVXOW :HOOV )DUJR NQHZ WKDW 3KLOOLSV UHWDLQHG WKH
    XQIHWWHUHG DELOLW\ WR WUDQVIHU PRQH\ IURP D QRPLQHH¶V VKHOO DFFRXQW GLUHFWO\ LQWR
   WKHSULPDU\7ULDQJOH(QWHUSULVHDFFRXQWDW:HOOV)DUJRZKLFK:HOOV)DUJRNQHZ
   ZDVRZQHGE\3KLOOLSV
            7KH WURXEOLQJ SDWWHUQ UHSHDWHG LWVHOI DJDLQ DQG DJDLQ ZLWK 3KLOOLSV
   GULYLQJDOOFRPPXQLFDWLRQVZLWK:HOOV)DUJRIRUWKHQRPLQHHV1RWZLWKVWDQGLQJ
   NQRZQDEXVHRIEHQHILFLDORZQHUVKLSIRUWKHVHW\SHVRIKLJKULVNEXVLQHVVHVDQG
   PRXQWLQJHYLGHQFHWKDW3KLOOLSVZDVDFWLYHO\HQJDJHGLQVXFKDEXVH:HOOV)DUJR
   EDQNHUVKDSSLO\RSHQHGWKLVVWUHDPRIQHZDFFRXQWVLQWKHQDPHVRIQRPLQHHV LQ
   NHHSLQJZLWKLWVVDOHVFXOWXUHSUL]LQJJURZWKDERYHDOOHOVH $OOWKHZKLOH:HOOV
   )DUJR EDQNHUV FRQGXFWHG WKH PRVW PLQLPDO OHYHO RI GXH GLOLJHQFH LI DQ\ RQ WKH
   QRPLQHH ³RZQHUV´ ODUJHO\ UHO\LQJ RQ 3KLOOLSV¶ YRXFKLQJ IRU WKH QHZ QRPLQHH
   ³RZQHU´  3KLOOLSV KLPVHOI URXWLQHO\ ILOOHG RXW WKH IRUPV DQG JDWKHUHG DQG
   VXEPLWWHGWKHVLJQDWXUHVRIWKH³RZQHUV´WR:HOOV)DUJR,ID:HOOV)DUJREDQNHU
   UHTXHVWHG D FXUVRU\ SKRQH FDOO ZLWK WKH ³RZQHU´ EHIRUH RSHQLQJ DQ DFFRXQW
   3KLOOLSVDUUDQJHGLW,QWKHODWWHU\HDUVRIWKHIUDXG3KLOOLSVHYHQZDONHGQRPLQHHV
   LQWR WKH ORFDO EUDQFKHV DQG :HOOV )DUJR SURPSWO\ DFFHSWHG WKH SDSHUZRUN IURP
   WKHQHZ³RZQHUV´EHIRUHWXUQLQJDURXQGWRJLYH³HPSOR\HH´3KLOOLSVIXOOFRQWURODV
   WKH FRVLJQHU  7KLV DUUDQJHPHQW EHQHILWWHG :HOOV )DUJR DV ZHOO DV 7ULDQJOH DQG
   3KLOOLSV EHFDXVH LW JDYH :HOOV )DUJR DQ HDV\ ZD\ WR RSHQ QHZ DFFRXQWV LQ
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    DFFRXQW RSHQLQJ LI DW DOO :HOOV )DUJR WKHQ GHDOW WKHUHDIWHU ZLWK 3KLOOLSV
    XQGHUVWDQGLQJ KLP DV WKHLU FXVWRPHU DQG WKH DFWXDO RZQHU RI DOO RI WKH DFFRXQWV
    $W 3KLOOLSV¶ GLUHFWLRQ :HOOV )DUJR UHJXODUO\ VZHSW IXQGV LQ WKH VKHOO FRPSDQ\
    DFFRXQWVLQWR7ULDQJOH¶VSULPDU\EDQNDFFRXQWDW:HOOV)DUJR2QFHWUDQVIHUUHGWR
    7ULDQJOH¶V PDLQ DFFRXQW WKH IXQGV ZRXOG DOPRVW LPPHGLDWHO\ EH VHQW WR D
    &DQDGLDQ FRPSDQ\ RZQHG E\ 7ULDQJOH *OREDO 1RUWKHUQ DW D &DQDGLDQ EDQN ,Q
    WXUQ *OREDO 1RUWKHUQ ZRXOG IRUZDUG WKH IXQGV WR +DUGZLUH DFFRXQWV LQ +RQJ
    .RQJRU7KDLODQG+DUGZLUHZRXOGWKHQZLUHPRQH\EDFNWR7ULDQJOHLQWKH86
   WRFRYHUH[SHQVHVWRFRPSOHWHWKHODXQGHULQJRIWKHIXQGV
             )URPWKH YHU\VWDUW3KLOOLSVDQG7ULDQJOH¶VRIIVKRUHEDVHGSULQFLSDO
   'HYLQ.HHUUHOLHGXSRQ:HOOV)DUJRDVWKHEHVW DQGSHUKDSVRQO\ EDQNLQJRSWLRQ
   IRU RSHQLQJ VFRUHV RI HVVHQWLDO EDQN DFFRXQWV IRU WKH VKHOO FRPSDQLHV  ,Q 
   QHDU WKH VWDUW RI 7ULDQJOH¶V LPSOHPHQWDWLRQ RI LWV ³IUHH WULDO´ VFDP .HHU WKHQ LQ
   &DQDGDHPDLOHGDPHUFKDQWSURFHVVRUWRDVN
            'R \RX JX\V ZRUN ZLWKNQRZ DQ\ FRUS VHUYLFHV W\SH JX\V ZKR
              LQFRUSRUDWH86FRUSVTXLFNO\"%ULDQ>3KLOOLSV@KDVDFRUSLQ19WKDW
            KHMXVWVHWXSEXWWKHUH¶VQREDQNDFFRXQWVDQGVWXIIVHWXS\HW:RXOG
              OLNH\RXUDGYLFHRQWKHZKROH86FRUSLVVXHEHIRUHZHGULYHGRZQWR
            6HDWWOHWRRSHQEDQNDFFRXQWVLIZHFDQVHWXSDQRWKHUFRUSIRUWKH
              SXUSRVHRIWKLV«GHDOWKDWPLJKWEHDEHWWHUSOD\IRUXV
  
   7KH SURFHVVRU SURPLVHG WR ORRN LQWR LW EXW EHIRUH KH FRXOG .HHU ZURWH EDFN ³I
   think we can get Wells to take care of it´ (PSKDVLVDGGHG $VLWWXUQHGRXW
   .HHUZDVULJKW
             3KLOOLSV .HHU DQG 7ULDQJOH UHOLHG RQ :HOOV )DUJR WR GHOLEHUDWHO\
   RYHUORRNREYLRXVEHQHILFLDORZQHUVKLSLVVXHVZKLFK:HOOV)DUJRZDVKDSS\WRGR
   3KLOOLSVZDVVRFRQILGHQWLQ:HOOV)DUJR¶VSOLDQF\WKDWZKHQRQHQRPLQHHUDLVHGD
   FRQFHUQDERXWZKDWZRXOGKDSSHQLI:HOOV)DUJRFRQWDFWHGKLVPRWKHU ZKRPKH
   KDGHQOLVWHGWRVHUYHDVDQRWKHUQRPLQHHIRU3KLOOLSVLQ 3KLOOLSVUHVSRQGHG
   E\ GLVPLVVLQJ KLV FRQFHUQV ZKROHVDOH UHVSRQGLQJ ³Dude, you still don’t
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    understand how wells is totally different.            The bank won’t be calling her´
          (PSKDVLVDGGHG :HOOVGLGQ¶WFDOO
                ,QVWHDG RI FRQGXFWLQJ DQ LQYHVWLJDWLRQ LQFUHDVLQJ LWV PRQLWRULQJ RI
    WKH 7ULDQJOH DFFRXQWV UHSRUWLQJ VXVSLFLRXV RU XQXVXDO DFWLYLW\ LQWHUQDOO\ RU
    H[WHUQDOO\ RU VLPSO\ UHIXVLQJ WR SURYLGH EDQNLQJ VHUYLFHV WR WKH 7ULDQJOH IUDXG
    WLPH DQG DJDLQ :HOOV )DUJR DFFHGHG WR 3KLOOLSV¶V UHTXHVWV IRU WKH %DQN WR RSHQ
    QHZ VKHOO FRPSDQ\ DFFRXQWV ZLWK QRPLQHH RZQHUV HIIHFWLYHO\ OHJLWLPL]LQJ WKH
    VKHOOVLQWKHH\HVRIWKHPHUFKDQWSURFHVVRUV
                       LL 7KH.HOOHU7H[DV%UDQFK
               7KHUHODWLRQVKLSEHWZHHQ:HOOV)DUJR3KLOOLSVDQG7ULDQJOHEHJDQLQ
   7H[DVRQ6HSWHPEHUZKHQ:HOOV)DUJR¶V.HOOHU7H[DVEUDQFKSULQFLSDOO\
   WKURXJKEDQNHU/HD:DONHU ³:DONHU´ EXWZLWKDVVLVWDQFHRIRWKHUVLQWKHEUDQFK
   LQFOXGLQJWKHEUDQFKPDQDJHUEHJDQRSHQLQJVKHOOFRPSDQ\DFFRXQWVIRU3KLOOLSV
   DQGSURYLGLQJKLPZLWKUHIHUHQFHOHWWHUV
               ,Q URXJKO\ RQH \HDU :DONHU RSHQHG DW OHDVW HLJKW VKHOO FRPSDQ\
   DFFRXQWV IRU 3KLOOLSV DQG SURYLGHG KLP ZLWK IRXU UHIHUHQFH OHWWHUV IRU WKHVH
   DFFRXQWV
               ,Q  :DONHU RSHQHG IRXU PRUH DFFRXQWV IRU VKHOO FRPSDQLHV DW
   3KLOOLSV¶ UHTXHVW SURYLGLQJ KLP ZLWK WKUHH UHIHUHQFH OHWWHUV  7KDW \HDU DQRWKHU
   EDQNHUDWWKH.HOOHU7H[DVEUDQFKRSHQHGWZRPRUHVKHOOFRPSDQ\DFFRXQWVIRU
   3KLOOLSVDQGVLJQHGDQRWKHUUHIHUHQFHOHWWHU:DONHUFRQWLQXHGWRRSHQDGGLWLRQDO
   VKHOO DFFRXQWV IRU 3KLOOLSV LQWR   ,Q WRWDO WKLV :HOOV )DUJR EUDQFK RSHQHG
   PRUHWKDQEDQNVDFFRXQWDW3KLOOLSV¶UHTXHVWZLWKURXJKO\KDOIRIWKRVHEHLQJ
   IRUVKHOODFFRXQWVQRPLQDOO\RZQHGE\RWKHUV
               :HOOV )DUJR¶V XQGHUVWDQGLQJ RI 3KLOOLSV¶ RZQHUVKLS LQWHUHVW LQ WKH
   DFFRXQWV LV DEXQGDQWO\ FOHDU LQ 0D\  HPDLOV WKDW 3KLOOLSV DQG :DONHU
   H[FKDQJHG LQ ZKLFK 3KLOOLSV DVNHG :DONHU WR UHPRYH FHUWDLQ DSSURYDO
   UHTXLUHPHQWVVRWKDWKHFRXOGJHQHUDWHDQGVHQGZLUHVIRUDFFRXQWVWKDWKHGLGQRW
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    RZQRQSDSHU:DONHULPPHGLDWHO\IXOILOOHG3KLOOLSV¶UHTXHVWZKLFKZRXOGKDYH
    EHHQXQWKLQNDEOHLIVKHZHUHQRWDZDUHWKDWKHZDVWKHWUXHRZQHURIWKHDFFRXQWV
    DQGWKDWWKHSXUSRUWHG³RZQHU´ZDVMXVWDQRPLQHH
                    LLL  7KH6RXWKHUQ&DOLIRUQLD%UDQFKHV
             ,QRUDERXW3KLOOLSVEHJDQPRYLQJKLVEDQNLQJUHODWLRQVKLSZLWK
    :HOOV )DUJR WR 6RXWKHUQ &DOLIRUQLD  $FURVV PXOWLSOH :HOOV )DUJR &RPPXQLW\
    %DQN EUDQFKHV LQ 6RXWKHUQ &DOLIRUQLD DQG LQ SDUWQHUVKLS ZLWK PXOWLSOH :HOOV
    )DUJR EDQNHUV  3KLOOLSV FDPH WR RSHQ GR]HQV PRUH :HOOV )DUJR DFFRXQWV DV WKH
    7ULDQJOHVFKHPHH[SDQGHG,QWRWDORYHUWKHFRXUVHRIWKH7ULDQJOHVFKHPH:HOOV
   )DUJR RSHQHG PRUH WKDQ  7ULDQJOHUHODWHG DFFRXQWV LQ &DOLIRUQLD DQG 7H[DV DW
   3KLOOLSV¶ UHTXHVW  :KLOH :HOOV )DUJR NQHZ WKDW DOO RI WKH DFFRXQWV ZHUH XQGHU
   3KLOOLSV¶ H[FOXVLYH FRQWURO RYHU  DSSUR[LPDWHO\   RI WKRVH DFFRXQWV ZHUH
   EDQN DFFRXQWV IRU WKH VKHOO FRPSDQLHV WKDW ZHUH ³RZQHG´ LQ WKH QDPHV RI WKH
   QRPLQHHV  :HOOV )DUJR DOVR RSHQHG PRUH WKDQ  FRUSRUDWH EDQN DFFRXQWV WKDW
   3KLOOLSV GLUHFWO\ RZQHG  7KHVH LQFOXGHG PRVW QRWDEO\ QXPHURXV :HOOV )DUJR
   EDQN DFFRXQWV IRU WKH 7ULDQJOH 0HGLD &RUSRUDWLRQ LQWR ZKLFK 3KLOOLSV UHJXODUO\
   UHTXHVWHG WKDW :HOOV )DUJR WUDQVIHU IXQGV IURP WKH VKHOO FRPSDQ\ DFFRXQWV
   ³RZQHG´E\RWKHUVZKLFK:HOOV)DUJRDOZD\VGLG
            %HWZHHQDQG7ULDQJOH¶VGHPLVHLQ3KLOOLSV¶EXVLQHVVZLWK
   :HOOV )DUJR LQ &DOLIRUQLD H[SDQGHG UDSLGO\  2YHU D QLQHPRQWK SHULRG LQ 
   DORQH :HOOV )DUJR RSHQHG D WRWDO RI  VKHOO FRPSDQ\ DFFRXQWV ³RZQHG´ E\
   QRPLQHHVIRU3KLOOLSV3KLOOLSVHVWDEOLVKHGDFORVHDQGFRQWLQXHGUHODWLRQVKLSZLWK
   :HOOV )DUJR DFURVV PXOWLSOH EUDQFKHV LQ 6RXWKHUQ &DOLIRUQLD  ,Q WRWDO RYHU D
   GR]HQ:HOOV)DUJR&RPPXQLW\%DQNEUDQFKHVLQ6RXWKHUQ&DOLIRUQLDSURYLGHGDQ
   DUUD\ RI EDQNLQJ VHUYLFHV IRU 3KLOOLSV 7ULDQJOH DQG KLV PDQ\ UHODWHG VKHOO
   FRPSDQLHV  %HWZHHQ IDOO  DQG WKH HQG RI 7ULDQJOH LQ  :HOOV )DUJR
   RSHQHG PRUH WKDQ  DFFRXQWV DW 3KLOOLSV¶ UHTXHVW  0RUH WKDQ  RI WKRVH EDQN
   DFFRXQWVKRZHYHUZHUHIRUVKHOOFRPSDQLHVVXSSRVHGO\QRW³RZQHG´E\3KLOOLSV
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    3KLOOLSV ZDV D UHSHDW SOD\HU DW PDQ\ EUDQFKHV LQFOXGLQJ 6DQ 'LHJR VW DQG
    0DUNHW ±  DFFRXQWV DQG  UHIHUHQFH OHWWHUV  (O &DMRQ  VKHOO DFFRXQWV DQG 
    UHIHUHQFH OHWWHU  3DORPDU 9LVWD  DFFRXQWV DQG  UHIHUHQFH OHWWHUV  DQG 6DQ
    0DUFRV  DFFRXQWV DQG  UHIHUHQFH OHWWHU   $GGLWLRQDOO\ 3KLOOLSV RIWHQ PDGH
    UHTXHVWV WR RSHQ DFFRXQWV WR KLV 5HODWLRQVKLS 0DQDJHUV $OEDQD DQG &RUGLQJ 
    ZRUNLQJ RXW RI WKH (VFRQGLGR EUDQFK ZKR H[SHGLWHG WKDW SURFHVV  $OEDQD DQG
    &RUGLQJ SOD\HG WKH HVVHQWLDO UROH RI SURYLGLQJ 3KLOOLSV ZLWK UHDG\ DFFHVV WR
    UHIHUHQFHOHWWHUV WKH\ZURWHPRUHWKDQVXFKOHWWHUVEHWZHHQDQG 
             7KHVFRSHRIWKHEUDQFKHVLQYROYHGHPSKDVL]HVWKDWWKLVZDVQRWRQH
   EDG EDQNHU RU RQH EDG EUDQFK²UDWKHU WKH EDG FRQGXFW ZDV UHOLDEO\ HQGHPLF DW
   :HOOV )DUJR  :KLOH WKH (VFRQGLGR %UDQFK ZDV SUREDEO\ WKH ZRUVW RIIHQGHU DV
   GLVFXVVHGEHORZ WKHPLVFRQGXFWDWLVVXHRFFXUUHGDFURVVWKH6RXWKHUQ&DOLIRUQLD
   EUDQFKHVQRWHGDERYHDOORIZKLFKZHUHRSHUDWLQJXQGHU:HOOV)DUJR¶VWR[LFVDOHV
   FXOWXUH  )RU H[DPSOH LQ  D EDQNHU IURP WKH 6DQ 'LHJR %UDQFK FDPH WR
   3KLOOLSV¶V DLG ZKHQ KH DVNHG KHU WR VHW XS D EDQN DFFRXQW IRU D VKHOO FRPSDQ\
   ³ZLWK PH DQG DQRWKHU VLJQHU RQ LW´  7KH EDQNHU UHVSRQGHG WKDW VKH QHHGHG WKH
   QRPLQHHRZQHU¶VLQIRUPDWLRQWRRSHQWKHDFFRXQWEXWWKDWVKHZRXOG³VZLWFKWKH
   UHODWLRQVKLSRQFH,KDYHLW´3KLOOLSVVHQWWKHEDQNHUWKHLQIRUPDWLRQVKHUHTXHVWHG
   WKH QRPLQHH¶V GULYHU OLFHQVH SKRQH QXPEHU DQG VRFLDO VHFXULW\ QXPEHU DPRQJ
   RWKHUWKLQJV DQGWKHEDQNHUSURFHHGHGWRRSHQWKHDFFRXQWDSSDUHQWO\XQWURXEOHG
   E\WKHIDFWWKDW3KLOOLSV²QRWWKHQRPLQHH²ZDVWKHRQHSURYLGLQJWKHLQIRUPDWLRQ
   WRRSHQDQDFFRXQWIRUDFRPSDQ\WKDWSXUSRUWHGWREHRZQHGE\WKHQRPLQHH
          7KH:HOOV)DUJREDQNHUVNQHZWKDWDOORIWKHVHDFFRXQWVZHUHUHODWHG
   EXWRQLQIRUPDWLRQDQGEHOLHIWKDWUHODWLRQVKLSZDVQHYHUULVNUDWHGPRQLWRUHGRU
   RWKHUZLVHPDQDJHGDVZRXOGEHEHILWWLQJDUHODWLRQVKLSHQFRPSDVVLQJWKHYROXPHV
   QXPEHU RI DFFRXQWV DQG JOREDO VFRSH RI ZKDW ZDV DQ HQWHUSULVH²QRW D VHULHV RI
   LQGLYLGXDOO\RZQHGDFFRXQWV
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             :HOOV )DUJR EDQNHUV DW WKH (VFRQGLGR %UDQFK ZHUH HVSHFLDOO\
    DFFRPPRGDWLQJ WR 3KLOOLSV SDUWLFXODUO\ +DLPDQ $OEDQD ³$OEDQD´  ZKR ZDV D
    9LFH 3UHVLGHQW DQG %XVLQHVV 5HODWLRQVKLS 0DQDJHU DW WKH EUDQFK DQG %ULDQ
    &RUGLQJ ³&RUGLQJ´ ZKRZDVD9LFH3UHVLGHQWDQG6HQLRU%XVLQHVV5HODWLRQVKLS
    0DQDJHU  &RPSOLDQFH ³UXOHV´ ZHUH HDVLO\ EHQW RU GLVFDUGHG IRU 3KLOOLSV LQ OLQH
    ZLWK WKH 2&&¶V FRQFOXVLRQ WKDW ³>W@R WKH H[WHQW >:HOOV )DUJR@ GLG LPSOHPHQW
    FRQWUROVWKH%DQNLQWHQWLRQDOO\GHVLJQHGDQGPDLQWDLQHGFRQWUROVWRFDWFKRQO\WKH
    PRVWHJUHJLRXVLQVWDQFHVRIWKHLOOHJDOFRQGXFWWKDWZDVSHUYDVLYHWKURXJKRXWWKH
   &RPPXQLW\ %DQN´  $OEDQD IRU H[DPSOH LQLWLDOO\ WROG 3KLOOLSV RQ 2FWREHU 
   WKDWDVKHOOFRPSDQ\DFFRXQW ZKLFK3KLOOLSVKDGUHTXHVWHGRQ2FWREHU 
   KDGQ¶W \HW EHHQ VHW XS EHFDXVH $OEDQD ZDV ³ZDLWLQJ WR KHDU EDFN IURP P\
   FRPSOLDQFH GHSDUWPHQW´ DERXW LW²EXW ZKHQ 3KLOOLSV FRPSODLQHG WKDW ³ZKHQ >KH@
   ZDVZRUNLQJZLWKWKHEUDQFKRQWKLVVWXIIWKH\FRXOGWXUQLWDURXQGLQGD\´DQG
   DVNHG ZKHWKHU KH VKRXOG ³UHDFK RXW WR P\ EUDQFK FRQWDFW´ $OEDQD VHQW KLP WKH
   IRUPVIRUWKHQH[WVWHSless than one hour later
            2Q$XJXVW3KLOOLSVVHQWDQHPDLOWR$OEDQDDERXWRQHVKHOO
   FRPSDQ\¶VDFFRXQWVDVNLQJ$OEDQD³WRPDNHVXUHWKDWP\QDPHLVQRWVKRZLQJXS
   RQWKH>9LWDO*OREDO0DUNHWLQJ@DFFRXQW  DWDOO7KHVHDUH>WKHQRPLQHH@¶V
   DFFRXQWV RI ZKLFK , KDYH DFFHVV WRR  Can you please work to have my name
   replaced with her name?  /HW PH NQRZ KRZ TXLFNO\ ZH FDQ JHW WKLV WDNHQ FDUH
   RI"´ (PSKDVLVDGGHG $ERXWDZHHNODWHU3KLOOLSVIRUZDUGHGIRUPVSXUSRUWHGO\
   FRPSOHWHG E\ WKH QRPLQHH WR DGG KHU DQG UHPRYH KLP IURP WKH VKHOO DFFRXQW DW
   ZKLFKSRLQWD:HOOV)DUJRHIIHFWHGWKHFKDQJH
            &RUGLQJ ZDV IXOO\ DZDUH WKDW 3KLOOLSV ZDV WKH RQH LQ FRQWURO RI WKH
   VKHOODFFRXQWVWKDW7ULDQJOHKDGDW:HOOV)DUJR2Q$XJXVWIRUH[DPSOH
   3KLOOLSVFRPSODLQHGWR&RUGLQJWKDWKHFRXOGQ¶WVHHDFFRXQWVIRUVKHOOFRPSDQLHV
   + 0DUNHWLQJ %UDQG -XQFWLRQ DQG 7RWDO 0DUNHW 3URGXFWV ³DW WKH PRPHQW LQ D
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    WR KDYH NH\ H[HFXWLYH DFFHVV´ WR WKH VKHOO FRPSDQ\ DFFRXQWV EHFDXVH ³WKH\
    QHHG>HG@WRKDYHP\VWDWXVFKDQJHGLQWKHFRPSDQ\´&RUGLQJLPPHGLDWHO\PDGH
    FKDQJHVWRWKHSURILOHVLQ:HOOV)DUJR¶VV\VWHPLQRUGHUWRDOORZ3KLOOLSV³WRVHH
    WKHDFFRXQWVZLWKWKHDELOLW\WRWUDQVIHULQWRWKHRIWKHP´
             0HDQZKLOH 3KLOOLSV ZDV PDNLQJ FKDQJHV WR WKH RZQHUVKLS RI WKH
    9LWDO *OREDO 0DUNHWLQJ DFFRXQW²WKH DFFRXQW ZKLFK URXJKO\ D \HDU HDUOLHU KH¶G
    KDG:HOOV)DUJRVFUXEKLVQDPHIURP3KLOOLSVVHQWRYHUWKHSDSHUZRUNWRKDYHWKH
    ROGQRPLQHH³RZQHU´UHPRYHGIURPWKHDFFRXQWRQ$XJXVW/HVVWKDQD
   ZHHN ODWHU KH DVNHG WR KDYH D GLIIHUHQW QRPLQHH DGGHG WR DQRWKHU 9LWDO *OREDO
   0DUNHWLQJDFFRXQW [ D:HOOV)DUJREDQNHUEXVLQHVVDVVRFLDWHJDYHWKHQHZ
   QRPLQHHFRQWURORYHUWKHDFFRXQWEXWZKHQ3KLOOLSVDVNHGIRUGRFXPHQWDWLRQRID
   FKDQJH LQ RZQHUVKLS WKH :HOOV )DUJR HPSOR\HH H[SODLQHG VKH ZRXOG QHHG DQ
   DPHQGHGRSHUDWLQJDJUHHPHQW$IHZGD\VDIWHUWKDW&RUGLQJFKLPHGLQWRH[SODLQ
   WKDW WKH FKDQJH LQ RZQHUVKLS ZRXOG UHTXLUH D QHZ DFFRXQW  7KH :HOOV )DUJR
   HPSOR\HHVHQWRYHUWKHUHTXLUHGSDSHUZRUNH[SODLQLQJWKDW3KLOOLSV³ZRXOGZDQW
   WROLVW>WKHQHZQRPLQHH@DVRZQHUWRPDWFK\RXUGRFXPHQWV´5HFRJQL]LQJ
   3KLOOLSV¶VWUXHUROHLQWKHRSHUDWLRQWKHEDQNHUDGGHG³<RXZLOODOVRQHHGWROLVW
   DQ\RQH OLNH \RXUVHOI  ZKR PLJKW KDYH FRQWURO RI WKH FRPSDQ\´ DQG ZDUQHG
   3KLOOLSVWKDWDVWKHWHFKQLFDORZQHURIWKHVKHOOFRPSDQ\WKHQHZQRPLQHHZRXOG
   KDYH FRQWURO RYHU WKH RWKHU 9LWDO *OREDO 0DUNHWLQJ DFFRXQW [ ²D ZDUQLQJ
   VKHZRXOGQRWKDYHQHHGHGWRJLYHLIVKH¶GEHOLHYHGWKHQRPLQHHZDVLQIDFWWKH
   RZQHU
            &RUGLQJ DOVR FRQWLQXHG WR DFFRPPRGDWH 3KLOOLSV¶ UHTXHVWV IRU
   YLVLELOLW\ LQWR DFFRXQWV SXUSRUWHGO\ RZQHG E\ RWKHUV  2Q 0D\   3KLOOLSV
   DVNHG &RUGLQJ WR DGG DQRWKHU VKHOO DFFRXQW 6XQVHW 2UGHU 0DUNHWLQJ WR KLV
   ³FRQVROLGDWHG%XVLQHVVEDQNLQJYLHZLQWKHSRUWDO´&RUGLQJDVNHGDQRWKHUEDQNHU
   WRPDNHWKHFKDQJHZLWKRXWKHVLWDWLRQ7KDWEDQNHUKRZHYHUSRLQWHGRXWWKDWWKH
                                                                    &DVH1RBBBBBBBBBBB
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    QRPLQHH IRU WKH DFFRXQW ZDV WKH ³ RZQHU VR LQ RUGHU WR JUDQW >3KLOOLSV@
    FRPELQH>G@ YLHZ WKURXJK RQOLQH EDQNLQJ´ VKH ZRXOG QHHG DSSURYDO IURP WKH
    QRPLQHH3KLOOLSVWKHQDVNHG³ZK\GRWKHVHDFFRXQWVNHHSJHWWLQJVHWXSWKLVZD\
    ZKHUH,KDYHQRULJKWWRYLVLELOLW\&DQZHSOHDVHJHWWKLVDQGDOODFFRXQWVJRLQJ
    IRUZDUGVZLWFKHGWREHLQP\FRQVROLGDWHGYLHZ´
                7KH:HOOV)DUJREDQNHUZDVTXLFNWRRIIHUDFRXSOHZRUNDURXQGV
               ,I\RXDUHQ¶WRZQHUWKH\FDQ¶WDXWRPDWLFDOO\JUDQW\RXFRPELQHGYLHZ
                EHFDXVH\RXFDQWUDQVIHUEHWZHHQRWKHUHQWLWLHVDQGSHUVRQDODFFRXQWV
               WKDW ZD\ 7KH ZRUN DURXQG LV WR KDYH WKH RZQHU JUDQW \RX WKLV
                DXWKRULW\EXWRXURQOLQHGHSDUWPHQWUHTXLUHVLWLQZULWLQJLQFDVH
               WKHUH LV VRPH VRUW RI LQWHUQDO IUDXG RU VRPHWKLQJ ZLWK WKH
                EXVLQHVV:)ZRQ¶WEHOLDEOH
  
                8QIRUWXQDWHO\ ZH FDQQRW DXWRPDWLFDOO\ GR WKLV HYHU\ WLPH :H KDYH
              WKHZRUNDURXQGEXWLWUHTXLUHVDQH[WUDVWHS,QRUGHUWRDYRLGWKLV
                HQWLUHO\ZHGRRIIHUWKH&(2SRUWDOIRURXUODUJHEXVLQHVVFOLHQWV
               (PSKDVLVDGGHG 
  
                 3KLOOLSVPDGHLWDEVROXWHO\FOHDUWKDWKHZDQWHGIXOODFFHVVWRPXOWLSOH
  
       DFFRXQWVIRUFRPSDQLHVLQZKLFKKHKDGRQSDSHUQRRZQHUVKLSLQWHUHVW7KRXJK
  
       WKLV LV DQ REYLRXV LQGLFDWLRQ RI SRWHQWLDO IUDXG QR RQH DW :HOOV )DUJR DSSHDUHG
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       WURXEOHG E\ WKH UHTXHVW  ,Q IDFW ZKHQ 3KLOOLSV H[SUHVVHG H[DVSHUDWLRQ ZLWK WKH
  
       SURFHVV RQH :HOOV )DUJR EDQNHU HYHQ V\PSDWKL]HG DSRORJL]LQJ IRU WKH %DQN¶V
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           IOLPV\  SURFHGXUDO KXUGOH ³,¶P VXUH VRPHZKHUH DORQJ WKH OLQHV DQ HPSOR\HH
  
       WUDQVIHUUHGRXWPRQH\IURPDEXVLQHVVWRKLVKHUSHUVRQDODFFRXQWVDQG:)WRRND
  
       VLJQLILFDQWORVV6RWKH\QRZUHTXLUHDQDFNQRZOHGJHPHQWIURPWKHRZQHUVWDWLQJ
  
       WKH\DUHRNZLWKWKHFRPELQHYLHZ´
  
                 :HOOV )DUJR FOHDUO\ XQGHUVWRRG WKDW 3KLOOLSV ZDV LQ FKDUJH DQG WKDW
  
       WKH QRPLQHH RZQHU RI WKH FRPSDQ\ ZDV PRUH RU OHVV LUUHOHYDQW EXW WKH %DQN
  
       FRQWLQXHG WR GR EXVLQHVV ZLWK 3KLOOLSV DQG 7ULDQJOH  :HOOV )DUJR GLG VR LQ
  
       YLRODWLRQ RI .<& UXOHV DQG UHJXODWLRQV ZKLFK UHTXLUHG WKH %DQN WR KDYH D
  
       UHODWLRQVKLSZLWKHDFKRILWVFXVWRPHUV7KDWSRVHGDSUREOHPVLQFH:HOOV)DUJR¶V
  
       RQO\UHODWLRQVKLSZLWKWKHVKHOOFRPSDQLHVZDVWKURXJK3KLOOLSV
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             7KH UXOHV FKDQJHG LQ 0D\  EXW E\ 'HFHPEHU ²QHDUO\ D
    \HDUDQGDKDOIODWHU²:HOOV)DUJRKDGQRW\HWLPSOHPHQWHGWKHP2QLQIRUPDWLRQ
    DQG EHOLHI WKH QHZ UXOH LQ IDFW VLPSO\ UHIOHFWHG ZKDW KDG EHHQ DFFHSWHG DV
    VWDQGDUG SUDFWLFHV DW PDQ\ RWKHU EDQNV IRU D QXPEHU RI \HDUV EXW RI FRXUVH QRW
    :HOOV )DUJR  JRLQJ EDFN DV IDU DV WKH HVWDEOLVKPHQW RI QHZ UXOHV DIWHU WKH
    6HSWHPEHU   WHUURULVW DWWDFNV 7KDW PRQWK &RUGLQJ HPDLOHG 3KLOOLSV WR
    H[SODLQWKH%DQN¶VREOLJDWLRQVXQGHUWKH³QHZ´UXOH
            ,Q 0D\  WKH 86 7UHDVXU\ 'HSDUWPHQW¶V )LQDQFLDO &ULPHV
             (QIRUFHPHQW 1HWZRUN )LQ&(1  LVVXHG D UXOH VWUHQJWKHQLQJ WKH GXH
            GLOLJHQFHWKDWFHUWDLQILQDQFLDOLQVWLWXWLRQVPXVWSHUIRUPZLWKUHVSHFW
             WR WKHLU FXVWRPHUV  7KH QHZ UXOH UHTXLUHV WKDW ILQDQFLDO LQVWLWXWLRQV
           WKRURXJKO\ XQGHUVWDQG WKH QDWXUH RI WKH EXVLQHVV RI HDFK RI WKHLU
             FOLHQWV:HOOV)DUJRDQGRWKHUEDQNVDUHUHTXLUHGWRFRPSO\ZLWKWKHVH
           QHZ DQG H[LVWLQJ UHJXODWLRQV UHODWHG WR WKH SUHYHQWLRQ RI ILQDQFLDO
             FULPHV  $V D UHVXOW ZH DUH HQKDQFLQJ RXU LQWHUQDO FRPSOLDQFH DQG
           ULVN UHODWHG SROLFLHV  %HFDXVH RI WKH VL]H DQG VFRSH RI RXU
             RUJDQL]DWLRQ ZH DUH VWDUWLQJ WR FROOHFW FXVWRPHU LQIRUPDWLRQ QRZ WR
           HQVXUHWKDWZHDUHDEOHWRFRPSO\ZLWKWKHIHGHUDOGHDGOLQH
            &RUGLQJVHQW3KLOOLSVSUHILOOHGSDSHUZRUNIRUFRPSDQLHVVHYHQRI
   ZKLFKZHUHVKHOOFRPSDQLHVbut all of which listed Phillips as the owner7KLVZDV
   LQFRQVLVWHQWZLWKWKHRZQHUVOLVWHGRQWKH:HOOV)DUJREDQNUHFRUGVEXW&RUGLQJ
   FOHDUO\FRQVLGHUHG3KLOOLSVWREHWKH DFWXDORZQHURIDOOFRPSDQLHVLQVSLWHRI
   WKLV3UHGLFWDEO\3KLOOLSVUHVSRQGHGDQGDVNHGWRKDYHWKH³GRFVFKDQJHGDURXQG´
   VRKHFRXOG³FRRUGLQDWHIRUHDFKRIWKHSHRSOHWRVLJQ´&RUGLQJUHSOLHG³+DSS\
   WRGRLWI think the challenge is we may not be sure of the owners of each entity´
   1RW RQO\ GLG :HOOV )DUJR KDYH ]HUR LGHD ZKR LWV DFFRXQW RZQHUVZHUH VKRZLQJ
   KRZ OLWWOH WKH %DQN ZDV FRQFHUQHG DERXW 7ULDQJOH¶V SUROLIHUDWLRQ RI VKHOO
   DFFRXQWV  EXW &RUGLQJ DSSDUHQWO\ XQSHUWXUEHG FRQWLQXHG GRLQJ EXVLQHVV ZLWK
   3KLOOLSVHYHQDIWHUKHZDVRQFHPRUHIDFHGZLWKSURRIWKDW3KLOOLSVZDVWKHde facto
   RZQHUIRUDKRVWRIVKHOOFRPSDQLHV
                          Y    7ULDQJOH¶V$WWHPSWVDW6HFXULQJ$&+3URFHVVLQJ
            3KLOOLSV SHULRGLFDOO\ ORRNHG LQWR VHFXULQJ $&+ SURFHVVLQJ VHUYLFHV
   IURP:HOOV)DUJRZKLFKZRXOGJLYH7ULDQJOHDQRWKHUDYHQXHWRDFFHSWFXVWRPHU
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    SD\PHQWV  :HOOV )DUJR¶V LQFHQWLYH ZDV REYLRXV WKH\ ZRXOG EH DEOH WR FROOHFW
    SURFHVVLQJIHHVIRUDQ\WUDQVDFWLRQVWKDW7ULDQJOHUDQ
             $VHDUO\DV$OEDQDZDVZRUNLQJZLWK3KLOOLSVWRWU\DQGVHFXUH
    ZHEEDVHG $&+ SURFHVVLQJ IRU 7ULDQJOH  $SRORJL]LQJ IRU WKH GHOD\ LQ JHWWLQJ
    DSSURYDO IRU 3KLOOLSV¶ DSSOLFDWLRQ $OEDQD H[SODLQHG WKDW ³>D@V \RX NQRZ \RXU
    LQGXVWU\ LV KLJK ULVN DQG WKH EDQN LV VFUXWLQL]LQJ HDFK GHWDLO SULRU WR JHWWLQJ
    DSSURYDO,DPZRUNLQJGLOLJHQWO\ZLWKFUHGLWVXSHUYLVLRQWRJHWWKHDSSURYDO´,Q
    UHVSRQVHWRUHTXHVWVIURP$OEDQD3KLOOLSVSURYLGHGKLPZLWKDFOLHQWOLVWVDPSOH
    DJUHHPHQWNH\RIILFHUELRVDQGDGGLWLRQDOLQIRUPDWLRQ
            7KH  SXVK WR JHW $&+ SURFHVVLQJ IRU 7ULDQJOH WKURXJK :HOOV
   )DUJR ZDV GHDG E\ $XJXVW KRZHYHU  $V .HHU ZURWH WR DQRWKHU 7ULDQJOH
   HPSOR\HH³WKHHQWLUH$&+GHDOZLWK:HOOVZDVVFXWWOHGEHFDXVHRIVRPHUDQGRP
   WH[WRQ>WKH7ULDQJOHZHEVLWH@´
            (PDLOVWKHIROORZLQJPRQWKEHWZHHQ7ULDQJOHSHUVRQQHOPDNHLWFOHDU
   H[DFWO\ZKDWLQRQHHPSOR\HH¶VZRUGV³ZHOOV¶FRPSOLDQFHWHDPVDZ´WKDWFDXVHG
   WKH%DQNWREDFNRIIDQROGZHEVLWHIRU7ULDQJOH0HGLD&RUSRUDWLRQZKLFKWRXWHG
   WKHFRPSDQ\¶VDELOLW\WR³SURYLGHH[SHUWLVHIRU\RXUKLJKULVNEXVLQHVV´EHFDXVHLWV
   ³VHDPOHVV VROXWLRQV RIIHU \RXU EXVLQHVV WKH DELOLW\ WR PDUNHW FRQFHSWV QRUPDOO\
   UHMHFWHGE\WUDGLWLRQDOSURFHVVRUVDQGEDQNV´
            :KLOH 7ULDQJOH KDG DOUHDG\ UHPRYHG WKH SUREOHPDWLF ODQJXDJH IURP
   LWVZHEVLWHLWZDVVWLOOSRSSLQJXSDVWKHWRSJRRJOHVHDUFKIRU³7ULDQJOH0HGLD´
   VR3KLOOLSVDQGKLVHPSOR\HHVPDGHHIIRUWVWREXU\LWE\³JHW>WLQJ@QHZFRQWHQWWR
   SLOHRYHUWKH>SUREOHPDWLFODQJXDJH@´
            :HOOV )DUJR¶V FRPSOLDQFH WHDP¶V GHFLVLRQ WR UHMHFW 7ULDQJOH¶V
   SURFHVVLQJ DSSOLFDWLRQ GHPRQVWUDWHV DV ZLWK WKH %DQN¶V UHMHFWLRQ RI WKH $SH[
   PHUFKDQW SURFHVVLQJ DSSOLFDWLRQV WKDW :HOOV )DUJR ZDV XQZLOOLQJ WR WDNH RQ WKH
   ULVN RI SURFHVVLQJ IRU WKHVH FRPSDQLHV  7KH %DQN ZDV FDUHIXO ZKHQ LWV RZQ
   SRWHQWLDOH[SRVXUHZDVRQWKHOLQH2IFRXUVHWKH%DQNUHPDLQHGSHUIHFWO\ZLOOLQJ
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    WRFRQWLQXHVHUYLFLQJWKHIUDXGXOHQWVKHOOFRPSDQLHVDWWKHEUDQFKOHYHORSHQEDQN
    DFFRXQWVIRUDGGLWLRQDOVKHOOFRPSDQLHVDQGWDNHRWKHUDW\SLFDOVWHSVWRDVVLVWWKH
    VFKHPHV¶VXFFHVV
              'HVSLWH WKH FRPSOLDQFH WHDP¶V GHFLVLRQ WR QL[ $&+ SURFHVVLQJ WKH
    VDOHVLPSHUDWLYHDWWKH%DQNZDVRYHUZKHOPLQJ2QH\HDUODWHULQ&RUGLQJ
    ZDV GRLQJ KLV EHVW WR JHW $&+ DSSURYDO IRU 3KLOOLSV DQG 7ULDQJOH RQFH DJDLQ
    &RUGLQJ HPDLOHG 3KLOOLSV WKDW DIWHU ³WKLQNLQJ WKURXJK P\ VWUDWHJ\ WR JHW $&+
    DSSURYHGRQ7ULDQJOH0HGLD´KHWKRXJKWLWZRXOGEHXVHIXOWRKDYHVRPHEDODQFH
    VKHHWV DQG LQFRPH VWDWHPHQWV EHFDXVH WKH\ ZRXOG DOORZ KLP WR ³XWLOL]H WKH
   ILQDQFLDOVWUHQJWKRIWKHEXVLQHVV>WR@PLWLJDWHDQ\ULVNV´
             &RUGLQJVWLOOKDGQRWPDQDJHGWRREWDLQDSSURYDOIRU7ULDQJOHWRXVH
   :HOOV )DUJR¶V $&+ SURFHVVLQJ LQ HDUO\  EXW WKDW GLGQ¶W PHDQ WKDW KH KDG
   VWRSSHGWU\LQJ2Q)HEUXDU\KHZURWH3KLOOLSVWKDW³>Z@HGLGGRVRPHIXUWKHU
   GXHGLOLJHQFHLQWHUQDOO\DQGWKHUHLVSRWHQWLDOIRUXVWRIXOILOOWKH$&+UHTXHVWDV
   ZHOO DV ZH PD\ KDYH D VROXWLRQ IRU WKH DFFRXQW QHHGV´  $OWKRXJK LW GRHV QRW
   DSSHDU WKDW &RUGLQJ ZDV XOWLPDWHO\ DEOH WR VHFXUH $&+ SURFHVVLQJ IRU 7ULDQJOH
   WKH IDFW WKDW KH ZDV VWLOO ZLOOLQJ WR WU\ DQG WKDW :HOOV )DUJR ZDV VWLOO DSSDUHQWO\
   FRQVLGHULQJ LW  LQ OLJKW RI HYHU\WKLQJ WKDW &RUGLQJ DQG :HOOV )DUJR NQHZ DERXW
   3KLOOLSVDQG7ULDQJOHVSHDNVIRULWVHOI7KHHYLGHQFHILUPO\HVWDEOLVKHVWKDW:HOOV
   )DUJRNQHZH[DFWO\ZKDW7ULDQJOHZDVGRLQJDQGWKDWE\DVVLVWLQJ7ULDQJOHLWZDV
   YLRODWLQJ EDQNLQJ UHJXODWLRQV DQG WKH %DQN¶V RZQ RQ SDSHU  SROLFLHV DQG
   SURFHGXUHV
                            YL  :HOOV)DUJR$XWKRUL]HG6XVSLFLRXVDQG8QXVXDO
                           7UDQVDFWLRQVWKDW0DGH1R(FRQRPLF6HQVH
             $V DOO RI WKH DERYH H[DPSOHV LQGLFDWH :HOOV )DUJR NQHZ IURP YHU\
   HDUO\ RQ LQ LWV UHODWLRQVKLS ZLWK 7ULDQJOH WKDW 7ULDQJOH ZDV XVLQJ QRPLQHHV DV
   IURQWV IRU VKHOO FRPSDQLHV ZLWK 3KLOOLSV UHJXODUO\ LQVLVWLQJ WKDW WKH QRPLQHHV DV
   RSSRVHG WR 3KLOOLSV ZKR :HOOV )DUJR NQHZ ZDV WKH WUXH RZQHU  EH OLVWHG DV WKH
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    ³ RZQHUV´ RI WKH DFFRXQWV  :HOOV )DUJR EDQNHUV KDG REOLJDWLRQV XQGHU
    VWDQGDUG EDQNLQJ SUDFWLFHV DQG EDQNLQJ ODZV DQG UHJXODWLRQV WR LQYHVWLJDWH DQG
    UHSRUW 3KLOOLSV¶ PDQLSXODWLRQ RI WKH VKHOO FRPSDQLHV¶ EHQHILFLDO RZQHUVKLS  +DG
    :HOOV)DUJRFRQGXFWHGDUHDOLQYHVWLJDWLRQLWVILQGLQJVZRXOGKDYHFRPSHOOHGLWWR
    UHIXVHWRGRDQ\PRUHEXVLQHVVZLWK3KLOOLSVVKXWGRZQ3KLOOLSV¶DFFRXQWVDQGRU
    IROORZ :HOOV )DUJR¶V HVWDEOLVKHG SURFHVVHV UHJDUGLQJ WKH PDNLQJ RI LQWHUQDO DQG
    H[WHUQDOUHSRUWVRIVXVSLFLRXVDFWLYLW\,QUHDOLW\RIFRXUVHJLYHQDOOWKDWLWNQHZ
    E\ WKLV SRLQW :HOOV )DUJR DOUHDG\ XQGHUVWRRG ZKDW WKH UHVXOWV RI DQ\ VXFK
    LQYHVWLJDWLRQZRXOGEH
               :HOOV )DUJR NQHZ WKDW 7ULDQJOH¶V VKHOO FRPSDQLHV FRQWLQXDOO\
   VXIIHUHGPDVVLYHFKDUJHEDFNV/LNHZLWK$SH[WKLVZDVDEXQGDQWO\FOHDUIURPWKH
   VKHOOFRPSDQLHV¶PRQWKO\DFFRXQWVWDWHPHQWV
               :HOOV)DUJRKDGDQREOLJDWLRQXQGHUEDQNLQJODZVDQGUHJXODWLRQVWR
   ORRNDWWKHIDPLO\RI7ULDQJOHDFFRXQWVDVDZKROHUDWKHUWKDQORRNLQJDWLQGLYLGXDO
   DFFRXQWDFWLYLW\LQLVRODWLRQ,IRQH7ULDQJOHUHODWHGDFFRXQWQHHGHGWREHFORVHG
   WKHQ DOO RWKHU 7ULDQJOH DFFRXQWV OLNHO\ ZRXOG KDYH WR EH FORVHG WRR  7KLV
   REOLJDWLRQ UHTXLUHG WKH %DQN WR UHDVVHVV LWV GHDOLQJV ZLWK WKH 7ULDQJOH (QWHUSULVH
   RQDUHJXODUEDVLVLQFOXGLQJZKHQHYHULWRSHQHGDQHZDFFRXQWDW3KLOOLSV¶UHTXHVW
               :HOOV )DUJR ZDV WKHUHIRUH REOLJDWHG ZKHQ FRQGXFWLQJ LWV DFFRXQW
   RSHQLQJ DQG DW OHDVW DQQXDO GLOLJHQFH IRU 7ULDQJOHUHODWHG HQWLWLHV XQGHU VWDQGDUG
   $0/SURFHGXUHVWRDVVHVVERWKQHZ±DQGH[LVWLQJDFFRXQWVLQWKHFRQWH[WRIWKH
   RYHUDOO UHODWLRQVKLS ZLWK 7ULDQJOH¶V EHQHILFLDO RZQHUV DQG NH\ SDUWLHV QDPHO\
   3KLOOLSVZKRKDGPRUHWKDQSHUVRQDODQGFRUSRUDWHDFFRXQWVZLWK:HOOV)DUJR
         LQDGGLWLRQWRWKHPRUHWKDQVKHOODFFRXQWV 
               ,Q SDUWLFXODU :HOOV )DUJR VKRXOG KDYH FRQGXFWHG D FULWLFDO
   H[DPLQDWLRQ RI WUDQVIHUV EHWZHHQ 3KLOOLSVRZQHG DQG 3KLOOLSVDVVRFLDWHG
   FRPSDQLHV ZKLFK WKHUH LV QR LQGLFDWLRQ LW GLG²HYHQ WKRXJK WKHUH ZHUH PXOWLSOH
   LQGLFLDRIIUDXGSUHVHQW:HOOV)DUJRNQHZWKDW3KLOOLSVZDVUHJXODUO\UHTXHVWLQJ
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    WKDW WKH %DQN PRYH PRQH\ LQWR KLV PDLQ :HOOV )DUJR 7ULDQJOH DFFRXQW ZKLFK
    3KLOOLSVKLPVHOIH[FOXVLYHO\RZQHG$W3KLOOLSV¶GLUHFWLRQ:HOOV)DUJRUHJXODUO\
    SURFHVVHG VXVSLFLRXV ODUJHILJXUH URXQGQXPEHU WUDQVIHUV RXW RI VKHOO DFFRXQWV
          ZKLFK ZHUH QRPLQDOO\ RZQHG E\ RWKHUV  DQG LQWR KLV RZQ 7ULDQJOH DFFRXQW
    :HOOV )DUJR EDQNHUV VKRXOG KDYH SUHVVHG 3KLOOLSVRQ ZK\ VLJQLILFDQW DPRXQWV RI
    PRQH\ ZHUH EHLQJ VHQW IURP DFFRXQWV RZQHG E\ RWKHUV WR 3KLOOLSV¶ 7ULDQJOH
    DFFRXQW DOO ZKLOH WKH OLVWHG RZQHUV QRPLQHHV  ZHUH UHFHLYLQJ RQO\ QRPLQDO
    SD\PHQWV IURP WKH DFFRXQWV WKDW WKH\ VXSSRVHGO\ RZQHG  :HOOV )DUJR ZDV DOVR
    NQHZ WKDW IXQGV ZKLFK KLW :HOOV )DUJR¶V 7ULDQJOH DFFRXQW ZHUH UHJXODUO\ EHLQJ
   WUDQVIHUUHGRYHUVHDV,I:HOOV)DUJRKDGDQ\FRQFHUQIRUSURWHFWLQJWKHLQWHUHVWVRI
   WKHVH ³RZQHUV´ RU FRPSO\LQJ ZLWK DQWLIUDXG RU $0/ UHJXODWLRQV LW ZRXOG QRW
   KDYHSHUPLWWHG3KLOOLSVDQG7ULDQJOHWRGRZKDWWKH\ZHUHGRLQJ
               :HOOV )DUJR KDG QR VXFK FRQFHUQV  ,QVWHDG DIWHU :HOOV )DUJR KDG
   HQDEOHG3KLOOLSVKLPVHOIDQGQRWWKHVXSSRVHG³RZQHUV´WRGLUHFWWKHVHWUDQVIHUV
   IURP WKH //& DFFRXQWV WR KLV 7ULDQJOH DFFRXQWV WKHUHDIWHU :HOOV )DUJR HYHQ
   WUDQVIHUUHGWKHUHFHQWO\GHSRVLWHGIXQGVIURPWKH7ULDQJOHDFFRXQWHQWLUHO\RXWRI
   WKH8QLWHG6WDWHV
               :KLOH:HOOV)DUJRZDVGLVUHJDUGLQJSUREOHPDWLFDQGXQXVXDODFFRXQW
   DFWLYLW\ :HOOV )DUJR ZDV QRW DW DOO LJQRULQJ 3KLOOLSV RU 7ULDQJOH¶V DFFRXQWV
   +RZHYHU LQVWHDG RI YLJLODQWO\ PRQLWRULQJ WKHVH DFFRXQWV IRU VXVSLFLRXV EHKDYLRU
   LQWKHFRQWH[WRIDKLJKULVNFXVWRPHULQDKLJKULVNLQGXVWU\PDNLQJDOOPDQQHURI
   VXVSLFLRXV WUDQVDFWLRQV RXW RI DFFRXQWV KH GLG QRW ³RZQ´ :HOOV )DUJR ZDV
   QXUWXULQJ LWV UHODWLRQVKLS ZLWK 3KLOOLSV WR WU\ WR JURZ :HOOV )DUJR¶V EXVLQHVV  ,Q
   RWKHUZRUGV:HOOV)DUJRZDVGRLQJZKDWLWGLGEHVWRSHQLQJDFFRXQWVZKHUHYHULW
   FRXOGZKHWKHUE\SURYLGLQJQHZEDQNVDFFRXQWVIRUWKHVKHOOFRPSDQLHVRUWU\LQJ
   WRSURYLGHDGGRQEDQNLQJVHUYLFHVVXFKDV$&+SURFHVVLQJPHUFKDQWSURFHVVLQJ
   RUHYHQDFFHVVWRIRUHLJQDFFRXQWV&URVVVHOOLQJFOLHQWVQRWFRPSOLDQFHRUFOLHQW
   RYHUVLJKWZDVWKHSULRULW\IRU:HOOV)DUJRSee, e.g., $PHULFDQ%DQNHUBankshot:
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    Wells Fargo Should Have Seen Add-on-product Trouble Coming, .HYLQ :DFN
    -XO\
              ,WLVSDUWLFXODUO\WURXEOLQJWKDWRYHUPDQ\\HDUV:HOOV)DUJRXVHGVR
    FDOOHG³5HODWLRQVKLS0DQDJHUV´ LQWKLVFDVH$OEDQDDQG&RUGLQJRSHUDWLQJRXWRI
    WKH(VFRQGLGREUDQFK WRVHUYHDVOHDGVDOHVSHUVRQVVHHNLQJWRJURZWKH7ULDQJOH
    UHODWLRQVKLS DV PXFK DV SRVVLEOH  :HOOV )DUJR IORXWHG WKH FRPPRQ LQGXVWU\ UROH
    WKDW SRVLWLRQV VXFK DV 5HODWLRQVKLS 0DQDJHUV KDYH DV H[SHULHQFHG EDQNHUV
    SURYLGLQJ DQ H[WUD ³ILUVW OLQH RI GHIHQVH´ OD\HU RI SURWHFWLRQ IRU D EDQN DJDLQVW
    IUDXGDQGPRQH\ODXQGHULQJ
             :HOOV )DUJR GHVLJQHG D FRUSRUDWH VWUXFWXUH SULRULWL]LQJ VDOHV WKDW
   LQVWHDGXVHGLWVGHVLJQDWHG5HODWLRQVKLS0DQDJHUVLQDZD\WKDWSHUSHWXDWHGIUDXG
   DQGZHDNHQHGULVNFRPSOLDQFHXQOLNHRWKHUEDQNVRILWVVL]H7\SLFDOO\DEDQNHU
   LQ VXFK D SRVLWLRQ ZLOO FRQGXFW SHULRGLF GXH GLOLJHQFH UHYLHZV DFURVV IDPLOLHV RI
   DFFRXQWV HVSHFLDOO\ IRU DFFRXQWV OLNH 7ULDQJOH RSHUDWLQJ LQ KLJKULVN LQGXVWULHV
   ULIH ZLWK IUDXG  $W RWKHU LQVWLWXWLRQV IROORZLQJ VWDQGDUG EDQNLQJ SUDFWLFHV D
   GHVLJQDWHG DFFRXQW UHSUHVHQWDWLYH VXFK DV WKLV ZRXOG KDYH DGKHUHG WR SURFHGXUHV
   VXFKDVUHTXLULQJYLVLWVWRDQRZQHU¶VSODFHRIEXVLQHVV6XFKGHVLJQDWHGDFFRXQW
   UHSUHVHQWDWLYHV ZRXOG DOVR KDYH EHHQ UHVSRQVLEOH IRU EHLQJ IDPLOLDU ZLWK WKH
   VSHFLILF DFWLYLW\ LQ WKH DFFRXQW DQG LWV SXUSRVH DQG IRU SURYLGLQJ XSGDWHG
   SUHGLFWLRQVRIH[SHFWHGDFWLYLW\LQRUGHUWRIDFLOLWDWHFHQWUDOO\PDQDJHGDXWRPDWHG
   PRQLWRULQJ IRU SRWHQWLDOO\ VXVSLFLRXV DFWLYLW\  %XW DV %ULDQ 3KLOOLSV KDG OHDUQHG
   HDUO\RQ:HOOV)DUJRZDV³WRWDOO\GLIIHUHQW´
            &    :HOOV)DUJR$LGHGDQG$EHWWHG)UDXGXOHQW7UDQVIHUV
             7KHUH LV DGGLWLRQDO HYLGHQFH RI :HOOV )DUJR¶V NQRZOHGJH RI WKH
   VFDPPHUV¶ PRGXV RSHUDQGL  0LOOLRQV RI GROODUV FRQVXPHUV SDLG LQWR WKH YDULRXV
   VKHOOFRPSDQ\DFFRXQWVZHUHGLYHUWHGWRWKHLQGLYLGXDOIUDXGVWHUVWRPDLQWDLQWKHLU
   ODYLVKSHUVRQDOOLIHVW\OHRUWRIXQQHOPRQLHVRXWRIWKH(QWHUSULVHVLQWRUHDOHVWDWH
   DQG LQYHVWPHQWV WKDW WKH\ ZRXOG SXUFKDVH YLD WUXVWV DQG FRUSRUDWLRQV  )RU
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    H[DPSOH LQ -XO\  HPDLOV EHWZHHQ 7ULDQJOH¶V 3KLOOLSV DQG 7LP 0RUJDQ D
    :HOOV)DUJR3ULYDWH0RUWJDJH%DQNHU3KLOOLSVQRWLILHG0RUJDQWKDW3KLOOLSVZRXOG
    UHFHLYHDPLOOLRQZLUHIURP+DUGZLUH DGHIHQGDQWLQWKH)7&FDVH DQGWKHQ
    DVNHG ³ZLOO WKLV PRQH\ QHHG WR EH µVHDVRQHG¶ EHIRUH EHLQJ XVHG IRU D KRXVH
    SXUFKDVH"´
             $VVHWIRUWKKHUHLQ3HLNRVDQGRU%DUQHWWDQG3KLOOLSVFRQWUROOHGWKH
    $SH[DQG7ULDQJOH(QWHUSULVHV ZKLFKDUHQRZ5HFHLYHUVKLS(QWLWLHV DQGGLUHFWHG
    WKHPWRPDNHQXPHURXVWUDQVIHUVRXWRISURFHHGVRIWKHIUDXGWRWKHPVHOYHVDQG
    WKLUGSDUWLHV LQFOXGLQJ:HOOV)DUJR $WWKHWLPHRIHDFKIUDXGXOHQWWUDQVIHUWKH\
   LQWHQGHGWRGHOD\GHIUDXGRUKLQGHUWKHLUFUHGLWRUV PRVWQRWDEO\WKH5HFHLYHUVKLS
   (QWLWLHVXQGHUWKHLUFRQWURO 
            7KURXJK WKH QXPHURXV DFWV LGHQWLILHG KHUHLQ :HOOV )DUJR
   VXEVWDQWLDOO\ DVVLVWHG 3KLOOLSV 3HLNRV DQG %DUQHWW LQ PDNLQJ WKHVH IUDXGXOHQW
   WUDQVIHUV GHVSLWH NQRZLQJ WKDW WKH WUDQVIHUV ZHUH XQODZIXO WKH\ FRQWUROOHG WKH
   5HFHLYHUVKLS (QWLWLHV DQG KDGQRODZIXOFODLP WR IUDXGXOHQWO\REWDLQHGFRQVXPHU
   IXQGV :HOOV )DUJR NQRZLQJO\ WUDQVIHUUHG VKHOO FRPSDQ\ DFFRXQW IXQGV WR RWKHU
   5HFHLYHUVKLS(QWLW\VKHOOFRPSDQ\DFFRXQWVDQGWKHQGLUHFWO\WR3KLOOLSV3HLNRV
   DQGRU%DUQHWWRUWRRWKHUWKLUGSDUWLHV DWWKHGLUHFWLRQRI3KLOOLSV3HLNRVDQGRU
   %DUQHWW  ZLWKRXW WKH VKHOO FRPSDQLHV UHFHLYLQJ D UHDVRQDEO\ HTXLYDOHQW YDOXH LQ
   H[FKDQJH IRU WKH WUDQVIHUV DQG ZKLFK GHSOHWHG WKH VKHOO FRPSDQLHV RI DOO RU
   VXEVWDQWLDOO\DOORIWKHLUDVVHWV
            7KH WUDQVIHUV IURP WKH :HOOV )DUJR DFFRXQWV RI WKH 5HFHLYHUVKLS
   (QWLWLHVWR3KLOOLSV3HLNRV%DUQHWWDQG:HOOV)DUJRFRQVWLWXWHIUDXGXOHQWWUDQVIHUV
   XQGHUWKH&DOLIRUQLD897$DQG8)7$IRUWKHIROORZLQJUHDVRQVDPRQJRWKHUV
            3KLOOLSV3HLNRVDQG%DUQHWWPDGHWKHWUDQVIHUVWRWKHPVHOYHVRUWKLUG
   SDUWLHVZLWKWKHDFWXDOLQWHQWWRKLQGHUGHOD\RUGHIUDXGFRQVXPHUV
            3KLOOLSV 3HLNRV DQG %DUQHWW HQJDJHG LQ WKH IUHHWULDO VFKHPHV
   NQRZLQJWKDWWKHLUDVVHWVDQGWKHDVVHWVRIWKH5HFHLYHUVKLS(QWLWLHVWKH\FRQWUROOHG
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    ZHUHXQUHDVRQDEO\VPDOOFRQVLGHULQJWKDWDOORIWKHDVVHWVZHUHREWDLQHGE\IUDXGV
    RQFRQVXPHUVDQGGLGQRWEHORQJWRWKHP
    3KLOOLSV 3HLNRV DQG %DUQHWW NQHZ WKDW WKURXJK WKHLU IUDXGXOHQW VFKHPHV WKH\
    LQFXUUHG GHEWV WR WKH 5HFHLYHUVKLS (QWLWLHV DQG FRQVXPHUV EH\RQG WKHLUDELOLW\ WR
    SD\7KH\UHWDLQHGSRVVHVVLRQRUFRQWURORIWKHDVVHWVDIWHUWKHWUDQVIHUV
             7KH 5HFHLYHUVKLS (QWLWLHV GLG QRW UHFHLYH D UHDVRQDEO\ HTXLYDOHQW
    YDOXHLQH[FKDQJHIRUWKHWUDQVIHUVIURPWKH:HOOV)DUJRDFFRXQWVEHFDXVH3KLOOLSV
    3HLNRV DQG %DUQHWW GUDLQHG WKH DFFRXQWV IRU WKHLU RZQ SHUVRQDO XVH DQG EHQHILW
    DQG WKH VKHOO FRPSDQLHV DFWHG DV PHUH SDVVWKURXJKV WR DOORZ WKH IUDXGVWHUV WR
   DYRLGGHWHFWLRQE\FUHGLWRUVRIWKHLURZQHUVKLSDQGFRQWURORIWKHIXQGV
            7KH 5HFHLYHUVKLS (QWLWLHV KDG QR DVVHWV RWKHU WKDQ WKH IUDXGXOHQWO\
   REWDLQHGIXQGVEHIRUHRUDIWHUWKHWUDQVIHUV
            7KH WUDQVIHUV WR 3KLOOLSV 3HLNRV DQG %DUQHWW ZHUH DV FRUSRUDWH
   LQVLGHUVRIWKH5HFHLYHUVKLS(QWLWLHV
            7KH WUDQVIHUV DPRQJ DQG IURP WKH :HOOV )DUJR DFFRXQWV ZHUH
   LQWHQGHGWRFRQFHDOWKHWUXHRZQHUVKLSDQGUHFLSLHQWVRIWKHIXQGV
            :KHQWKHWUDQVIHUVZHUHPDGH3KLOOLSV3HLNRVDQG%DUQHWWNQHZWKH\
   ZHUHOLNHO\WREHVXHGIRUWKHLUZURQJGRLQJ
            3KLOOLSV 3HLNRV DQG %DUQHWW UHPRYHG DQG FRQFHDOHG UHFHLSW RI WKH
   FRQVXPHUIXQGVIURPWKH:HOOV)DUJRDFFRXQWVE\WUDQVIHUULQJWKHPWRXQUHODWHG
   XQLGHQWLILHGDQGXQGLVFORVHGSHUVRQDODQGRIIVKRUHDFFRXQWV
            7KH WUDQVIHUV ZHUH RI VXEVWDQWLDOO\ DOO WKH 5HFHLYHUVKLS (QWLWLHV¶
   DVVHWV
            7KH5HFHLYHUVKLS(QWLWLHVZHUHLQVROYHQWRUEHFDPHLQVROYHQWVKRUWO\
   DIWHUWKHWUDQVIHUVZHUHPDGHRUWKHREOLJDWLRQVZHUHLQFXUUHGDQG
            7KH WUDQVIHUV RFFXUUHG VKRUWO\ EHIRUH RU VKRUWO\ DIWHU WKH VXEVWDQWLDO
   GHEWVWRFRQVXPHUVZHUHLQFXUUHG
            'HVSLWHNQRZLQJWKDW3KLOOLSV3HLNRVDQG%DUQHWWKDGQRODZIXOFODLP
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    WR WKH FRQVXPHU IXQGV DQG 3KLOOLSV 3HLNRV DQG %DUQHW ODFNHG WKH DVVHWV WR SD\
    VXFK DPRXQWV EDFN WR WKH 5HFHLYHUVKLS (QWLWLHV :HOOV )DUJR WUDQVIHUUHG VXFK
    FRQVXPHU IXQGV DQG GHSOHWHG WKH 5HFHLYHUVKLS (QWLWLHV¶ DVVHWV ZKLFK DOORZHG
    3KLOOLSV3HLNRVDQGRU%DUQHWWWRUHFHLYHVXFKIXQGVGLUHFWO\
             %DVHGRQWKHDOOHJDWLRQVDERYHWKHVHWUDQVIHUVRI5HFHLYHUVKLS(QWLW\
    IXQGV WR :HOOV )DUJR DQG 3KLOOLSV 3HLNRV DQG %DUQHWW FRQVWLWXWH IUDXGXOHQW
    WUDQVIHUV ZKLFK PXVW EH UHWXUQHG WR WKH 5HFHLYHUVKLS (QWLWLHV  $FFRUGLQJO\ WKH
    5HFHLYHUVHHNVWRUHFRYHUDVIUDXGXOHQWWUDQVIHUVDOO5HFHLYHUVKLS(QWLW\FRQVXPHU
    IXQGV UHFHLYHG E\ :HOOV )DUJR DV ZHOO DV WKRVH IXQGV WUDQVIHUUHG WR 3KLOOLSV
   3HLNRVDQG%DUQHWW
            :HOOV )DUJR NQRZLQJO\ DLGHG DQG DEHWWHG WKH IUDXGXOHQW WUDQVIHUV
   IURPWKH5HFHLYHUVKLS(QWLWLHVXQGHUWKHFRQWURORI3KLOOLSV3HLNRVDQGRU%DUQHWW
   7KLVVXEVWDQWLDODVVLVWDQFHLQFOXGHGWKHIUDXGXOHQWWUDQVIHURIFRQVXPHUIXQGVIURP
   WKH:HOOV)DUJRDFFRXQWVWR3KLOOLSV3HLNRVDQG%DUQHWW
            ,QDGGLWLRQ:HOOV)DUJRDFFHSWHGSD\PHQWVRIFRQVXPHUIXQGVIURP
   5HFHLYHUVKLS(QWLWLHVLQFRQQHFWLRQZLWKVHWWLQJXSDQGPDLQWDLQLQJWKHIUDXGXOHQW
   DFFRXQWV%\FROOHFWLQJIHHVFKDUJHVILQHVUHVHUYHDPRXQWVDQGRWKHUSD\PHQWV
   JHQHUDWHG E\ WKH VKHOO FRPSDQLHV¶ DQG RWKHU 5HFHLYHUVKLS (QWLWLHV¶ SD\PHQW
   SURFHVVLQJ :HOOV )DUJR ZDV DVVHUWLQJ WKDW WKH 5HFHLYHUVKLS (QWLWLHV KDG D YDOLG
   REOLJDWLRQWRPDNHWKHVHSD\PHQWVWR:HOOV)DUJR
            :HOOV )DUJR DV D NQRZLQJ DLGHU DQG DEHWWRU RI WKH IUDXGXOHQW
   VFKHPHV ZDV QRW HQWLWOHG WR UHFHLYH DQG FRXOG QRW WDNH LQ JRRG IDLWK WKHVH
   SD\PHQWV IURP WKH 5HFHLYHUVKLS (QWLWLHV¶ IXQGV GHULYHG IURP SD\PHQWV E\
   GHIUDXGHGFRQVXPHUVLQFRQQHFWLRQZLWKVHWWLQJXSDQGPDLQWDLQLQJWKHIUDXGXOHQW
   DFFRXQWV IRU WKH 5HFHLYHUVKLS (QWLWLHV DQG WKXV FRQVWLWXWH IUDXGXOHQW WUDQVIHUV
   ZKLFKPXVWEHUHWXUQHGWRWKH5HFHLYHUVKLS(QWLWLHV
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              :HOOV )DUJR UHSHDWHGO\ DQG NQRZLQJO\ YLRODWHG EDQNLQJ UXOHV DQG
    UHJXODWLRQVLQLWVDVVLVWDQFHDQGIDFLOLWDWLRQRIWKH$SH[DQG7ULDQJOH(QWHUSULVHV
    ZKLFKLVIXUWKHUHYLGHQFHWKDW:HOOV)DUJRNQHZH[DFWO\ZKDWLWZDVGRLQJWRDVVLVW
    DIUDXG7KHOHQJWKVWRZKLFK:HOOV)DUJRZHQWWRVXEVWDQWLDOO\DLGDQGDEHWWKHVH
    IUDXGXOHQWHQWHUSULVHVLVHYLGHQFHGE\QRWRQO\WKHLUZLOOIXOGLVUHJDUGRIVWDQGDUG
    EDQNLQJ SURFHGXUHV EXW DOVR :HOOV )DUJR¶V FRQWLQXHG YLRODWLRQV RI D GL]]\LQJ
                                                                                  
    DUUD\RIEDQNLQJODZVGHVLJQHGWRSURWHFWDJDLQVWIUDXGDQGPRQH\ODXQGHULQJ 
             7KH%DQN6HFUHF\$FW ³%6$´ PDNHVLWDFULPLQDODFWIRUEDQNVDQG
   RWKHU ILQDQFLDO LQVWLWXWLRQV WR DLG DQG DEHW FULPLQDOV LQ WKH ODXQGHULQJ RI PRQH\
   )LQ&(1 LV WKH IHGHUDO UHJXODWRU\ DJHQF\ UHVSRQVLEOH IRU LVVXLQJ UHJXODWLRQV WR
   FRPEDW PRQH\ ODXQGHULQJ  )LQ&(1 GHILQHV PRQH\ ODXQGHULQJ DV WKH SURFHVV RI
   PDNLQJLOOHJDOO\JDLQHGSURFHHGV i.e.³GLUW\PRQH\´ DSSHDUOHJDO i.e.³FOHDQ´ 
   7\SLFDOO\ LW LQYROYHV WKUHH VWHSV SODFHPHQW OD\HULQJ DQG LQWHJUDWLRQ  )LUVW WKH
   LOOHJLWLPDWH IXQGV DUH LQWURGXFHG LQWR D OHJLWLPDWH ILQDQFLDO V\VWHP SODFHPHQW 
   7KHQ WKH PRQH\ LV PRYHG DURXQG WR FUHDWH FRQIXVLRQ VRPHWLPHV E\ ZLULQJ RU
   WUDQVIHUULQJ WKH IXQGV WKURXJK QXPHURXV DFFRXQWV OD\HULQJ   )LQDOO\ LW LV
   LQWHJUDWHGLQWRWKHILQDQFLDOV\VWHPWKURXJKDGGLWLRQDOWUDQVDFWLRQVXQWLOWKH³GLUW\
                                          
   PRQH\´DSSHDUV³FOHDQ´ LQWHJUDWLRQ  
             8QGHU WKH %6$ EDQNV PXVW FRPSO\ ZLWK FHUWDLQ &XVWRPHU
   ,GHQWLILFDWLRQ3URJUDP &,3 UHTXLUHPHQWVZKHQRSHQLQJQHZDFFRXQWVLQFOXGLQJ
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   3ODLQWLIILVQRWEULQJLQJDQ\FODLPVIRUYLRODWLQJWKH%DQN6HFUHF\$FWRUUHODWHG
     UHJXODWLRQV QRU LV KH DOOHJLQJ WKDW DQ H[SUHVV RU LPSOLHG GXW\ DURVH WR 3ODLQWLII
   EDVHGRQ:HOOV)DUJR¶V%6$YLRODWLRQV:HOOV)DUJR¶VGXWLHVGLUHFWO\DURVHWRWKH
     5HFHLYHUVKLS(QWLWLHVDV:HOOV)DUJR¶VFXVWRPHUV
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         See ³+LVWRU\ RI $QWL0RQH\ /DXQGHULQJ /DZV´ )LQ&(1 available at
   KWWSVZZZILQFHQJRYKLVWRU\DQWLPRQH\ODXQGHULQJODZV
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    PDLQWDLQLQJDFFRXQWRSHQLQJSURFHGXUHVGHWDLOLQJWKHLGHQWLI\LQJLQIRUPDWLRQWKDW
    PXVW EH REWDLQHG IURP HDFK FXVWRPHU  $V DQ HVWDEOLVKHG QDWLRQZLGH EDQNLQJ
    V\VWHP:HOOV)DUJRDQGLWVEDQNHUVNQHZZKDWWKHVHUHTXLUHPHQWVZHUH
                6HFWLRQ  RI WKH 86$ 3$75,27 $FW ZDV HQDFWHG IROORZLQJ WKH
     WHUURULVW DWWDFNV DQG MRLQWO\ LPSOHPHQWHG E\ WKH IHGHUDO EDQNLQJ UHJXODWRUV
    UHTXLUHV WKDW EDQNV WR PHHW PLQLPXP VWDQGDUGV ZLWK UHJDUG WR FROOHFWLRQ RI WKH
    QDPH DGGUHVV GDWH RI ELUWK DQG WD[ LGHQWLILFDWLRQ QXPEHU RU RWKHU PHDQV RI
    SRVLWLYHLGHQWLILFDWLRQIRUDOOFXVWRPHUVIRUZKLFKLWRSHQVDQDFFRXQW
                $ FLUFXODU LVVXHG MRLQWO\ E\ WKH WKHQ IRXU IHGHUDO EDQN UHJXODWRU\
   DJHQFLHVMRLQLQJZLWK)LQ&(1DQGWKH'HSDUWPHQWRI7UHDVXU\VWDWHGWKDW
           
  
           ³DEDQN¶V&,3PXVWLQFOXGHULVNEDVHGSURFHGXUHVIRUYHULI\LQJWKHLGHQWLW\
         RIHDFKFXVWRPHUWRWKHH[WHQWUHDVRQDEOHDQGSUDFWLFDEOH. It is critical that
         each bank develop procedures to account for all relevant risks including
           those presented by the types of accounts maintained by the bank, WKH
         YDULRXV PHWKRGV RI RSHQLQJ DFFRXQWV SURYLGHG WKH W\SH RI LGHQWLI\LQJ
         LQIRUPDWLRQDYDLODEOHDQGWKHEDQN¶VVL]HORFDWLRQDQGW\SHRIEXVLQHVVRU
           FXVWRPHUEDVHThus, specific minimum requirements in the rule, such as
         the four basic types of information to be obtained from each customer,
         should be supplemented by risk-based verification procedures, where
           appropriate, to ensure that the bank has a reasonable belief that it knows
         each customer’s identity. (PSKDVLVDGGHG 
         
                 $GGLWLRQDOO\ :HOOV )DUJR ZDV UHTXLUHG DV D SDUW RI IHGHUDOO\
  
       PDQGDWHGDFFRXQWRSHQLQJSURFHVVWRXQGHUVWDQGWKHEXVLQHVVDFFRXQWXVH ³.QRZ
  
       <RXU&XVWRPHU´ DQGWRDGGH[WUDVWHSVLQGXHGLOLJHQFHHVSHFLDOO\ZKHUHDVZDV
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       WKHFDVHZLWKERWK7ULDQJOHDQG$SH[KLJKULVNH[LVWHG&XVWRPHU'XH'LOLJHQFH
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           ³&''´ DQG(QKDQFHG'XH'LOLJHQFH ³(''´ 
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       H[SHFWHG E\ EDQNV RI :HOOV )DUJR¶V VL]H  WR SURYLGH LWV EUDQFK HPSOR\HHV ZLWK
  
       WDLORUHGWUDLQLQJRQKRZWRFRPSO\ZLWKWKHVHODZVDQGUHJXODWLRQVLQFOXGLQJKRZ
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       UHFRJQL]HDQGHVFDODWHVXVSLFLRXVDFWLYLW\LQWKHLUUROHV
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             :HOOV )DUJR ZDV UHTXLUHG WR WUDLQ LWV HPSOR\HHV RQ KRZ WR FRPSO\
    ZLWKWKH%6$DQG86$3$75,27$FWLQFOXGLQJEXWQRWOLPLWHGWR
              
   
           x 7KH LPSRUWDQFH RI JHWWLQJ DFFXUDWH LGHQWLW\ LQIRUPDWLRQ DQG EHQHILFLDO
             RZQHULGHQWLILFDWLRQ
              
   
           x 7KH DELOLW\ WR LGHQWLI\ DQG DFW XSRQ UHG IODJV IRU VXVSLFLRXV DFWLYLW\
             LQFOXGLQJEXWQRWOLPLWHGWR
              
                o 6XVSLFLRXVGHVLJQDWLRQRIEHQHILFLDULHVDVVLJQHHVRUMRLQWRZQHUV
                o 6XVSLFLRXVXVHRIPXOWLSOHDFFRXQWV
                 o 7UDQVDFWLRQVRXWRISDWWHUQIRUWKHFXVWRPHURUEXVLQHVVVLWXDWLRQ
   
                 o 7UDQVDFWLRQVWKDWGRQ¶WPDNHHFRQRPLFVHQVH
                   
           x 8QGHUVWDQGLQJRIYDULRXVW\SHVRIDFWLYLW\WKDWUHTXLUHUHSRUWLQJLQDQXPEHU
  
              RIFDWHJRULHVLQFOXGLQJ
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                  o )UDXGLQFOXGLQJ
                       HFUHGLWGHELWFDUG
                       KPDVVPDUNHWLQJ
                         LS\UDPLGVFKHPH
                         
                o 0RQH\/DXQGHULQJ
                         GVXVSLFLRXV GHVLJQDWLRQ RI EHQHILFLDULHV DVVLJQHHV RU MRLQW
                         RZQHUV
                       KVXVSLFLRXVXVHRIPXOWLSOHDFFRXQWV
                         OWUDQVDFWLRQVRXWRISDWWHUQIRUFXVWRPHUV
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                o ,GHQWLILFDWLRQ'RFXPHQWDWLRQ
            7KHUHJXODWRU\UHTXLUHPHQWVXQGHUWKH%6$SODFHGFHQWUDOLPSRUWDQFH
   RQYLJLODQWO\PRQLWRULQJWRLGHQWLI\DQGYHULI\FXVWRPHUVDQGEHQHILFLDORZQHUVWR
   XQGHUVWDQGWKHQDWXUHDQGSXUSRVHRIFXVWRPHUUHODWLRQVKLSVWRGHYHORSDQDFFXUDWH
   FXVWRPHU ULVN SURILOH DQG WR XQGHUWDNH RQJRLQJ PRQLWRULQJ IRU UHSRUWLQJ
   VXVSLFLRXVWUDQVDFWLRQVDQGWRPDLQWDLQDQGXSGDWHFXVWRPHULQIRUPDWLRQ
            ,Q D EUDQFK V\VWHP OLNH :HOOV )DUJR PDLQWDLQHG WKH EUDQFK
   HPSOR\HHV ZHUH UHTXLUHG WR KDYH D FHQWUDO UROH LQ FRPSO\LQJ ZLWK WKH ODZ DQG
   UHODWHG UHJXODWLRQV  $PRQJ RWKHU WKLQJV EUDQFK HPSOR\HHV ZHUH W\SLFDOO\ WKH
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    SULPDU\VRXUFHRIUHSRUWLQJVXVSLFLRXVDFWLYLW\XSWKHFKDLQZLWKLQ:HOOV)DUJRWR
    HQDEOH WKH EDQN WR GHWHUPLQH ZKHWKHU LW QHHGHG WR WDNH VWHSV WR IXOILOO LWV
    REOLJDWLRQVWRUHSRUWVXFKDFWLYLW\H[WHUQDOO\ WR)LQ&(1 :HOOV)DUJRURXWLQHO\
    IDLOHGWRIROORZWKHUHTXLUHPHQWVRI%6$$0/&,3IRU$SH[DQG7ULDQJOH:HOOV
    )DUJR¶V&RPPXQLW\%DQNJDYHLWVEUDQFKHVZLGHGLVFUHWLRQDQGGHILFLHQWRYHUVLJKW
    LQSHUIRUPLQJWKHVHWDVNVZKLOHDWWKHVDPHWLPHLQFHQWLYL]LQJEUDQFKHPSOR\HHV
    WRRSHQDFFRXQWVDQGFURVVVHOOXQGHUDKLJKSUHVVXUHTXRWDV\VWHP
             $V H[DPSOHV :HOOV )DUJR NQRZLQJO\ DOORZHG DFFRXQWV WR KDYH
    LQFRUUHFWDGGUHVVHVDQGXVHLGHQWLFDO:\RPLQJ PDLOGURSV LQWKHFDVHRI$SH[ 
   ,QVWHDG RI LGHQWLI\LQJ DQG YHULI\LQJ DFWXDO EHQHILFLDO RZQHUV RI WKH VKHOO
   FRPSDQLHV :HOOV )DUJR NQHZ WKDW DFWXDO RZQHUV ZHUH GLIIHUHQW IURP WKH OLVWHG
   RZQHUV DQG XQGHUWRRN DQ\ QXPEHU RI VWHSV WR PDVN RU SDSHU RYHU VXFK
   LQFRQVLVWHQFLHV
            :HOOV)DUJRGHOLEHUDWHO\IDLOHGWRFRPSLOHDQDGHTXDWHFXVWRPHUULVN
   SURILOH IRU DOO RI WKH VKHOO FRPSDQLHV  ,I WKH %DQN KDG XVHG FRPPHUFLDOO\
   UHDVRQDEOHULVNDVVHVVPHQWWHFKQLTXHVLWZRXOGQHYHUKDYHRSHQHGWKHVHDFFRXQWV
   RUZRXOGKDYHLPPHGLDWHO\FORVHGWKHDFFRXQWVDIWHULWSURFHVVHGWUDQVDFWLRQVWKDW
   ZHUHFOHDUO\VXVSLFLRXV
            )XUWKHU :HOOV )DUJR NQHZ WKDW $SH[ DQG 7ULDQJOH VKHOO FRPSDQLHV
   ZHUHURXWLQHO\H[HFXWLQJVXVSLFLRXVWUDQVDFWLRQVXVLQJWKHLU:HOOV)DUJRDFFRXQWV
   VXFK DV WUDQVIHUULQJ IXQGV EHWZHHQ DFFRXQWV DQG WR H[WHUQDO DFFRXQWV LQ ³URXQG´
   GROODUDPRXQWV²WKDWLVURXQGQXPEHUVZLWK]HURVRQWKHHQG e.g. $Q
   DEXQGDQFH RI ³URXQG´ GROODU WUDQVDFWLRQV ZKLFK WKH $SH[ DQG 7ULDQJOH VKHOO
   FRPSDQLHVFHUWDLQO\KDG LVLQGLFDWLYHRIPRQH\ODXQGHULQJDQGKDVEHHQUHIHUUHG
   WRDV³DILQJHUSULQWRIIUDXG´See1LJULQL0DUN-³5RXQGQXPEHUV$ILQJHUSULQW
   RI IUDXG´ -RXUQDO RI $FFRXQWDQF\              0D\    available          at
   KWWSVZZZMRXUQDORIDFFRXQWDQF\FRPLVVXHVPD\IUDXGURXQG
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             $V HYHQ WKH PRVW FXUVRU\ UHYLHZV RI PRQWKO\ DFFRXQW VWDWHPHQWV
    PDGHDEXQGDQWO\FOHDU:HOOV)DUJRZDVZHOODZDUHRIWKH$SH[DQG7ULDQJOHVKHOO
    FRPSDQLHV¶ KLJK FKDUJHEDFN UDWHV ZKLFK ZHUH ZHOO LQ H[FHVV RI WKH SHUPLWWHG
    FKDUJHEDFNUDWHVXQGHU9LVD0DVWHUFDUGUXOHVIRUKLJKULVNPHUFKDQWV
             5HJDUGOHVV RI WKH YDQWDJH SRLQW IURP ZKLFK WKH $SH[ DQG 7ULDQJOH
    (QWHUSULVHV DUH YLHZHG :HOOV )DUJR NQHZ WKDW WKH\ ZHUH KLJKULVN UHODWLRQVKLSV
    DQG DFFRXQWV IRU PXOWLSOH UHDVRQV  $V VXFK :HOOV )DUJR NQHZ WKDW WKH\ ZHUH
    UHTXLUHG WR FODVVLI\ WKH IDPLO\ RI $SH[ DQG 7ULDQJOH DFFRXQWV DV KLJK ULVN IRU
    PLVXVH DQG DV VXFK VXEMHFW WKHP WR KHLJKWHQHG RYHUVLJKW DQG HQKDQFHG GXH
   GLOLJHQFH
            )XUWKHU :HOOV )DUJR ZDV ZHOO DZDUH WKDW $SH[ DQG 7ULDQJOH ZHUH
   FODVVLILHG DV KLJK ULVN E\ PHUFKDQW SURFHVVRUV LQFOXGLQJ :HOOV )DUJR¶V RZQ
   PHUFKDQW SURFHVVLQJ JURXS  7KLV SURYLGHG \HW DQRWKHU UHDVRQ IRU DFWLYH
   PRQLWRULQJRIWKHVHDFFRXQWVE\&RPPXQLW\%DQNHPSOR\HHVDQGEUDQFKHV
            ,QGHHG WKH %DQN¶V YHU\ RZQ 0HUFKDQW 3URFHVVLQJ $JUHHPHQW DQG
   &UHGLW5LVN*XLGHOLQHVFRQILUPWKHPDQ\ULVNVFUHDWHGE\EXVLQHVVHVOLNH$SH[DQG
   7ULDQJOH 7KH 3URFHVVLQJ $JUHHPHQW VSHFLILFDOO\ SURKLELWV WKH VROLFLWDWLRQ RI
   PHUFKDQWV HQJDJHG LQ FHUWDLQ XQDFFHSWDEOH EXVLQHVV SUDFWLFHV EHFDXVH WKH\ ZHUH
   SUHVXPSWLYHO\ LOOHJDO YLRODWHG FDUG DVVRFLDWLRQ UXOHV RU FUHDWHG H[FHVVLYH ULVN
   H[SRVXUH 7KH SURKLELWHG FDWHJRULHV LQFOXGHG IRU H[DPSOH GHEW FRQVROLGDWLRQ
   VHUYLFHV*HW5LFK4XLFN2SSRUWXQLWLHVDQGDQ\PHUFKDQWHQJDJHGLQDQ\IRUPRI
   GHFHSWLYHPDUNHWLQJSUDFWLFHV
            :HOOV )DUJR DOVR SURKLELWHG WKH VROLFLWDWLRQ RI PHUFKDQWV
   VHOOLQJQXWUDFHXWLFDOVWKURXJKIUHHWULDORIIHUVXQOHVVVSHFLILFDOO\SUHDSSURYHGE\
   :HOOV )DUJR  $QG ZKHQ :HOOV )DUJR SHULRGLFDOO\ HYDOXDWHG DQG RQ VHYHUDO
   RFFDVLRQVUHYLHZHGFRPSOHWHGDSSOLFDWLRQVIRUWKH$SH[DQG7ULDQJOH(QWHUSULVHV
   :HOOV )DUJR GHFOLQHG WR SURYLGH PHUFKDQW SURFHVVLQJ   7KH H[FHSWLRQ ZDV WKH
   VPDOO DPRXQW 7ULDQJOH OHJDF\ PHUFKDQW SURFHVVLQJ WKURXJK D WKLUG SDUW\ ZKLFK
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    DSSDUHQWO\VWD\HGEHORZ:HOOV)DUJR¶VUDGDUIRU\HDUV±HLWKHUE\PLVWDNHRUSROLF\
    GHVLJQ 
              :HOOV )DUJR¶V &UHGLW 5LVN *XLGHOLQHV WKH ³*XLGHOLQHV´  UHTXLUH
    WKDWPHUFKDQWVEHVFUXWLQL]HGIRUHYLGHQFHRIGHFHSWLYHPDUNHWLQJSUDFWLFHVDQGLI
    IRXQGLPPHGLDWHO\FRPSHOWKHPHUFKDQWWRHOLPLQDWHWKHVHSUDFWLFHVRUWHUPLQDWH
    WKH PHUFKDQW  7KH *XLGHOLQHV SURYLGH QXPHURXV H[DPSOHV RI FRPPRQ ZDUQLQJ
    VLJQV RI SRWHQWLDO GHFHSWLYH PDUNHWLQJ SUDFWLFHV DOPRVW DOO RI ZKLFK WKH
    (QWHUSULVHV HPSOR\HG 7KHVH LQFOXGHQHJDWLYH RSWLRQV DQG LQGXVWULHV ZKHUH
    GHFHSWLYHPDUNHWLQJSUDFWLFHVZHUHSUHYDOHQWVXFKDVQXWUDFHXWLFDOV)XUWKHUWKH
   *XLGHOLQHV VSHFLILFDOO\ ZDUQ DERXW PHUFKDQWV RSHQLQJ PXOWLSOH DFFRXQWV
   SDUWLFXODUO\ YLD PXOWLSOH VKHOO FRPSDQLHV ZLWK WKH VDPH RU VLPLODU SULQFLSDOV LQ
   VRPH FDVHV KLUHG ³PXOHV´ ZLWK OLWWOH RU QR EXVLQHVV LQYROYHPHQW ZKLFK PD\ EH
   VXEPLWWHGWRREVFXUHWKHWUXHRZQHUVKLS 
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             (YLGHQFH RI :HOOV )DUJR¶V H[HFXWLYHV¶ SUHVVXUH RQ PDQDJHUV DQG
   HPSOR\HHV WR SDUWLFLSDWH LQ WKH IUDXGXOHQW PLVFRQGXFW DOOHJHG KHUHLQ DOVR LV VHW
   IRUWK LQ QXPHURXV JRYHUQPHQWDO DQG SULYDWH ODZVXLWV ,Q WKH 6(&¶V FRPSODLQW
   DJDLQVW &DUULH / 7ROVWHGW 6HQLRU ([HFXWLYH 9LFH 3UHVLGHQW RI &RPPXQLW\
   %DQNLQJ IRU :HOOV )DUJR ILOHG RQ 1RYHPEHU   WKH 6(& DOOHJHG WKDW IRU
   VHYHUDO \HDUV XQWLO PLG :HOOV )DUJR RSHQHG PLOOLRQV RI DFFRXQWV RU VROG
   SURGXFWVWKDWZHUHXQDXWKRUL]HGRUIUDXGXOHQWDQGRWKHUVWKDWZHUHXQQHHGHGDQG
   XQZDQWHGE\UHWDLOEDQNLQJFXVWRPHUV
             7KH &RPPXQLW\ %DQN ZKLFK 7ROVWHGW OHG IURP  WKURXJK PLG
   ZDVUHVSRQVLEOHIRUPDQDJLQJWKHODUJHQHWZRUNRIEDQNEUDQFKHVUHIHUUHG
   WR ZLWKLQ :HOOV )DUJR DV ³VWRUHV´ DV ZHOO DV RWKHU VDOHV FKDQQHOV WKURXJK ZKLFK
   :HOOV)DUJRRIIHUHGLWVSURGXFWV7KHEUDQFKHVHPSOR\HGDPRQJRWKHUVEDQNHUV
   ZKR ZHUH JHQHUDOO\ UHVSRQVLEOH IRU RIIHULQJ DFFRXQWV DQG ILQDQFLDO SURGXFWV RU
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    VHUYLFHVWRFXVWRPHUV7KHEDQNHUVUHSRUWHGXSWKURXJKPDQDJHUVRIWKHEUDQFKHV
    WR 5HJLRQDO %DQN ([HFXWLYHV ZKR UHSRUWHG WR 7ROVWHGW ,Q DGGLWLRQ WKH SHUVRQV
    ZKR PDQDJHG WKH YDULRXV JURXSV RUJDQL]HG DURXQG SURGXFWV WKDW WKH &RPPXQLW\
    %DQNRIIHUHGDOVRUHSRUWHGXSWR7ROVWHGW
             7KH &RPPXQLW\ %DQN DOVR KDG ILQDQFLDO DQG ULVN RIILFHUV ZKR
    UHSRUWHGWR7ROVWHGWDQGDVVHVVHGWKH&RPPXQLW\%DQN¶VEXVLQHVVSURJUHVVDQGLWV
    ULVNV7KRVHSHUVRQVSURYLGHGLQIRUPDWLRQWRWKHILQDQFLDODQGULVNRIILFHUVIRUWKH
    &RPSDQ\ RYHUDOO RIWHQ DIWHU ILUVW GLVFXVVLQJ WKH LQIRUPDWLRQ ZLWK 7ROVWHGW ,Q
    DGGLWLRQ DW OHDVW TXDUWHUO\ 7ROVWHGW PHW ZLWK WKH &(2 DQG IUHTXHQWO\ RWKHUV  WR
   GLVFXVVWKHEXVLQHVVRIWKH&RPPXQLW\%DQNDQGWRPDNHVWUDWHJLFSODQV
            'XULQJWKH5HOHYDQW3HULRG:HOOV)DUJR¶V&(2DQGRWKHUKLJKOHYHO
   H[HFXWLYHVDQGGLUHFWRUVRIWKH%DQNHQFRXUDJHGHPSOR\HHVWRGHOLEHUDWHO\LJQRUH
   LQGLFLD RI IUDXG LI LW KHOSHG WKH %DQN¶V ERWWRP OLQH²LQVWUXFWLRQV ZKLFK OHG WR
   :HOOV)DUJRDQGLWVHPSOR\HHVDLGLQJDQGDEHWWLQJWKH(QWHUSULVHVFKHPHV
            2WKHU KLJKHUOHYHO HPSOR\HHV DQG DJHQWV RI :HOOV )DUJR LQ WKH
   &RPPXQLW\%DQNEUDQFKHVHQFRXUDJHGDQGLQVWUXFWHGWKHLUEDQNHUVDQGHPSOR\HHV
   WRGRWKHVDPH7KHVHKLJKHUOHYHOHPSOR\HHVDQGDJHQWVLQFOXGHG
           x     'DYLG+DQQLJZKRZDVDQ$VVLVWDQW9LFH3UHVLGHQWDQG%XVLQHVV
                    6DOHV&RQVXOWDQWIRU:HOOV)DUJR0HUFKDQW6HUYLFHVDQGZKRZRUNHG
                  GLUHFWO\ZLWK$SH[¶V%DUQHWW3HLNRV&DPDFKRDQG&DUU
           x     /HD:DONHUZKRZDVD%XVLQHVV6SHFLDOLVWDQGVXEVHTXHQWO\DQ
                    $VVLVWDQW9LFH3UHVLGHQWDW:HOOV)DUJRLQWKH.HOOHU7;EUDQFK 
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                    7ULDQJOH¶V3KLOOLSV
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             x     +DLPDQ$OEDQDZKRZDVD%XVLQHVV5HODWLRQVKLS0DQDJHUDW:HOOV
                  )DUJRDVVRFLDWHGLQWKH(VFRQGLGR&$EUDQFK /D7HUUD]D
                    %RXOHYDUG6XLWH(VFRQGLGR&$ DQGZKRZRUNHG
                  GLUHFWO\ZLWK7ULDQJOH¶V3KLOOLSVDQG
           x     %ULDQ&RUGLQJZKRZDVD6HQLRU%XVLQHVV5HODWLRQVKLS0DQDJHUDW
                    :HOOV)DUJRDVVRFLDWHGZLWKWKH(VFRQGLGR&$EUDQFK /D
                  7HUUD]D%RXOHYDUG6XLWH(VFRQGLGR&$ DQGZKR
                    ZRUNHGGLUHFWO\ZLWK7ULDQJOH¶V3KLOOLSV
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    DFWHGLQFROODERUDWLRQDQGFROOXVLRQZLWK$SH[DQG7ULDQJOHLQIXUWKHUDQFHRIWKH
    XQODZIXOVFKHPHV:HOOV)DUJRDXWKRUL]HGRUUDWLILHGWKHDFWVRIWKHVHHPSOR\HHV
    DVDOOHJHGKHUHLQ
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             $OOHJDWLRQV PDGH LQ WKLV &RPSODLQW DUH EDVHG RQ LQIRUPDWLRQ DQG
    EHOLHI H[FHSW WKRVH DOOHJDWLRQV WKDW SHUWDLQ GLUHFWO\ WR WKH 5HFHLYHU ZKLFK DUH
    EDVHGRQKLVSHUVRQDONQRZOHGJH7KH5HFHLYHU¶VLQIRUPDWLRQDQGEHOLHILVEDVHG
    RQ inter alia, WKH LQYHVWLJDWLRQ DQG UHYLHZ RI SXEOLFO\ ILOHG GRFXPHQWV DQG IURP
    WKH5HFHLYHUDSSRLQWHGLQWKH)7&DFWLRQVGHVFULEHGDERYHDQGKLVDWWRUQH\V(DFK
   DQG HYHU\ DOOHJDWLRQ DQG IDFWXDO FRQWHQWLRQ FRQWDLQHG LQ WKLV &RPSODLQW KDV
   HYLGHQWLDU\ VXSSRUW RU DOWHUQDWLYHO\ LV OLNHO\ WR KDYH HYLGHQWLDU\ VXSSRUW DIWHU
   UHDVRQDEOHRSSRUWXQLW\IRUIXUWKHULQYHVWLJDWLRQRUGLVFRYHU\E\WKH5HFHLYHURUKLV
   FRXQVHO
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            )LUVW DQG IRUHPRVW WKH 5HFHLYHU¶V GLVFRYHU\ RI WKH 5HFHLYHUVKLS
   (QWLWLHV¶FODLPVDJDLQVW:HOOV)DUJRZDVLPSRVVLEOHXQWLOKLVDSSRLQWPHQWSULRUWR
   WKDW WKH 5HFHLYHUVKLS (QWLWLHV ZHUH FRQWUROOHG E\ 3KLOOLSV %DUQHWW DQG 3HLNRV
   ZKLFKPDGHGLVFRYHU\RIWKHLUZURQJGRLQJLPSRVVLEOH7KHVWDWXWHVRIOLPLWDWLRQV
   ZHUHWROOHGXQWLOWKHWLPHRIWKH5HFHLYHU¶VDSSRLQWPHQW
            7KH VWDWXWHV RI OLPLWDWLRQV ZHUH WROOHG SDVW WKDW SRLQW KRZHYHU
   EHFDXVH WKH 5HFHLYHU GLG QRW DQG FRXOG QRW KDYH  GLVFRYHUHG WKH IUDXG
   LPPHGLDWHO\XSRQKLVDSSRLQWPHQW7KH5HFHLYHURQO\GLVFRYHUHG:HOOV)DUJR¶V
   PLVFRQGXFWUHODWHGWRWKH$SH[DQG7ULDQJOH(QWHUSULVHVLQ7KHUHZHUHWZR
   SULPDU\UHDVRQVIRUWKLV  :HOOV)DUJRWRRNVWHSVWRFRQFHDOLWVUROHLQWKH$SH[
   DQG7ULDQJOHIUDXGVDQG  WKH5HFHLYHUGLGQRWUHFHLYHUHVSRQVHVWRVXESRHQDVLW
   LVVXHG WR :HOOV )DUJR XQWLO -XQH DQG -XO\ RI  EHIRUH ZKLFK WKHUH ZDV
   LQVXIILFLHQWGRFXPHQWDU\HYLGHQFHIRUWKH5HFHLYHUWRGLVFRYHUWKHFODLPV2QFH
   WKH5HFHLYHUDQGKLVFRXQVHOKDGWKHGRFXPHQWVLQKDQGWKH\ZHUHILQDOO\DEOHWR
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    SLHFHWRJHWKHU:HOOV)DUJR¶VUROHLQIDFLOLWDWLQJWKH$SH[DQG7ULDQJOHIUDXGVDQG
    WRFRQILUPWKDWWKH%DQNNQHZRIWKHIUDXGXOHQWQDWXUHRIWKH$SH[DQG7ULDQJOH
                 
    (QWHUSULVHV 
             %HFDXVH RI 3KLOOLSV¶V 3HLNRV¶V DQG %DUQHWW¶V HIIRUWV WR FRQFHDO WKH
    $SH[DQG7ULDQJOHIUDXGVIURPFRQVXPHUVDORQJZLWKWKHUROH:HOOV)DUJRSOD\HG
    LQ WKRVH IUDXGV :HOOV )DUJR LV HVWRSSHG IURP FRQWHQGLQJ WKDW DQ\ RI WKH
    5HFHLYHU¶VFODLPVDUHEDUUHGE\DSSOLFDEOHVWDWXWHVRIOLPLWDWLRQV
    ;,, &$86(62)$&7,21
                                      )LUVW&DXVHRI$FWLRQ
                                 $LGLQJDQG$EHWWLQJ)UDXG 
            7KH5HFHLYHUUHSHDWVDQGUHDOOHJHVWKHDOOHJDWLRQVRIHDFKDQGHYHU\
   RQHRIWKHSULRUSDUDJUDSKVLQFOXVLYHDVLIIXOO\VHWIRUWKKHUHLQ
            3KLOOLSV 3HLNRV DQG %DUQHWW YLD WKH $SH[ DQG 7ULDQJOH (QWHUSULVHV
   RSHUDWHGRQOLQH³IUHHWULDO´VFDPVZKLFKIDOVHO\DGYHUWLVHGWKDWFRQVXPHUVZRXOG
   RQO\EHFKDUJHGWKHFRVWRIVKLSSLQJLQH[FKDQJHIRUDWULDORIDSURGXFW,QUHDOLW\
   WKHFRQVXPHUVZHUHEHLQJVLJQHGXSIRUDVXEVFULSWLRQVHUYLFHDQGFKDUJHGIRUWKH
   IXOOSULFHRIWKHSURGXFWRQWKHQH[WELOOLQJF\FOHXQOHVVWKH\DIILUPDWLYHO\FDQFHOHG
   WKHVXEVFULSWLRQ
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   HQJDJHGLQDKLJKULVNIUDXGXOHQWEXVLQHVVDQG:HOOV)DUJRNQHZWKDWWKH\ZHUH
   UHTXLUHG WR WHUPLQDWH RU IXUWKHU LQYHVWLJDWH WKDW EXVLQHVV SXUVXDQW WR WKH %6$
   )LQ&(1 UHJXODWLRQV DQG WKHLU RZQ LQWHUQDO SROLFLHV 0XOWLSOH :HOOV )DUJR
   HPSOR\HHV DFURVV PXOWLSOH EUDQFKHV GHOLEHUDWHO\ WXUQHG D EOLQG H\H WR WKH $SH[
   DQG7ULDQJOHIUDXGVEHFDXVHWKHODUJHQXPEHURIDFFRXQWVQHHGHGE\WKH$SH[DQG
   7ULDQJOH (QWHUSULVHV KHOSHG WKHP WR PHHW RWKHUZLVHXQDWWDLQDEOH VDOHV TXRWDV VHW
   
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         7KH 5HFHLYHU GLG QRW ILOH XQWLO QRZ SXUVXDQW WR D 7ROOLQJ $JUHHPHQW ZLWK
   'HIHQGDQWV
                                                                    &DVH1RBBBBBBBBBBB
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    E\ :HOOV )DUJR¶V FRUSRUDWH KHDGTXDUWHUV  :HOOV )DUJR¶V FRUSRUDWH SROLFLHV
    HQFRXUDJHG VDOHV PLVFRQGXFW E\ VHWWLQJ XQUHDOLVWLF VDOHV JRDOV DQG UHTXLULQJ
    EDQNHUVWRRSHQDVPDQ\DFFRXQWVDQGWRVHOODVPDQ\VHUYLFHVDQGEDQNSURGXFWV
    DVSRVVLEOH
              :HOOV )DUJR SURYLGHG VXEVWDQWLDO DVVLVWDQFH WR WKH LQWHQWLRQDO WRUWV
    FRPPLWWHG E\ WKH SULPDU\ ZURQJGRHUV E\ DPRQJ RWKHU WKLQJV FUHDWLQJ DFFRXQWV
    IRU VKHOO FRPSDQLHV XVHG E\ WKH $SH[ DQG 7ULDQJOH (QWHUSULVHV WR VHFXUH FULWLFDO
    PHUFKDQWSURFHVVLQJVHUYLFHVDVVLVWLQJWKH$SH[DQG7ULDQJOHSULQFLSDOVLQKLGLQJ
    WKHLU RZQHUVKLS RI WKRVH DFFRXQWV IURP WKH PHUFKDQW SURFHVVRUV VR WKDW WKH
   SULQFLSDOVFRXOGFRQWLQXHWRVHFXUHPHUFKDQWSURFHVVLQJVHUYLFHVIRUWKHXQGHUO\LQJ
   IUDXGDQGDOORZLQJ$SH[DQG7ULDQJOHWRODXQGHUPRQH\REWDLQHGIURPGHIUDXGHG
   FRQVXPHUVWKURXJKWKHLU:HOOV)DUJRDFFRXQWV
             7KHVXEVWDQWLDODVVLVWDQFHWKDW:HOOV)DUJRSURYLGHGWRWKH$SH[DQG
   7ULDQJOH IUDXGV SUR[LPDWHO\ FDXVHG VXEVWDQWLDO GDPDJHV WR WKH 5HFHLYHUVKLS
   (QWLWLHV LQ DQ DPRXQW WR EH SURYHQ DW WULDO  7KHVH GDPDJHV LQFOXGH EXW DUH QRW
   OLPLWHG WR WKH IHHV FKDUJHG E\ :HOOV )DUJR IRU WKHLU EDQNLQJ VHUYLFHV ZKLFK
   GLUHFWO\ IXUWKHUHG WKH IUDXGXOHQW VFKHPHV DQG GHSOHWHG WKH IXQGV RI WKH
   5HFHLYHUVKLS (QWLWLHV WKH 5HFHLYHUVKLS (QWLWLHV¶ OHJDO REOLJDWLRQV WR VDWLVI\ WKH
   )7& -XGJPHQWV ZKLFK UHTXLUH WKH 5HFHLYHUVKLS (QWLWLHV WR PDNH ZKROH WKH
   FRQVXPHUV ZKR ZHUH GHIUDXGHG DV D UHVXOW RI WKH $SH[ DQG 7ULDQJOH IUDXGV WKDW
   :HOOV )DUJR IDFLOLWDWHG DOO IHHV DQG FRVWV QHFHVVLWDWHG E\ WKH QHHG WR HVWDEOLVK D
   5HFHLYHUVKLS DQG WKH FRVWV RI GHIHQGLQJ WKH DFWLRQ E\ WKH )7& LQFOXGLQJ WKH
   UHVXOWLQJ5HFHLYHUVKLSV 
             :HOOV)DUJR¶VFRQGXFWZDVLQWHQWLRQDOIUDXGXOHQWZLOOIXOPDOLFLRXV
   DQG LQWHQGHG WR LQMXUH WKH 5HFHLYHUVKLS (QWLWLHV E\ YLUWXH RI ZKLFK WKH 5HFHLYHU
   SUD\VIRUDQDZDUGRIH[HPSODU\DQGSXQLWLYHGDPDJHV
                                      6HFRQG&DXVHRI$FWLRQ
                                  &RQVSLUDF\WR&RPPLW)UDXG 
                                                                       &DVH1RBBBBBBBBBBB
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             7KH5HFHLYHUUHSHDWVDQGUHDOOHJHVWKHDOOHJDWLRQVRIHDFKDQGHYHU\
    RQHRIWKHSULRUSDUDJUDSKVLQFOXVLYHDVLIIXOO\VHWIRUWKKHUHLQ
             3KLOLSV3HLNRVDQG%DUQHWWHQJDJHGLQWKHSULPDU\ZURQJVGHVFULEHG
    KHUHLQ
             :HOOV )DUJR HQWHUHG LQWR D FRQVSLUDF\ ZLWK 3KLOOLSV %DUQHWW DQG
    3HLNRV WR SHUSHWXDWH WKHLU IUDXGV  :HOOV )DUJR DJUHHG WR DVVLVW WKH IUDXGV E\
    DPRQJ RWKHU WKLQJV DQG DV GHVFULEHG KHUHLQ L  RSHQLQJ DFFRXQWV IRU GR]HQV RI
    VKHOOFRPSDQLHVZKLFK:HOOV)DUJRNQHZZHUHRZQHGDQGFRQWUROOHGE\$SH[DQG
    7ULDQJOH¶V SULQFLSDOV LL  H[HFXWLQJ UHIHUHQFH OHWWHUV WKDW JDYH OHJLWLPDF\ WR WKH
   VKHOO FRPSDQLHV DQG DOORZHG WKHP WR VHFXUH PHUFKDQW SURFHVVLQJ VHUYLFHV LLL 
   DFFHSWLQJ DV GHSRVLWV IXQGV ZKLFK :HOOV )DUJR NQHZ ZHUH IUDXGXOHQWO\ REWDLQHG
   IURPFRQVXPHUV LY WUDQVIHUULQJWKRVHIXQGVWRRWKHUDFFRXQWV LQFOXGLQJIRUHLJQ
   DFFRXQWV  ZKLFK DOORZHG WKH $SH[ DQG 7ULDQJOH SULQFLSDOV WR ODXQGHUWKH PRQH\
   WKH\ GHULYHG IURP WKH IUDXGV DQG Y  FRQWLQXDOO\ SURYLGLQJ DW\SLFDO EDQNLQJ
   VHUYLFHV
            7KH 5HFHLYHUVKLS (QWLWLHV VXIIHUHG GDPDJHV WKDW ZHUH SUR[LPDWHO\
   FDXVHGE\:HOOV)DUJR¶VSDUWLFLSDWLRQLQWKHFRQVSLUDF\ ZLWKRXWZKLFKWKH$SH[
   DQG 7ULDQJOH (QWHUSULVHV FRXOG QRW KDYH IXQFWLRQHG  DQG ZKLFK DUH GHVFULEHG
   KHUHLQ
                                     7KLUG&DXVHRI$FWLRQ
                                   %UHDFKRI)LGXFLDU\'XW\ 
            7KH5HFHLYHUUHSHDWVDQGUHDOOHJHVWKHDOOHJDWLRQVRIHDFKDQGHYHU\
   RQHRIWKHSULRUSDUDJUDSKVLQFOXVLYHDVLIIXOO\VHWIRUWKKHUHLQ
            :HOOV )DUJR RZHG ILGXFLDU\ GXWLHV WR WKH 5HFHLYHUVKLS (QWLWLHV
   SXUVXDQW WR WKHLU EDQNFOLHQW UHODWLRQVKLSV  :HOOV )DUJR KDG D GXW\ WR WKHLU
   FXVWRPHUV WKH 5HFHLYHUVKLS (QWLWLHV WR GLVFKDUJH LWV GXWLHV LQ JRRG IDLWK ZLWK
   UHDVRQDEOH FDUH DQG LQ D PDQQHU UHDVRQDEO\ EHOLHYHG WR EH LQ WKH 5HFHLYHUVKLS
   (QWLWLHV¶EHVWILQDQFLDOLQWHUHVWV
                                                                    &DVH1RBBBBBBBBBBB
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             :HOOV)DUJRNQHZWKDW3KLOOLSV3HLNRVDQG%DUQHWWZHUHHQJDJLQJLQ
    IUDXGDVGHVFULEHGKHUHLQ
             :HOOV)DUJREUHDFKHGWKHILGXFLDU\GXWLHVLWRZHGWRWKH5HFHLYHUVKLS
    (QWLWLHV E\ ZLOOIXOO\ IUDXGXOHQWO\ UHFNOHVVO\ DQGRU QHJOLJHQWO\ HQJDJLQJ LQ
    FRQGXFWZKLFKZDVQRWLQWKHEHVWILQDQFLDOLQWHUHVWVRIWKH5HFHLYHUVKLS(QWLWLHV
    6SHFLILFDOO\ :HOOV )DUJR L  GLYHUWHG IXQGV WKDW EHORQJHG WR WKH 5HFHLYHUVKLS
    (QWLWLHVLQWR3KLOOLSV3HLNRVDQG%DUQHWW¶VSRFNHWVDQG LL IDLOHGWRRUUHIXVHGWR
    IXOILOOLWV³NQRZ\RXUFXVWRPHU´REOLJDWLRQVFRQGXFWGXHGLOLJHQFHDQGDELGHE\
    RWKHUEDQNLQJUHJXODWLRQVDQGVWDQGDUGSUDFWLFHV
            :HOOV )DUJR¶V EUHDFKHV RI WKH ILGXFLDU\ GXWLHV LW RZHG WR WKH
   5HFHLYHUVKLS (QWLWLHV DFWXDOO\ DQG SUR[LPDWHO\ FDXVHG ILQDQFLDO LQMXU\ WR WKH
   5HFHLYHUVKLS(QWLWLHVDVGHVFULEHGKHUHLQ
                                   )RXUWK&DXVHRI$FWLRQ
                      $LGLQJDQG$EHWWLQJ%UHDFKRI)LGXFLDU\'XW\ 
            7KH5HFHLYHUUHSHDWVDQGUHDOOHJHVWKHDOOHJDWLRQVRIHDFKDQGHYHU\
   RQHRIWKHSULRUSDUDJUDSKVLQFOXVLYHDVLIIXOO\VHWIRUWKKHUHLQ
            $W DOO PDWHULDO WLPHV 3KLOOLSV 3HLNRV DQG %DUQHWW RZQHG RU
   FRQWUROOHGWKHLUUHVSHFWLYH5HFHLYHUVKLS(QWLWLHV$VWKHRZQHUVRIWKH7ULDQJOHRU
   $SH[(QWHUSULVHVWKH\KDGDILGXFLDU\UHODWLRQVKLSZLWKWKH5HFHLYHUVKLS(QWLWLHV
   EHFDXVH WKH HQWLWLHV ZHUH XQGHU WKHLU FRPSOHWH FRQWURO  3KLOOLSV 3HLNRV DQG
   %DUQHWWRZHGWKH5HFHLYHUVKLS(QWLWLHVDILGXFLDU\GXW\WRDFWLQJRRGIDLWKZLWK
   UHDVRQDEOH FDUH DQG LQ D PDQQHU UHDVRQDEO\ EHOLHYHG WR EH LQ WKH 5HFHLYHUVKLS
   (QWLWLHV¶EHVWILQDQFLDOLQWHUHVWV
            3KLOOLSV 3HLNRV DQG %DUQHWW EUHDFKHG WKHLU ILGXFLDU\ GXWLHV RZHG WR
   WKHLUUHVSHFWLYH5HFHLYHUVKLS(QWLWLHVE\ZLOOIXOO\IUDXGXOHQWO\UHFNOHVVO\DQGRU
   QHJOLJHQWO\HQJDJLQJLQFRQGXFWZKLFKZDVQRWLQWKHEHVWILQDQFLDOLQWHUHVWVRIWKH
   5HFHLYHUVKLS(QWLWLHVE\HQJDJLQJLQWKHSULPDU\ZURQJVGHVFULEHGKHUHLQDQGE\
   GLYHUWLQJ WKH 5HFHLYHUVKLS (QWLWLHV¶ DVVHWV LQWR WKHLU RZQ SRFNHWV ZLWK QR
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    OHJLWLPDWHRUMXVWLILDEOHEXVLQHVVSXUSRVH
              3KLOOLSV 3HLNRV DQG %DUQHWW¶V EUHDFKHV RI WKH ILGXFLDU\ GXWLHV WKH\
    RZHGWRWKH5HFHLYHUVKLS(QWLWLHVDFWXDOO\DQGSUR[LPDWHO\FDXVHGILQDQFLDOLQMXU\
    WRWKH5HFHLYHUVKLS(QWLWLHVDVGHVFULEHGKHUHLQLQDQDPRXQWWREHSURYHQDWWULDO
              :HOOV )DUJR KDG DFWXDO NQRZOHGJH RI 3KLOOLSV 3HLNRV DQG %DUQHWW¶V
    EUHDFKHV RI WKHLU ILGXFLDU\ GXW\ DQG UHQGHUHG VXEVWDQWLDO DVVLVWDQFH LQ UHJDUG WR
    VXFKEUHDFKHVE\DIIRUGLQJWKHPRUWKHLUDJHQWVVSHFLDOSULYLOHJHVE\HQDEOLQJDQG
    DOORZLQJFRQWLQXRXVVXVSLFLRXVDQGREYLRXVO\IUDXGXOHQWEDQNLQJDFWLYLW\DQGE\
    IDLOLQJ WR DGKHUH WR IHGHUDO ORFDO DQG LQWHUQDO UHJXODWRU\ EDQNLQJ SURFHGXUHV DQG
   SROLFLHV
             :HOOV)DUJRLVOLDEOHIRUDOOGDPDJHVDFWXDOO\DQGSUR[LPDWHO\FDXVHG
   WR WKH 5HFHLYHUVKLS (QWLWLHV WKURXJK LWV DFWV DQG RPLVVLRQV LQFOXGLQJ WKRVH
   GDPDJHVGHVFULEHGDERYHLQDQDPRXQWWREHSURYHQDWWULDO
                                      )LIWK&DXVHRI$FWLRQ
                               $LGLQJDQG$EHWWLQJ&RQYHUVLRQ 
             7KH5HFHLYHUUHSHDWVDQGUHDOOHJHVWKHDOOHJDWLRQVRIHDFKDQGHYHU\
   RQHRIWKHSULRUSDUDJUDSKVLQFOXVLYHDVLIIXOO\VHWIRUWKKHUHLQ
             3KLOOLSV 3HLNRV DQG %DUQHWW ZURQJIXOO\ DVVHUWHG GRPLQLRQ DQG
   FRQWURO RYHU WKH IXQGV LQ WKH $SH[ DQG 7ULDQJOH (QWHUSULVH DFFRXQWV ZKLFK
   ULJKWIXOO\ EHORQJHG WR WKHLU UHVSHFWLYH 5HFHLYHUVKLS (QWLWLHV E\ PLVDSSURSULDWLQJ
   FRQVXPHUIXQGVIURPWKRVHDFFRXQWVDQGXVLQJWKHIXQGVIRUWKHLUSHUVRQDOXVHDQG
   EHQHILW3KLOOLSV3HLNRVDQG%DUQHWW¶VDFWLRQVUHVXOWHGLQWKHFRQYHUVLRQRIIXQGV
   EHORQJLQJWRWKH5HFHLYHUVKLS(QWLWLHV
             :HOOV )DUJR KDG DFWXDO NQRZOHGJH RI 3KLOOLSV 3HLNRV DQG %DUQHWW¶V
   PLVDSSURSULDWLRQ RI WKH 5HFHLYHUVKLS (QWLWLHV¶ IXQGV EHFDXVH WKRVH IXQGV ZHUH
   ZURQJIXOO\WUDQVIHUUHGLQWREHWZHHQDQGRXWRIDFFRXQWVKHOGE\:HOOV)DUJR
             :HOOV )DUJR UHQGHUHG VXEVWDQWLDO DVVLVWDQFH WR 3KLOOLSV 3HLNRV DQG
   %DUQHWW LQ WKHLU FRQYHUVLRQ RI WKH 5HFHLYHUVKLS (QWLWLHV¶ IXQGV E\ H[HFXWLQJ WKHLU
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    WUDQVDFWLRQVHYHQWKRXJKGRLQJVRYLRODWHGEDQNLQJUHJXODWLRQVDQGRWKHUSUXGHQW
    DQGVRXQGEDQNLQJSUDFWLFHVDQGSURFHGXUHV
              :HOOV )DUJR LV WKHUHIRUH OLDEOH IRU DOO GDPDJHV DFWXDOO\ DQG
    SUR[LPDWHO\FDXVHGWRWKH5HFHLYHUVKLS(QWLWLHVEDVHGRQWKHFRQYHUVLRQRIIXQGV
    XQGHUWDNHQE\3KLOOLSV3HLNRVDQG%DUQHWWLQDQDPRXQWWREHSURYHQDWWULDO
                                       6L[WK&DXVHRI$FWLRQ
                            9LRODWLRQRI&DOLIRUQLD3HQDO&RGH 
              7KH5HFHLYHUUHSHDWVDQGUHDOOHJHVWKHDOOHJDWLRQVRIHDFKDQGHYHU\
    RQHRIWKHSULRUSDUDJUDSKVLQFOXVLYHDVLIIXOO\VHWIRUWKKHUHLQ
             3HQDO&RGH F SHUPLWV³DQ\´SHUVRQZKRKDVEHHQLQMXUHGE\D
   YLRODWLRQRI D WRUHFRYHUWKUHHWLPHVWKHDPRXQWRIDFWXDOGDPDJHVFRVWVRI
   VXLW DQG DWWRUQH\¶V IHHV LQ D FLYLO VXLW  3HQDO &RGH  D  FUHDWHV DQ DFWLRQ
   DJDLQVW³DQ\´SHUVRQZKR  UHFHLYHV³DQ\´SURSHUW\WKDWKDVEHHQREWDLQHGLQDQ\
   PDQQHUFRQVWLWXWLQJWKHIWNQRZLQJWKHSURSHUW\WREHVRREWDLQHGRU  FRQFHDOV
   ZLWKKROGV RU DLGV LQ FRQFHDOLQJ RU ZLWKKROGLQJ ³DQ\´ SURSHUW\ IURP WKH RZQHU
   NQRZLQJWKHSURSHUW\WREHVRREWDLQHG
             8QGHU 3HQDO &RGH   ³SHUVRQ´ LQFOXGHV D FRUSRUDWLRQ DV ZHOO DV D
   QDWXUDO SHUVRQ  :HOOV )DUJR %DQN 1$ DV D QDWLRQDO EDQNLQJ DVVRFLDWLRQ DQG
   :HOOV)DUJR &RDVDFRUSRUDWLRQDUH³SHUVRQV´FDSDEOHRIYLRODWLQJ D 
             3KLOOLSV3HLNRVDQG%DUQHWWREWDLQHGFRQVXPHUIXQGVE\WKHIWXQGHU
   3HQDO&RGHEHFDXVHWKRVHIXQGVZHUHREWDLQHG³NQRZLQJO\DQGGHVLJQHGO\
   E\ DQ\ IDOVH RU IUDXGXOHQW UHSUHVHQWDWLRQ RU SUHWHQVH´ IURP FRQVXPHUV  7KHVH
   IXQGV ZHUH VR REWDLQHG EHFDXVH DPRQJ RWKHU WKLQJV FRQVXPHUV ZHUH IDOVHO\
   LQIRUPHGWKH\ZHUHVLJQLQJXSIRUIUHHWULDOVEXWHQGHGXSSD\LQJIRUSURGXFWVRU
   VXEVFULSWLRQVZLWKRXWWKHLUFRQVHQW
             :HOOV )DUJR NQRZLQJ RI WKHLU IUDXGV GHOLEHUDWHO\ FRQFHDOHG DQG
   DLGHGLQFRQFHDOLQJWKRVHIUDXGVE\inter aliaKLGLQJWKHLGHQWLW\RIWKHLQGLYLGXDOV
   ZKRZHUHFRPPLWWLQJWKHIUDXGDQGE\VHWWLQJXSDQGPDLQWDLQLQJWKHIUDXGXOHQW
                                                                      &DVH1RBBBBBBBBBBB
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    DFFRXQWVDVGHVFULEHGKHUHLQ
              $GGLWLRQDOO\ :HOOV )DUJR NQRZLQJO\ WUDQVIHUUHG SURSHUW\ WKDW ZDV
    ZURQJIXOO\REWDLQHGIURPFRQVXPHUVWR3KLOOLSV3HLNRV%DUQHWWRUWKLUGSDUWLHVDW
    WKHLUEHKHVWDVGHVFULEHGKHUHLQ
              $VDGLUHFWDQGSUR[LPDWHUHVXOWRI:HOOV)DUJR¶VYLRODWLRQVRI3HQDO
    &RGH  D  WKH 5HFHLYHUVKLS (QWLWLHV ZHUH GHSULYHG RI DVVHWV  3XUVXDQW WR
    3HQDO&RGH F WKH5HFHLYHUVHHNVVWDWXWRU\WUHEOHGDPDJHVFRVWVRIVXLWDQG
    UHDVRQDEOHDWWRUQH\¶VIHHV
                                      6HYHQWK&DXVHRI$FWLRQ
               9LRODWLRQRI&DOLIRUQLD%XVLQHVVDQG3URIHVVLRQV&RGH 
             7KH5HFHLYHUUHSHDWVDQGUHDOOHJHVWKHDOOHJDWLRQVRIHDFKDQGHYHU\
   RQHRIWKHSULRUSDUDJUDSKVLQFOXVLYHDVLIIXOO\VHWIRUWKKHUHLQ
             %XVLQHVV       3URIHVVLRQV &RGH  HW VHT SURKLELW DFWV RI
   ³XQIDLU FRPSHWLWLRQ´ D WHUP ZKLFK LV GHILQHG E\ %XVLQHVV  3URIHVVLRQV &RGH
    DV LQFOXGLQJ ³DQ\ XQODZIXO XQIDLU RU IUDXGXOHQW EXVLQHVV DFW RU
   SUDFWLFH«´
             'HIHQGDQWV KDYH YLRODWHG %XVLQHVV             3URIHVVLRQV &RGH VHFWLRQ
   ¶V SURKLELWLRQ DJDLQVW HQJDJLQJ LQ XQODZIXO XQIDLU DQGRU IUDXGXOHQW
   EXVLQHVV SUDFWLFHV E\ inter alia DLGLQJ DQG DEHWWLQJ IUDXG FRQVSLULQJ WR FRPPLW
   IUDXGDQGYLRODWLQJ&DOLIRUQLD3HQDO&RGH
             7KH5HFHLYHUVKLS(QWLWLHVVXIIHUHGLQMXU\LQIDFWDQGORVWPRQH\DVD
   UHVXOW RI :HOOV )DUJR¶V VXEVWDQWLDO DVVLVWDQFH LQ WKHVH XQODZIXO EXVLQHVV DFWV DQG
   SUDFWLFHV
             $VDUHVXOWRI'HIHQGDQWV¶YLRODWLRQVRI%XVLQHVV 3URIHVVLRQV&RGH
     HW VHT WKH 5HFHLYHU LV HQWLWOHG WR HTXLWDEOH UHOLHI LQ WKH IRUP RI IXOO
   UHVWLWXWLRQRIDOOPRQLHVZURQJIXOO\SDLGSXUVXDQWWRWKHIUDXGXOHQWVFKHPHVDLGHG
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                                     (LJKWK&DXVHRI$FWLRQ
              $LGLQJDQG$EHWWLQJ)UDXGXOHQW7UDQVIHU9RLGDEOH7UDQVDFWLRQ 
             7KH5HFHLYHUUHSHDWVDQGUHDOOHJHVWKHDOOHJDWLRQVRIHDFKDQGHYHU\
    RQHRIWKHSULRUSDUDJUDSKVLQFOXVLYHDVLIIXOO\VHWIRUWKKHUHLQ
             3ULRU WR WKH HVWDEOLVKPHQW RI WKH 5HFHLYHUVKLSV WKH SK\VLFDO
    RSHUDWLRQV RI WKH 5HFHLYHUVKLS (QWLWLHV ZLWK ZKLFK 'HIHQGDQWV GLG EXVLQHVV ZHUH
    SULPDULO\LQWKH6WDWHRI&DOLIRUQLD7KHFTC v. Triangle DQG FTC v. Apex DFWLRQV
    LQZKLFKWKH5HFHLYHUZDVDSSRLQWHGZHUHWKHQILOHGLQWKH8QLWHG6WDWHV'LVWULFW
    &RXUWIRUWKH6RXWKHUQDQG&HQWUDO'LVWULFWVRI&DOLIRUQLDUHVSHFWLYHO\
            (IIHFWLYH-DQXDU\&DOLIRUQLD VLPLODUWRWKHPDMRULW\RIRWKHU
   6WDWHV  DGRSWHG D YHUVLRQ RI WKH 8QLIRUP 9RLGDEOH 7UDQVDFWLRQV $FW ³897$´ 
   FRGLILHGDW&DOLIRUQLD&LYLO&RGHHWVHT7KH897$GHILQHVDYRLGDEOH
   WUDQVIHU WR LQFOXGH WKH IROORZLQJ W\SHV RI WUDQVIHU RU REOLJDWLRQV LQFXUUHG E\ D
   GHEWRU
           $WUDQVIHUPDGHRUREOLJDWLRQLQFXUUHGE\DGHEWRULVYRLGDEOHDVWRD
             FUHGLWRUZKHWKHUWKHFUHGLWRU¶VFODLPDURVHEHIRUHRUDIWHUWKHWUDQVIHU
           ZDV PDGH RU WKH REOLJDWLRQ ZDV LQFXUUHG LI WKH GHEWRU PDGH WKH
             WUDQVIHURULQFXUUHGWKHREOLJDWLRQDVIROORZV
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                :LWKDFWXDOLQWHQWWRKLQGHUGHOD\RUGHIUDXGDQ\FUHGLWRURIWKH
           GHEWRU
              :LWKRXW UHFHLYLQJ D UHDVRQDEO\ HTXLYDOHQW YDOXH LQ H[FKDQJH IRU
             WKHWUDQVIHURUREOLJDWLRQDQGWKHGHEWRUHLWKHU
  
              $  :DV HQJDJHG RU ZDV DERXW WR HQJDJH LQ D EXVLQHVV RU D
           WUDQVDFWLRQ IRU ZKLFK WKH UHPDLQLQJ DVVHWV RI WKH GHEWRU ZHUH
             XQUHDVRQDEO\VPDOOLQUHODWLRQWRWKHEXVLQHVVRUWUDQVDFWLRQ
  
              %  ,QWHQGHGWRLQFXURUEHOLHYHGRUUHDVRQDEO\VKRXOGKDYHEHOLHYHG
           WKDWWKHGHEWRUZRXOGLQFXUGHEWVEH\RQGWKHGHEWRU¶VDELOLW\WRSD\DV
             WKH\EHFDPHGXH
  
              E  ,Q GHWHUPLQLQJ DFWXDO LQWHQW XQGHU SDUDJUDSK   RI VXEGLYLVLRQ
            D FRQVLGHUDWLRQPD\EHJLYHQDPRQJRWKHUIDFWRUVWRDQ\RUDOORI
             WKHIROORZLQJ
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                :KHWKHUWKHWUDQVIHURUREOLJDWLRQZDVWRDQLQVLGHU
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                :KHWKHUWKHGHEWRUUHWDLQHGSRVVHVVLRQRUFRQWURORIWKHSURSHUW\
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               :KHWKHUWKHWUDQVIHURUREOLJDWLRQZDVGLVFORVHGRUFRQFHDOHG
               :KHWKHUEHIRUHWKHWUDQVIHUZDVPDGHRUREOLJDWLRQZDVLQFXUUHG
             WKHGHEWRUKDGEHHQVXHGRUWKUHDWHQHGZLWKVXLW
   
                :KHWKHUWKHWUDQVIHUZDVRIVXEVWDQWLDOO\DOOWKHGHEWRU¶VDVVHWV
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                :KHWKHUWKHGHEWRUDEVFRQGHG
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                :KHWKHUWKHGHEWRUUHPRYHGRUFRQFHDOHGDVVHWV
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                :KHWKHUWKHYDOXHRIWKHFRQVLGHUDWLRQUHFHLYHGE\WKHGHEWRUZDV
            UHDVRQDEO\ HTXLYDOHQW WR WKH YDOXH RI WKH DVVHW WUDQVIHUUHG RU WKH
             DPRXQWRIWKHREOLJDWLRQLQFXUUHG
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                :KHWKHU WKH GHEWRU ZDV LQVROYHQW RU EHFDPH LQVROYHQW VKRUWO\
            DIWHUWKHWUDQVIHUZDVPDGHRUWKHREOLJDWLRQZDVLQFXUUHG
              :KHWKHU WKH WUDQVIHU RFFXUUHG VKRUWO\ EHIRUH RU VKRUWO\ DIWHU D
             VXEVWDQWLDOGHEWZDVLQFXUUHG
  
               :KHWKHUWKHGHEWRUWUDQVIHUUHGWKHHVVHQWLDODVVHWVRIWKHEXVLQHVV
           WRDOLHQRUWKDWWUDQVIHUUHGWKHDVVHWVWRDQLQVLGHURIWKHGHEWRU
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              &DOLIRUQLD&LYLO&RGH D SURYLGHVWKDWWUDQVIHUVDUHYRLGDEOH
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       DVWRSUHVHQWFUHGLWRUVDVIROORZV
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             $WUDQVIHUPDGHRUREOLJDWLRQLQFXUUHGE\DGHEWRULVYRLGDEOHDVWRD
           FUHGLWRU ZKRVH FODLP DURVH EHIRUH WKH WUDQVIHU ZDV PDGH RU WKH
             REOLJDWLRQZDVLQFXUUHGLIWKHGHEWRUPDGHWKHWUDQVIHURULQFXUUHGWKH
           REOLJDWLRQ ZLWKRXW UHFHLYLQJ D UHDVRQDEO\ HTXLYDOHQW YDOXH LQ
             H[FKDQJHIRUWKHWUDQVIHURUREOLJDWLRQDQGWKHGHEWRUZDVLQVROYHQWDW
           WKDWWLPHRUWKHGHEWRUEHFDPHLQVROYHQWDVDUHVXOWRIWKHWUDQVIHURU
             REOLJDWLRQ
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            7KH897$SURYLGHVWKHIROORZLQJGHILQLWLRQVLQUHOHYDQWSDUW
            E ³&ODLP´ H[FHSW DV XVHG LQ ³FODLP IRU UHOLHI´ PHDQV D ULJKW WR
             SD\PHQWZKHWKHURUQRWWKHULJKWLVUHGXFHGWRMXGJPHQWOLTXLGDWHG
           XQOLTXLGDWHG IL[HG FRQWLQJHQW PDWXUHG XQPDWXUHG GLVSXWHG
             XQGLVSXWHGOHJDOHTXLWDEOHVHFXUHGRUXQVHFXUHG
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              F ³&UHGLWRU´ PHDQV D SHUVRQ WKDW KDV D FODLP DQG LQFOXGHV DQ
           DVVLJQHH RI D JHQHUDO DVVLJQPHQW IRU WKH EHQHILW RI FUHGLWRUV DV
             GHILQHG LQ 6HFWLRQ  RI WKH &RGH RI &LYLO 3URFHGXUH RI D
           GHEWRU
            G ³'HEW´PHDQVOLDELOLW\RQDFODLP
            H ³'HEWRU´PHDQVDSHUVRQWKDWLVOLDEOHRQDFODLP
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    WKH\ DUH OLDEOH WR WKH 5HFHLYHUVKLS (QWLWLHV DQG FRQVXPHUV ZKR KDYH D ULJKW WR
    UHLPEXUVHPHQWIRUWKHLUFODLPVRIFRQVXPHUIUDXGXQGHUWKH)7&MXGJPHQWV6DLG
    5HFHLYHUVKLS (QWLWLHV DQG FRQVXPHUV DUH ³FUHGLWRUV´ ZLWK ³FODLPV´ XQGHU WKH
    PHDQLQJRIWKH897$
                3ULRU WR HQDFWPHQW RI WKH 897$ DQG UHOHYDQW WR WUDQVIHUV E\
    'HIHQGDQWV SULRU WR  WKH &DOLIRUQLD 8QLIRUP )UDXGXOHQW 7UDQVIHU $FW
          ³8)7$´ IRUPHUO\FRGLILHGDW&DOLIRUQLD&LYLO&RGHHWVHT ³8)7$´ 
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             $WUDQVIHUPDGHRUREOLJDWLRQLQFXUUHGE\DGHEWRULVIUDXGXOHQWDV
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           WUDQVIHUZDVPDGHRUWKHREOLJDWLRQZDVLQFXUUHGLIWKHGHEWRUPDGH
         WKHWUDQVIHURULQFXUUHGWKHREOLJDWLRQ
                    D ZLWKDFWXDOLQWHQWWRKLQGHUGHOD\RUGHIUDXGDQ\FUHGLWRURI
                WKHGHEWRURU
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                       E ZLWKRXWUHFHLYLQJDUHDVRQDEO\HTXLYDOHQWYDOXHLQH[FKDQJH
              IRUWKHWUDQVIHURUREOLJDWLRQDQGWKHGHEWRU L ZDVHQJDJHGRUZDV
                DERXWWRHQJDJHLQDEXVLQHVVRUDWUDQVDFWLRQIRUZKLFKWKHUHPDLQLQJ
              DVVHWV RI WKH GHEWRU ZHUH XQUHDVRQDEO\ VPDOO LQ UHODWLRQ WR WKH
                EXVLQHVV RU WUDQVDFWLRQ RU LL  LQWHQGHG WR LQFXU RU EHOLHYHG RU
              UHDVRQDEO\VKRXOGKDYHEHOLHYHGWKDWKHZRXOGLQFXUGHEWVEH\RQGKLV
                DELOLW\WRSD\DVWKH\EHFDPHGXH
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       LQGLUHFW DEVROXWH RU FRQGLWLRQDO YROXQWDU\ RU LQYROXQWDU\ RI GLVSRVLQJ RI RU
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       SDUWLQJ ZLWK DQ DVVHW RU DQ LQWHUHVW LQ DQ DVVHW DQG LQFOXGHV SD\PHQW RI PRQH\
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       UHOHDVHOHDVHDQGFUHDWLRQRIDOLHQRURWKHUHQFXPEUDQFH´ &LY&RGHIRUPHU
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       ZLWKRQHPLQRUUHYLVLRQ³7UDQVIHU´PHDQVHYHU\PRGHGLUHFWRULQGLUHFWDEVROXWH
  
       RUFRQGLWLRQDOYROXQWDU\RULQYROXQWDU\RIGLVSRVLQJRIRUSDUWLQJZLWKDQDVVHWRU
  
       DQLQWHUHVWLQDQDVVHWDQGLQFOXGHVSD\PHQWRIPRQH\UHOHDVHOHDVHOLFHQVHDQG
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       FUHDWLRQRIDOLHQRURWKHUHQFXPEUDQFH´
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    5HFHLYHUVKLS (QWLWLHV DQG GLUHFWHG WKHP WR PDNH QXPHURXV WUDQVIHUV RXW RI
    SURFHHGVRIWKHIUDXGWRWKHPVHOYHVDQGWKLUGSDUWLHV LQFOXGLQJ:HOOV)DUJR $W
    WKHWLPHRIHDFKIUDXGXOHQWWUDQVIHUWKH\LQWHQGHGWRGHOD\GHIUDXGRUKLQGHUWKHLU
    FUHGLWRUV PRVWQRWDEO\WKH5HFHLYHUVKLS(QWLWLHVXQGHUWKHLUFRQWURO 
             7KURXJK WKH QXPHURXV DFWV LGHQWLILHG KHUHLQ :HOOV )DUJR
    VXEVWDQWLDOO\ DVVLVWHG 3KLOOLSV 3HLNRV DQG %DUQHWW LQ PDNLQJ WKHVH IUDXGXOHQW
    WUDQVIHUVGHVSLWHNQRZLQJWKDWWKHWUDQVIHUVZHUHXQODZIXODQGWKDWWKH\FRQWUROOHG
    WKH 5HFHLYHUVKLS (QWLWLHV DQG KDG QR ODZIXO FODLP WR IUDXGXOHQWO\REWDLQHG
    FRQVXPHUIXQGV:HOOV)DUJRNQRZLQJO\WUDQVIHUUHGVKHOOFRPSDQ\DFFRXQWIXQGV
   WRRWKHU5HFHLYHUVKLS(QWLW\VKHOOFRPSDQ\DFFRXQWVDQGWKHQGLUHFWO\WR3KLOOLSV
   3HLNRVDQGRU%DUQHWWRUWRRWKHUWKLUGSDUWLHV DWWKHGLUHFWLRQRI3KLOOLSV3HLNRV
   DQGRU %DUQHWW  ZLWKRXW WKH VKHOO FRPSDQLHV UHFHLYLQJ D UHDVRQDEO\ HTXLYDOHQW
   YDOXHLQH[FKDQJHIRUWKHWUDQVIHUVDQGZKLFKGHSOHWHGWKHVKHOOFRPSDQLHVRIDOORU
   VXEVWDQWLDOO\DOORIWKHLUDVVHWV
            7KH WUDQVIHUV IURP WKH :HOOV )DUJR DFFRXQWV RI WKH 5HFHLYHUVKLS
   (QWLWLHVWR3KLOOLSV3HLNRV%DUQHWWDQG:HOOV)DUJRFRQVWLWXWHIUDXGXOHQWWUDQVIHUV
   XQGHUWKH&DOLIRUQLD897$DQG8)7$IRUWKHIROORZLQJUHDVRQVDPRQJRWKHUV
                   D    3KLOOLSV3HLNRVDQG%DUQHWWPDGHWKHWUDQVIHUVWRWKHPVHOYHVRU
                           WKLUG SDUWLHV ZLWK WKH DFWXDO LQWHQW WR KLQGHU GHOD\ RU GHIUDXG
                         FUHGLWRUV LQFOXGLQJWKH5HFHLYHUVKLS(QWLWLHVDQGFRQVXPHUV 
                   E    3KLOOLSV 3HLNRV DQG %DUQHWW HQJDJHG LQ IUHH WULDO VFKHPHV
                           NQRZLQJ WKDW WKHLU DVVHWV DQG WKH DVVHWV RI WKH 5HFHLYHUVKLS
                         (QWLWLHV WKH\ FRQWUROOHG ZHUH XQUHDVRQDEO\ VPDOO FRQVLGHULQJ
                           WKDWDOORIWKHDVVHWVZHUHREWDLQHGE\IUDXGVRQFRQVXPHUVDQG
                         GLGQRWEHORQJWRWKHP
                   F    3KLOOLSV3HLNRVDQG%DUQHWWNQHZWKDWWKURXJKWKHLUIUDXGXOHQW
                           VFKHPHV WKH\ LQFXUUHG GHEWV WR WKH 5HFHLYHUVKLS (QWLWLHV DQG
                         FRQVXPHUVEH\RQGWKHLUDELOLW\WRSD\
                   G    3KLOOLSV 3HLNRV DQG %DUQHWW UHWDLQHG SRVVHVVLRQ RU FRQWURO RI
                           WKHDVVHWVDIWHUWKHWUDQVIHUV
  
                     H    7KH 5HFHLYHUVKLS (QWLWLHV GLG QRW UHFHLYH D UHDVRQDEO\
                         HTXLYDOHQW YDOXH LQ H[FKDQJH IRU WKH WUDQVIHUV IURP WKH :HOOV
                           )DUJR DFFRXQWV EHFDXVH 3KLOOLSV 3HLNRV DQG %DUQHWW GUDLQHG
                         WKH DFFRXQWV IRU WKHLU RZQ SHUVRQDO XVH DQG EHQHILW DQG WKH
                                                                       &DVH1RBBBBBBBBBBB
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                          VKHOO FRPSDQLHV DFWHG DV PHUH SDVVWKURXJKV WR DOORZ WKH
                           IUDXGVWHUVWRDYRLGGHWHFWLRQE\FUHGLWRUVRIWKHLURZQHUVKLSDQG
                          FRQWURORIWKHIXQGV
                    I    7KH 5HFHLYHUVKLS (QWLWLHV KDG QR DVVHWV RWKHU WKDQ WKH
                           IUDXGXOHQWO\REWDLQHGIXQGVEHIRUHRUDIWHUWKHWUDQVIHUV
   
                     J    7KHWUDQVIHUVWR3KLOOLSV3HLNRVDQG%DUQHWWZHUHDVFRUSRUDWH
                          LQVLGHUVRIWKH5HFHLYHUVKLS(QWLWLHV
                    K    7KH WUDQVIHUV DPRQJ DQG IURP WKH :HOOV )DUJR DFFRXQWV ZHUH
                           LQWHQGHG WR FRQFHDO WKH WUXH RZQHUVKLS DQG UHFLSLHQWV RI WKH
                          IXQGV
                    L    :KHQ WKH WUDQVIHUV ZHUH PDGH 3KLOOLSV 3HLNRV DQG %DUQHWW
                           NQHZWKH\ZHUHOLNHO\WREHVXHGIRUWKHLUZURQJGRLQJ
   
                     M    3KLOOLSV3HLNRVDQG%DUQHWWUHPRYHGDQGFRQFHDOHGUHFHLSWRI
                         WKH FRQVXPHU IXQGV IURP WKH :HOOV )DUJR DFFRXQWV E\
                           WUDQVIHUULQJ WKHP WR XQUHODWHG XQLGHQWLILHG DQG XQGLVFORVHG
                         SHUVRQDODQGRIIVKRUHDFFRXQWV
                   N    7KHWUDQVIHUVZHUHRIVXEVWDQWLDOO\DOOWKH5HFHLYHUVKLS(QWLWLHV¶
                           DVVHWV
  
                     O    7KH 5HFHLYHUVKLS (QWLWLHV ZHUH LQVROYHQW RU EHFDPH LQVROYHQW
                         VKRUWO\ DIWHU WKH WUDQVIHUV ZHUH PDGH RU WKH REOLJDWLRQV ZHUH
                           LQFXUUHGDQG
  
                     P  7KH WUDQVIHUV RFFXUUHG VKRUWO\ EHIRUH RU VKRUWO\ DIWHU WKH
                       VXEVWDQWLDOGHEWVWRFRQVXPHUVZHUHLQFXUUHG
            'HVSLWHNQRZLQJWKDW3KLOOLSV3HLNRVDQG%DUQHWWKDGQRODZIXOFODLP
   WR WKH FRQVXPHU IXQGV DQG 3KLOOLSV 3HLNRV DQG %DUQHW ODFNHG WKH DVVHWV WR SD\
   VXFK DPRXQWV EDFN WR WKH 5HFHLYHUVKLS (QWLWLHV :HOOV )DUJR WUDQVIHUUHG VXFK
   FRQVXPHU IXQGV DQG GHSOHWHG WKH 5HFHLYHUVKLS (QWLWLHV¶ DVVHWV ZKLFK DOORZHG
   3KLOOLSV3HLNRVDQGRU%DUQHWWWRUHFHLYHVXFKIXQGVGLUHFWO\
            %DVHGRQWKHDOOHJDWLRQVDERYHWKHVHWUDQVIHUVRI5HFHLYHUVKLS(QWLW\
   IXQGV WR :HOOV )DUJR DQG 3KLOOLSV 3HLNRV DQG %DUQHWW FRQVWLWXWH IUDXGXOHQW
   WUDQVIHUV ZKLFK PXVW EH UHWXUQHG WR WKH 5HFHLYHUVKLS (QWLWLHV  $FFRUGLQJO\ WKH
   5HFHLYHUVHHNVWRUHFRYHUDVIUDXGXOHQWWUDQVIHUVDOO5HFHLYHUVKLS(QWLW\FRQVXPHU
   IXQGV UHFHLYHG E\ :HOOV )DUJR DV ZHOO DV WKRVH IXQGV WUDQVIHUUHG WR 3KLOOLSV
   3HLNRVDQG%DUQHWW
          :HOOV )DUJR NQRZLQJO\ DLGHG DQG DEHWWHG WKH IUDXGXOHQW WUDQVIHUV
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    IURPWKH5HFHLYHUVKLS(QWLWLHVXQGHUWKHFRQWURORI3KLOOLSV3HLNRVDQGRU%DUQHWW
    7KLVVXEVWDQWLDODVVLVWDQFHLQFOXGHGWKHIUDXGXOHQWWUDQVIHURIFRQVXPHUIXQGVIURP
    WKH:HOOV)DUJRDFFRXQWVWR3KLOOLSV3HLNRVDQG%DUQHWW
                ,QDGGLWLRQ:HOOV)DUJRDFFHSWHGSD\PHQWVRIFRQVXPHUIXQGVIURP
    5HFHLYHUVKLS(QWLWLHVLQFRQQHFWLRQZLWKVHWWLQJXSDQGPDLQWDLQLQJWKHIUDXGXOHQW
    DFFRXQWV%\FROOHFWLQJIHHVFKDUJHVILQHVUHVHUYHDPRXQWVDQGRWKHUSD\PHQWV
    JHQHUDWHG E\ WKH VKHOO FRPSDQLHV¶ DQG RWKHU 5HFHLYHUVKLS (QWLWLHV¶ SD\PHQW
    SURFHVVLQJ :HOOV )DUJR ZDV DVVHUWLQJ WKDW WKH 5HFHLYHUVKLS (QWLWLHV KDG D YDOLG
    REOLJDWLRQWRPDNHWKHVHSD\PHQWVWR:HOOV)DUJR
               :HOOV )DUJR DV D NQRZLQJ DLGHU DQG DEHWWRU RI WKH IUDXGXOHQW
   VFKHPHV ZDV QRW HQWLWOHG WR UHFHLYH DQG FRXOG QRW WDNH LQ JRRG IDLWK WKHVH
   SD\PHQWV IURP WKH 5HFHLYHUVKLS (QWLWLHV¶ IXQGV GHULYHG IURP SD\PHQWV E\
   GHIUDXGHGFRQVXPHUVLQFRQQHFWLRQZLWKVHWWLQJXSDQGPDLQWDLQLQJWKHIUDXGXOHQW
   DFFRXQWV IRU WKH 5HFHLYHUVKLS (QWLWLHV DQG WKXV WKHVH SD\PHQWV FRQVWLWXWH
   IUDXGXOHQWWUDQVIHUVZKLFKPXVWEHUHWXUQHGWRWKH5HFHLYHUVKLS(QWLWLHV
               $FFRUGLQJO\WKH5HFHLYHUVHHNVWRUHFRYHUDVIUDXGXOHQWWUDQVIHUVDQ\
         D 5HFHLYHUVKLS(QWLW\IXQGVWDNHQIURPWKH:HOOV)DUJRDFFRXQWVDQGWUDQVIHUUHG
   WR 3KLOOLSV 3HLNRV DQG %DUQHWW DV D UHVXOW RI WKH IUDXGXOHQW VFKHPHV DQG E 
   SD\PHQWVWR:HOOV)DUJRIURP5HFHLYHUVKLS(QWLWLHVLQFRQQHFWLRQZLWKVHWWLQJXS
   DQGPDLQWDLQLQJWKHIUDXGXOHQWDFFRXQWV
               7KH5HFHLYHUWKHUHIRUHDVNVWKDWWKH&RXUWRUGHU:HOOV)DUJRWRSD\
   WR WKH 5HFHLYHU DOO IUDXGXOHQW WUDQVIHUV WKH\ UHFHLYHG RU WUDQVIHUUHG DV DOOHJHG
   KHUHLQDQGDVIXUWKHUVKRZQE\SURRIDWWULDO7KH5HFHLYHUIXUWKHUDVNVWKDWKHEH
   DZDUGHG SUH DQG SRVW MXGJPHQW LQWHUHVW IURP 'HIHQGDQWV IURP WKH GDWH RI WKH
   UHFHLSWRIHDFKIUDXGXOHQWWUDQVIHU
                                     1LQWK&DXVHRI$FWLRQ
                            8QMXVW(QULFKPHQW&RQVWUXFWLYH7UXVW 
               7KH5HFHLYHUUHSHDWVDQGUHDOOHJHVWKHDOOHJDWLRQVRIHDFKDQGHYHU\
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    RQHRIWKHSULRUSDUDJUDSKVLQFOXVLYHDVLIIXOO\VHWIRUWKKHUHLQ
              :HOOV )DUJR UHFHLYHG SD\PHQWV ZKHWKHU GHQRPLQDWHG DV ³IHHV´
    ³FKDUJHV´ ³ILQHV´ ³UHVHUYHV´ RU RWKHUZLVH  IURP WKH 5HFHLYHUVKLS (QWLWLHV¶
    DFFRXQWVXVHGLQFRQQHFWLRQZLWKWKHSURFHVVLQJDQGPDLQWHQDQFHRIDFFRXQWVDQG
    DOVRWUDQVIHUUHGIUDXGXOHQWO\REWDLQHGIXQGVWR3HLNRV%DUQHWWDQG3KLOOLSV
              7KH SD\PHQWV UHFHLYHG E\ :HOOV )DUJR ZHUH PDGH LQ IXUWKHUDQFH RI
    WKHIUDXGXOHQWVFKHPHVDQG:HOOV)DUJRKDVEHHQXQMXVWO\HQULFKHGE\WKHDPRXQW
    RIWKHVHSD\PHQWV
              ,QDGGLWLRQWKURXJK:HOOV)DUJR¶VNQRZLQJDQGVXEVWDQWLDODVVLVWDQFH
   LQ WKH ZURQJIXO WUDQVIHU RI DFFRXQW IXQGV IURP WKH 5HFHLYHUVKLS (QWLWLHV HQWLWLHV
   DQG LQGLYLGXDOV ZKR RZQHG RU FRQWUROOHG WKH 5HFHLYHUVKLS (QWLWLHV ZHUH XQMXVWO\
   HQULFKHGLQWKHDPRXQWRIWKHVHWUDQVIHUV
             %HFDXVH RI :HOOV )DUJR¶V RZQ XQMXVW HQULFKPHQW DQG LWV NQRZLQJ
   DVVLVWDQFH LQ XQMXVWO\ HQULFKLQJ WKH SHUSHWUDWRUV RI WKH IUDXGV WKH 5HFHLYHU VHHNV
   DQ HTXLWDEOH UHPHG\ RUGHULQJ WKDW :HOOV )DUJR LV KROGLQJ DQG VKDOO FRQWLQXH WR
   KROG LQ FRQVWUXFWLYH WUXVW IRU WKH 5HFHLYHU WKH DPRXQW RI WKH SD\PHQWV DQG
   WUDQVIHUVWRLWVHOIDVZHOODVIXQGVLQ:HOOV)DUJRDFFRXQWVZKLFKZHUHZURQJIXOO\
   WUDQVIHUUHG WR WKLUG SDUWLHV LQFOXGLQJ WKRVH ZKR RZQHG RU FRQWUROOHG WKH
   5HFHLYHUVKLS(QWLWLHV
             7KH5HFHLYHUIXUWKHUDVNVWKDWKHEHDZDUGHGSUHDQGSRVWMXGJPHQW
   LQWHUHVWIURP'HIHQGDQWVIURPWKHGDWHRIWKHUHFHLSWRIHDFKIUDXGXOHQWWUDQVIHU
                          7HQWK&DXVHRI$FWLRQ ,QWKH$OWHUQDWLYH 
                                      1HJOLJHQW6XSHUYLVLRQ 
             7KH5HFHLYHUUHSHDWVDQGUHDOOHJHVWKHDOOHJDWLRQVRIHDFKDQGHYHU\
   RQHRIWKHSULRUSDUDJUDSKVLQFOXVLYHDVLIIXOO\VHWIRUWKKHUHLQ
             ,QWKHDOWHUQDWLYHWR&DXVHVRI$FWLRQ2QHWKURXJK1LQH:HOOV)DUJR
   QHJOLJHQWO\VXSHUYLVHGWKH:HOOV)DUJRHPSOR\HHVQDPHGDQGRUGHVFULEHGKHUHLQ
             :HOOV )DUJR NQHZ RU VKRXOG KDYH NQRZQ WKDW WKH SROLFLHV DQG
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    SURFHGXUHVSHUPHDWLQJLWV&RPPXQLW\%DQNUHJDUGLQJVDOHVLQFHQWLYHVDQGTXRWDV
    ZHUH GHILFLHQW DQG FUHDWHG D VDOHV FXOWXUH SUHVVXULQJ LWV HPSOR\HHV LQWR RSHQLQJ
    DFFRXQWVZLWKRXWFRQFHUQIRUWKHUHSHUFXVVLRQVDQGZKLFKGLUHFWO\FRQWULEXWHGWR
    DQGLQFHQWLYL]HGEUDQFKOHYHOHPSOR\HHVXQGHUWKHIHDURIEHLQJWHUPLQDWHGDLGLQJ
    DQGDEHWWLQJWKH$SH[DQG7ULDQJOHIUDXGVFXWWLQJFRUQHUVDQGGLVUHJDUGLQJERWK
    DSSOLFDEOH %DQN SURFHGXUHV RQ SDSHU  DQG OHJDO REOLJDWLRQV ZKHQ RSHQLQJ DQG
    PRQLWRULQJ DFFRXQWV DQG XQGHU WKH %6$ DQG UHODWHG UXOHV  :HOOV )DUJR¶V
    NQRZOHGJHRILWVRZQWR[LFVDOHVFXOWXUHLVGHVFULEHGKHUHLQ
              :HOOV)DUJRDOVRNQHZRUVKRXOGKDYHNQRZQWKDWDFRUSRUDWHSROLF\
   SXVKLQJ HPSOR\HHV WR RSHQ DV PDQ\ DFFRXQWV DV SRVVLEOH ZRXOG IDFLOLWDWH PRQH\
   ODXQGHULQJ DFWLYLWLHV DV LW ZRXOG PDNH LW VXEVWDQWLDOO\ HDVLHU IRU WKH %DQN¶V
   FXVWRPHUVWRRSHQGR]HQVRIVKHOOFRPSDQLHV7KHUHOHYDQFHRIVKHOOFRPSDQLHVWR
   PRQH\ODXQGHULQJDQGIUDXGLVGLVFXVVHGKHUHLQ
             :HOOV)DUJRNQHZRUVKRXOGKDYHNQRZQWKDWLWVOD[RYHUVLJKWDQGLWV
   LPSOHPHQWDWLRQGHVLJQDQGPDLQWHQDQFHRISURSHUFRQWUROVWRHQVXUHEUDQFKOHYHO
   FRPSOLDQFHLQWKH&RPPXQLW\%DQNZLWKDOOOHJDOREOLJDWLRQVLQFOXGLQJXQGHUWKH
   %6$DQGWRSURWHFWDJDLQVWIUDXGXOHQWFRQGXFWZHUHGHILFLHQWDQGZRXOGGLUHFWO\
   FRQWULEXWH WR EUDQFKOHYHO EDQNHUV¶ PLVFRQGXFW E\ SURYLGLQJ DW\SLFDO VHUYLFHV
   DVVLVWLQJWKH IUDXGV DQG WDNLQJ VWHSV WRFRQFHDO²UDWKHU WKDQ XQPDVN RU UHSRUW²
   WKH$SH[DQG7ULDQJOH(QWLWLHV¶IUDXG
             :HOOV)DUJRNQHZRUVKRXOGKDYHNQRZQWKDWLWVGHILFLHQWSROLFLHVIRU
   WKH &RPPXQLW\ %DQN DV GHWDLOHG KHUHLQ OHDGLQJ WR :HOOV )DUJR¶V IDFLOLWDWLRQ RI
   WKH $SH[ DQG 7ULDQJOH (QWHUSULVHV¶ FRQVXPHU IUDXG DQG PRQH\ ODXQGHULQJ
   DFWLYLWLHV ZRXOG UHVXOW LQ LQFUHDVHG OLDELOLWLHV IRU DQG VXEVWDQWLDO GDPDJH WR WKH
   5HFHLYHUVKLS(QWLWLHVDVGHVFULEHGKHUHLQ
             +DG :HOOV )DUJR SURSHUO\ VXSHUYLVHG LWV HPSOR\HHV SURSHUO\ SXW LQ
   SODFHDSSURSULDWHSROLFLHVDQGSURFHGXUHVLQWKH&RPPXQLW\%DQNUHJDUGLQJVDOHV
   SUDFWLFHV DQG LQFHQWLYHV SURSHUO\ LPSOHPHQWHG GHVLJQHG DQG PDLQWDLQHG SURSHU
                                                                       &DVH1RBBBBBBBBBBB
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    FRQWUROVWRHQVXUHEUDQFKOHYHOFRPSOLDQFHLQWKH&RPPXQLW\%DQNZLWKLQGXVWU\
    VWDQGDUGVDQGQRUPVDQGRUPRQLWRUHGDQGWHUPLQDWHGHPSOR\HHVZKRHQJDJHGLQ
    PLVFRQGXFW QRQH RI ZKLFK RFFXUUHG  WKH 5HFHLYHUVKLS (QWLWLHV ZRXOG QRW KDYH
    VXIIHUHGWKHGDPDJHVWKDWWKH\GLG
                         (OHYHQWK&DXVHRI$FWLRQ ,QWKH$OWHUQDWLYH 
                                             1HJOLJHQFH 
              7KH5HFHLYHUUHSHDWVDQGUHDOOHJHVWKHDOOHJDWLRQVRIHDFKDQGHYHU\
    RQHRIWKHSULRUSDUDJUDSKVLQFOXVLYHDVLIIXOO\VHWIRUWKKHUHLQ
              ,QWKHDOWHUQDWLYHWR&DXVHVRI$FWLRQ2QHWKURXJK1LQHWKHDFWVDQG
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    Telephone: 213.627.2268
  9 Facsimile: 213.627.2579
 10
 11 Attorneys for Proposed Intervenors
    Wells Fargo & Company and
 12 Wells Fargo Bank N.A.
 13                     UNITED STATES DISTRICT COURT
 14                    CENTRAL DISTRICT OF CALIFORNIA
 15 FEDERAL TRADE                        CASE NO. 18-cv-9573-JFW (JPRx)
    COMMISSION,
 16
                                         The Hon. John F. Walter
 17          Plaintiff,
           vs.                           WELLS FARGO’S REQUEST FOR
 18
                                         JUDICIAL NOTICE IN SUPPORT OF
 19 APEX CAPITAL GROUP, LLC,             MOTION TO INTERVENE
    et al.,
 20
                                         Date: February 21, 2022
 21          Defendants.                 Time: 1:30 p.m.
 22
 23                                      Complaint Filed: November 14, 2018
 24
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 28

             WELLS FARGO’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                             MOTION TO INTERVENE
                              R_SER_131
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  1 TO THE HONORABLE COURT AND ALL PARTIES OF RECORD:
  2         Pursuant to Rule 201 of the Federal Rules of Evidence, Proposed Intervenors
  3 Wells Fargo & Company and Wells Fargo Bank N.A. (collectively “Wells Fargo”)
  4 respectfully request the Court take judicial notice of the following documents in
  5 support of their Motion to Intervene:
  6         1.     Plaintiff-Receiver Thomas M. McNamara’s Complaint, filed as ECF
  7 No. 1 on July 8, 2021, in Thomas W. McNamara v. Wells Fargo & Company, et al.,
  8 Case No. 3:21-cv-01245-AJB-JLB (S.D. Cal.), attached hereto as Exhibit A.
  9         2.     September 3, 2021 Order on FTC’s Motion for Summary Judgment
 10 entered as ECF No. 1338 in Federal Trade Commission v. AMG Services, Inc., et
 11 al., Case No. 2:12-cv-00536-GMN-VCF (D. Nev.), attached hereto as Exhibit B.
 12         3.     Monitor Thomas M. McNamara’s Statement Re: July 13, 2021 Status
 13 Conference entered as ECF No. 1333 on September 3, 2021, in Federal Trade
 14 Commission v. AMG Services, Inc., et al., Case No. 2:12-cv-00536-GMN-VCF (D.
 15 Nev.), attached hereto as Exhibit C.
 16         4.     Order on Remedies and Summary Judgment entered as ECF No. 627
 17 on June 29, 2021 in Federal Trade Commission v. Cardiff, et al., Case No. 5:18-cv-
 18 02104-DMG-PLA, attached hereto as Exhibit D.
 19         5.     Plaintiff-Receiver Thomas M. McNamara’s Notice of Related Cases,
 20 filed as ECF No. 2 on July 8, 2021, in Thomas W. McNamara v. Wells Fargo &
 21 Company, et al., Case No. 3:21-cv-01245-AJB-JLB (S.D. Cal.), attached hereto as
 22 Exhibit E.
 23         Rule 201 makes facts that “can be accurately and readily determined from
 24 sources whose accuracy cannot be reasonably questioned” the proper subject of
 25 judicial notice. Fed. R. Evid. 201. Rule 201(c)(2) provides that the Court “must take
 26 judicial notice [of such a matter] if a party requests it and the court is supplied with
 27 the necessary information.” Id.
 28         Here, the existence and content of filings from the litigation brought by the
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                 WELLS FARGO’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                                 MOTION TO INTERVENE
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Case 2:18-cv-09573-JFW-JPR Document 219-2 Filed 01/18/22 Page 3 of 4 Page ID
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  1 Receiver in Thomas W. McNamara v. Wells Fargo & Company, et al., Case No.
  2 3:21-cv-01245-AJB-JLB (S.D. Cal.) and the Federal Trade Commission (“FTC”) in
  3 Federal Trade Commission v. AMG Services, Inc., et al., Case No. 2:12-cv-00536-
  4 GMN-VCF (D. Nev.) and Federal Trade Commission v. Cardiff, et al., Case No.
  5 5:18-cv-02104-DMG-PLA, are proper subjects of judicial notice. See, e.g., Harris
  6 v. Cty. of Orange, 682 F.3d 1126, 1132 (9th Cir. 2012) (“We may take judicial
  7 notice of undisputed matters of public record…including documents on file in
  8 federal or state courts”); Peel v. BrooksAmerica Mortg. Corp., 788 F. Supp. 2d
  9 1149, 1158 (C.D. Cal. 2011) (taking judicial notice “of complaints filed by the
 10 Plaintiffs in related proceedings, as well as complaints and orders from other
 11 cases”); Chrisanthis v. U.E., No. C 08-02472 WHA, 2008 WL 4848764, at *2 (N.D.
 12 Cal. Nov. 7, 2008) (“When adjudicating a motion to dismiss, a court may take
 13 judicial notice of public filings.”); Ramirez v. Quemetco, Inc., No. 17-cv-03384,
 14 2017 WL 2957935, at *3 (C.D. Cal. July 11, 2017) (taking judicial notice of
 15 declaration filed in another case).
 16        Attached hereto as Exhibits A-E are copies of public filings in litigation
 17 brought by the FTC and the Receiver in different actions. Wells Fargo respectfully
 18 requests the Court take judicial notice of these documents, and the facts they
 19 evidence.
 20
      DATED: January 18, 2022             Respectfully submitted,
 21
 22                                          MCGUIREWOODS LLP
 23
                                             /s/ Alicia A. Baiardo
 24                                          Kevin M. Lally, Esq.
 25                                          David C. Powell, Esq.
                                             Alicia A. Baiardo, Esq.
 26
 27                                          Attorneys for Proposed Intervenors Wells
                                             Fargo & Company and Wells Fargo Bank
 28                                          N.A.
                                               3
              WELLS FARGO’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                              MOTION TO INTERVENE
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Case 2:18-cv-09573-JFW-JPR Document 219-2 Filed 01/18/22 Page 4 of 4 Page ID
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  1                           CERTIFICATE OF SERVICE
  2        I hereby certify that on January 18, 2022, I electronically filed the foregoing
  3 document entitled with the Clerk of the Court for the United States District Court,
  4 Southern District of California using the CM/ECF system and served a copy of same
  5 upon all counsel of record via the Court’s electronic filing system. Any counsel of
  6 record who has not consented to or registered for electronic service through the
  7 Court’s CM/ECF system will be served by electronic mail, first class mail, facsimile,
  8 and/or overnight delivery.
  9                                                /s/ Alicia A. Baiardo
                                                    Alicia A. Baiardo
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     IURPWKH5HFHLYHUVKLS(VWDWH:KLOHDK\EULG UHGXFHGKRXUO\UDWHDQGUHGXFHG
     FRQWLQJHQF\UDWH DUUDQJHPHQWZDVFRQVLGHUHGWKH5HFHLYHUXOWLPDWHO\FRQFOXGHG
     WKDWDSXUHFRQWLQJHQF\IHHDUUDQJHPHQWPDNHVWKHPRVWVHQVHDFRQWLQJHQF\IHH
     HOLPLQDWHVGLUHFWFRVWVWRWKH5HFHLYHUVKLS(VWDWHEHFDXVHWKHVLJQLILFDQW
       
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        $GHFODUDWLRQRIUHFHLYHU7KRPDV:0F1DPDUDVXSSRUWLQJWKLV0RWLRQLVILOHG
     XQGHUVHDO
                                                    &DVH1RFY-): -35[ 
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      SURIHVVLRQDOIHHVQHFHVVDU\WRSURVHFXWHWKHFDVHVZRXOGQRWEHSDLGE\WKH
      5HFHLYHUVKLS(VWDWH$WWRUQH\¶VIHHVZRXOGRQO\EHSDLGRXWRIOLWLJDWLRQ
      UHFRYHULHVVKRXOGWKHFDVHEHVXFFHVVIXOO\VHWWOHGRUOLWLJDWHG
                 7KH5HFHLYHUJHQHUDOO\KDVWKHGLVFUHWLRQWRKLUHFRXQVHODVKHGHHPV
      QHFHVVDU\See3UHOLPLQDU\,QMXQFWLRQV;9'XWLHVDQG$XWKRULW\RI5HFHLYHU
      (&)1RDW(&)1RDW ³,7,6)857+(525'(5('WKDWWKH
      5HFHLYHULVGLUHFWHGDQGDXWKRUL]HGWRDFFRPSOLVKWKHIROORZLQJ)³&KRRVH
      HQJDJHDQGHPSOR\DWWRUQH\VDFFRXQWDQWVDSSUDLVHUVDQGRWKHULQGHSHQGHQW
      FRQWUDFWRUVDQGWHFKQLFDOVSHFLDOLVWVDVWKH5HFHLYHUGHHPVDGYLVDEOHRUQHFHVVDU\
     LQWKHSHUIRUPDQFHRIGXWLHVDQGUHVSRQVLELOLWLHVXQGHUWKHDXWKRULW\JUDQWHGE\WKLV
     2UGHU´ 
                +RZHYHULWLVFRPPRQZKHQDUHFHLYHULQWHQGVWRUHWDLQFRQWLQJHQF\
     FRXQVHOWRVHHNSHUPLVVLRQIRUWKHUHWHQWLRQIURPWKHDSSRLQWLQJFRXUWSee, e.g.
     FTC v. Triangle Media Corp., et al.&DVH1RFY/$%(&)1R
           6'&DO1RY SEC v. Capital Cove Bancorp, LLC, et al.&DVH1R
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     Lending Group, Inc., et al.&DVH1RFY5(&)1R &'&DO
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                2ISDUWLFXODUUHOHYDQFHKHUHWKH5HFHLYHUQRWHVWKDWDIHZPRQWKVEHIRUHKLV
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     DSSRLQWPHQWLQWKLVFDVHKHZDVVHSDUDWHO\DSSRLQWHGDVUHFHLYHULQDFDVHLQWKH
     6RXWKHUQ'LVWULFWRI&DOLIRUQLDZKLFKLQYROYHGD³ULVNIUHH´WULDOVFKHPHYHU\
     VLPLODUWRWKDWXVHGE\WKH$SH['HIHQGDQWVSeeFTC v. Triangle Media Corp., et
     al.&DVH1RFY/$% 6'&DO  ³7ULDQJOH´ ,QERWK$SH[DQG
     7ULDQJOHWKHGHIHQGDQWVXVHG:HOOV)DUJRWRRSHQXSGR]HQVDQGGR]HQVRI
     DFFRXQWVWKURXJKZKLFKFRQVXPHUIXQGVZHUHSDVVHG,Q7ULDQJOHWKH5HFHLYHU
     UHFHQWO\VRXJKWDQGREWDLQHGWKH&RXUW¶VSHUPLVVLRQWRKLUHFRQWLQJHQWIHHFRXQVHO
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      WRSXUVXHDODZVXLWDJDLQVW:HOOV)DUJRSee7ULDQJOH(&)1R DWWDFKHGDV
      ([KLELW 
                7KH5HFHLYHUDQGKLVFRXQVHOFRQGXFWHGSDUDOOHOLQYHVWLJDWLRQVRI:HOOV
      )DUJR¶VFRQGXFWLQFRQQHFWLRQZLWKWKH$SH[DQG7ULDQJOHVFKHPHV$IWHU
      FRQVXOWLQJZLWKFRXQVHOWKH5HFHLYHUEHOLHYHVWKDWWKHFODLPVDJDLQVW:HOOV)DUJR
      LQERWKWKH$SH[DQG7ULDQJOH5HFHLYHUVKLSVVKRXOGEHSXUVXHGLQWKHVDPH
      OLWLJDWLRQDQGEURXJKWE\WKHVDPHFRXQVHOJLYHQWKHLGHQWLW\RILQWHUHVWVDQG
      FODLPV
                7KH5HFHLYHUKDVDOVRFRQFOXGHGWKDWWKHRQO\ZD\WRSXUVXHVXFKOLWLJDWLRQ
     DJDLQVW:HOOV)DUJRZLWKRXWKDUPLQJWKH5HFHLYHUVKLS(VWDWHZRXOGEHRQD
     FRQWLQJHQWIHHEDVLV7KH5HFHLYHUUHDFKHGRXWWRH[SHULHQFHGFRQWLQJHQF\
     FRXQVHOWRGLVFXVVSRVVLEOHFODLPVWKDWPLJKWEHEURXJKWDQGWKHSRWHQWLDOFRQWRXUV
     RIOLWLJDWLRQ$VDUHVXOWRIWKHVHGLVFXVVLRQVWKH5HFHLYHULGHQWLILHGDQGKDV
     VSRNHQRQQXPHURXVRFFDVLRQVZLWKSDUWQHUVDW*ODQF\3URQJD\ 0XUUD\//3D
     QDWLRQDOODZILUPEDVHGLQ/RV$QJHOHVZLWKRIILFHVLQ1HZ<RUNDQG%HUNHOH\
     WKDWSURVHFXWHVFODVVDFWLRQFDVHVDQGFRPSOH[OLWLJDWLRQLQIHGHUDODQGVWDWHFRXUWV
     WKURXJKRXWWKHFRXQWU\$VOHDGFRXQVHORUDVDPHPEHURIWKH3ODLQWLII¶V&RXQVHO
     ([HFXWLYH&RPPLWWHHVWKHILUPKDVUHFRYHUHGELOOLRQVIRULWVFOLHQWV
               *ODQF\3URQJD\ 0XUUD\KDVVSHQWPRQWKVUHYLHZLQJVXEVWDQWLDOPDWHULDOV
     UHJDUGLQJWKHSRWHQWLDOFDVHSURYLGHGE\WKH5HFHLYHUDQGLWVODZ\HUVKDYH
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     FRQGXFWHGWKHLURZQLQGHSHQGHQWLQYHVWLJDWLRQLQWRWKHPHULWVRIDSURVSHFWLYH
     OLWLJDWLRQ7KHILUPKDVFRQFOXGHGWKDWLWLVZLOOLQJWRSXUVXHWKHOLWLJDWLRQRQ
     EHKDOIRIWKH5HFHLYHU*LYHQWKHILUP¶VFUHGHQWLDOV GLVFXVVHGDERYH WKH
     5HFHLYHUEHOLHYHVWKHILUPLVHPLQHQWO\TXDOLILHGWRUHSUHVHQWWKH5HFHLYHUVKLS
     (VWDWH¶VLQWHUHVWLQWKHSURVSHFWLYHOLWLJDWLRQDJDLQVW:HOOV)DUJR
               0F1DPDUD6PLWKSURIHVVLRQDOVKDYHGHGLFDWHGVXEVWDQWLDOHIIRUWVRYHUWKH
     ODVW\HDUZRUNLQJFORVHO\ZLWKWKH5HFHLYHUWRXQGHUVWDQGWKHIDFWVLGHQWLI\YDULRXV
     SDUWLHVDQGUHYLHZYROXPLQRXVWUDQVDFWLRQVUHODWHGWRWKHSRWHQWLDOOLWLJDWLRQ
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      7KH\DUHWKXVXQLTXHO\VXLWHGWRDVVLVWLQWKHSURVHFXWLRQRIWKHOLWLJDWLRQEHFDXVH
      RIWKHLULQGHSWKXQGHUVWDQGLQJRIWKHIDFWXDOEDFNJURXQGDQGGHHSNQRZOHGJHRI
      WKHOHJDOLVVXHVSHFXOLDUWRUHFHLYHUVKLSV0F1DPDUD6PLWKDWWRUQH\VUHJXODUO\
      UHSUHVHQWILGXFLDULHVLQFOXGLQJUHFHLYHUVDQGPRQLWRUVLQPDWWHUVDFURVVWKH
      FRXQWU\DQGWKH\KDYHZRUNHGZLWKWKH5HFHLYHUKHUH7KHILUPLVZLOOLQJWR
      FRQWLQXHRQLQFROODERUDWLRQZLWK*ODQF\3URQJD\ 0XUUD\SXUVXDQWWRD
      FRQWLQJHQF\IHHDUUDQJHPHQW
                %   7KH3URSRVHG7HUPVRIWKH&RQWLQJHQW)HH$JUHHPHQW$UH
                      5HDVRQDEOH
               7KH5HFHLYHUEHOLHYHVWKDWWKHSURSRVHGDUUDQJHPHQWLVUHDVRQDEOH
     HVSHFLDOO\LQOLJKWRIWKHDJUHHPHQWE\FRXQVHOWRDGYDQFHOLWLJDWLRQFRVWVDQGWKXV
     UHPRYHDQ\ILQDQFLDOULVNWRWKH5HFHLYHUVKLS(VWDWH7KH5HFHLYHUQHJRWLDWHGZLWK
     *ODQF\3URQJD\ 0XUUD\IRUWKHFRVWVRIWKHOLWLJDWLRQWREHIURQWHGE\FRXQVHO
     XQGHUWKHH[SUHVVFRQGLWLRQWKDWWKH5HFHLYHUVKLS(VWDWHZLOORQO\EHUHVSRQVLEOH
     IRUWKHFRVWVLQWKHHYHQWWKDWWKHUHLVDUHFRYHU\WKURXJKVHWWOHPHQWRUMXGJPHQW
     7KH5HFHLYHUEHOLHYHVWKDWWKLVLVWKHPRVWFRVWHIIHFWLYHDSSURDFKDQGZLOODOVR
     UHVXOWLQWKHJUHDWHVWSRVVLEOHUHFRYHU\IRUWKH5HFHLYHUVKLS(VWDWH
               7KH&RXUW¶VSRZHUWRVXSHUYLVHDQHTXLW\UHFHLYHUVKLSDQGWRGHWHUPLQHWKH
     DSSURSULDWHDFWLRQWREHWDNHQLQWKHUHFHLYHUVKLSLQFOXGLQJWKHUHWHQWLRQDQG
     FRPSHQVDWLRQRIFRXQVHOLVH[WUHPHO\EURDGSee SEC v. Capital Consultants,
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     LLC)G WK&LU  GLVWULFWFRXUWKDVEURDGGLVFUHWLRQWR
     DSSURYHDSSURSULDWHDFWLRQWREHWDNHQLQWKHDGPLQLVWUDWLRQRIDUHFHLYHUVKLS see
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     FRXUWDIIRUGVµEURDGGHIHUHQFH¶WRWKH>GLVWULFW@FRXUW¶VVXSHUYLVRU\UROHDQGµZH
     JHQHUDOO\XSKROGUHDVRQDEOHSURFHGXUHVLQVWLWXWHGE\WKHGLVWULFWFRXUWWKDWVHUYH
     WK>H@SXUSRVH¶RIRUGHUO\DQGHIILFLHQWDGPLQLVWUDWLRQRIWKHUHFHLYHUVKLSIRUWKH
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                 &RXUWVLQWKLV&LUFXLWKDYHFRQVLGHUHGDQGDSSURYHGFRQWLQJHQWIHH
      DUUDQJHPHQWVLQRUGHUWRFRPSHQVDWHDUHFHLYHU¶VFRXQVHOWRUHFRYHUDVVHWVIRUWKH
      UHFHLYHUVKLS7KHUHLVQRSDUWLFXODUIRUPXODHPSOR\HGE\WKHFRXUWVSee e.g.SEC
      v. Diversified Lending Group, Inc., et al.&DVH1RFY5 &'&DO 
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      VXLWUHFRYHU\SHUFHQWLIVHWWOHGXSXQWLOGD\VEHIRUHWULDODQGSHUFHQW
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      EHIRUHWULDOSHUFHQWDIWHUWKDWGDWH SEC v. Capital Cove Bancorp, LLC, et al.
     &DVH1RFY-/6 &'&DO  DSSURYLQJFRQWLQJHQF\IHHRIEHWZHHQ
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     FRQWLQJHQWIHHDUUDQJHPHQWIRURQHFRXQVHO SHUFHQWRIJURVVUHFRYHULHVEHIRUH
     VXPPDU\MXGJPHQWDQGSHUFHQWDIWHUWKDWGDWH DQGDK\EULGFRQWLQJHQW
     DJUHHPHQWIRUDVHFRQGFRXQVHO SHUKRXUDQGSHUFHQWRIJURVVUHFRYHULHV 
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     DUUDQJHPHQWLVWKHVDPHIHHVWUXFWXUHSUHVHQWHGWR-XGJH%XUQVZKHQKHUHFHQWO\
     DXWKRUL]HGWKHHQJDJHPHQWRIFRQWLQJHQWIHHFRXQVHOLQWKH7ULDQJOHFDVHLQ
     1RYHPEHURISee Triangle(&)1R DXWKRUL]LQJUHFHLYHUWRHQJDJH
     FRQWLQJHQF\FRXQVHORQWKHWHUPVSURSRVHG 7KH*ODQF\3URQJD\ 0XUUD\DQG
     0F1DPDUD6PLWKILUPVKDYHDJUHHGWRDFWDVFRXQVHOWRWKH5HFHLYHUDQGWRVKDUH
     DFRQWLQJHQWIHHHTXDOWRRIWKHJURVVUHFRYHU\XSXQWLODUXOLQJRQVXPPDU\
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      MXGJPHQWDQGFRQWLQJHQWIHHRQJURVVUHFRYHU\UHFHLYHGDIWHUDUXOLQJRQ
      VXPPDU\MXGJPHQW8QGHUWKLVDUUDQJHPHQWWKH5HFHLYHUVKLS(VWDWHZLOOQRWEH
      REOLJDWHGWRDGYDQFHOLWLJDWLRQFRVWVe.g.FRXUWIHHVGLVFRYHU\DQGH[SHUWFRVWV
                7KHSURSRVHGFRQWLQJHQWIHHVIDOOZHOOZLWKLQWKHUDQJHRIIHHVDSSURYHGLQ
      RWKHUUHFHLYHUVKLSFDVHVDQGWKH5HFHLYHUEHOLHYHVWKDWWKHSURSRVHGDUUDQJHPHQW
      LVUHDVRQDEOHHVSHFLDOO\LQOLJKWRIWKHDJUHHPHQWE\FRXQVHOWRDGYDQFHOLWLJDWLRQ
      FRVWVDQGWKXVUHPRYHDQ\ILQDQFLDOULVNWRWKH5HFHLYHUVKLS(VWDWH
            ,, &21&/86,21
                %DVHGRQWKHIRUHJRLQJ,UHVSHFWIXOO\UHTXHVWWKDWWKH&RXUWJUDQWWKH
     5HFHLYHUSHUPLVVLRQWRHQJDJHFRQWLQJHQF\FRXQVHOWRUHSUHVHQWWKH5HFHLYHUDV
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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 11, 2022, the foregoing was filed with the

Clerk of the United States Court of Appeals for the Ninth Circuit using the

appellate CM/ECF system, which will also serve counsel of record.

Dated: October 11, 2022               /s/ Logan D. Smith
                                      Logan D. Smith
